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                                                  24-2606
                                      United States Court of Appeals
                                                 for the
                                              Second Circuit
                                                    » <4

                                   UNITED STATES OF AMERICA,
                                                  Appellate,

                                                      v.

                                              SEAN COMBS,
                                           Defendant-Appellant.



                        On APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN D1STR1CT OF NEW YQRK, 24-CR-542 (AS)


                            APPELLANT'S APPENDIX TO THE MOTION FOR
                                      PRETRIAL RELEASE


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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

                    UNITED STATES OF AMERICA                                 SEAL_ED INDICTMENT

                                     v.                                      24 Cr.



                                                                        4 4; ma
                                                                                                                             J
                    SEAN COMBS,
                                                                                                      542
                                                                                                                         g


                      a/k/a "Puff Daddy,"                               CO
                      a/k/a "P. Diddy,"
                      a/k/a "Diddy,"
                      a/k/a "PD,"
                      a/k/a "Love,"

                                     Defendant.


                                                            COUNT ONE
                                                      (Racketeering Conspiracy)

                            The Grand Jury charges:

                                                               Overview

                             1.     For decades, SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy,"

                   a/k/a "PD," aMa "Love," the defendant, abused, threatened, and coerced women and others around

                   him to fulfill his sexual desires, protect his reputation, and conceal his conduct. To do so, COMBS

                   relied on the employees, resources, and influence of the multi-faceted business empire that he led

                   and controlled creating a criminal enterprise whose members and associates engaged in, and

                   attempted to engage in, among other crimes, sex trafficking, forced labor, kidnapping, arson,

                   bribery, and obstruction of justice.

                             2.     SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD,"

                   a/k/a "Love," the defendant, operated his business, headquartered at various times in Manhattan

                   and Los Angeles, under a variety of United States-based corporate entities, including Bad Boy
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                   Entertainment, Combs Enterprises, and Combs Global (collectively, the "Combs Business").

                   Corporate entities in the Combs Business included, among other things, record labels, a recording

                   studio, an apparel line, an alcoholic spirits business, a marketing agency, and a television network

                   and media company.

                             3.     At all times relevant to this Indictment, SEAN COMBS, a/k/a "Puff Daddy," a/k/a

                   "P. Diddy," a/k/a "Diddy," aMa "PD," a/k/a "Love," the defendant, engaged in a persistent and

                   pervasive pattern of abuse toward women and other individuals. This abuse was, at times, verbal,

                   emotional, physical, and sexual. As part of his pattern of abuse, COMBS manipulated women to

                   participate in highly orchestrated performances of sexual activity with male commercial sex

                   workers. At times, CCMBS, and others acting at his direction, made arrangements for women and

                   commercial sex workers to fly to COMBS' location. COMBS ensured participation from the

                   women by, among other things, obtaining and distributing narcotics to them, controlling their

                   careers, leveraging his financial support and threatening to cut off the same, and using intimidation

                   and violence.

                             4.     Physical abuse by SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a

                   "Diddy," a/k/a "PD," a/k/a "Love," the defendant, was recurrent and widely known. On numerous

                   occasions from at least in or about 2009 and continuing for years, COMBS assaulted women by,

                   among other things, striking, punching, dragging, throwing objects at, and lacking them. These

                   assaults were, at times, witnessed by others and included one instance at a Los Angeles hotel in or

                   about March 2016, which was captured on video and later publicly reported, where COMBS

                   locked, dragged, and threw a vase at a woman as she was attempting to leave. When a member of

                   the hotel security staff intervened, COMBS attempted to bribe the staff member to ensure silence.




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                   COMBS' violence was also not limited to these women. It extended to his employees, witnesses

                   to his abuse, and others.

                             5.     SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD,"

                   a/k/a "Love," the defendant, used the Combs Business, including certain employees, to carry out,

                   facilitate, and cover up his abuse and commercial sex. Those employees-including security staff,

                   household staff, personal assistants, and high-ranking supervisors-and other close associates

                   acted as COMBS' intermediaries, and their conduct was facilitated and assisted by COMBS'

                   control of the Combs Business.

                                                          The Combs Enterprise

                             6.     From at least in or about 2008, through on or about the date of the filing of this

                   Indictment, SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD,"

                   a/k/a "Love," the defendant, and others known and unknown, were members and associates of a

                   criminal organization (the "Combs Enterprise" or the "Enterprise"). Members and associates of

                   the Combs Enterprise engaged in, and attempted to engage in, among other activities, sex

                   trafficking, forced labor, interstate transportation for purposes of prostitution, coercion and

                   enticement to engage in prostitution, narcotics offenses, kidnapping, arson, bribery, and

                   obstruction of justice.

                             7.     The Combs Enterprise, including its leadership, its members, and its associates,

                   constituted an "enterprise," as defined by Title 18, United States Code, Section 1961(4), that is, a

                   group of individuals associated in fact, although not a legal entity. The Combs Enterprise consisted

                   of: (i) SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/Ida "PD," a/k/a

                   "Love," the defendant, (ii) entities within the Combs Business, including but not limited to Bad




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                   Boy Entertainment, Combs Enterprises, and Combs Global; (iii) individuals employed by and

                   associated with the Combs Business, and (iv) others known and unknown.

                             8.     The Combs Enterprise constituted an ongoing organization whose members

                   functioned as a continuing unit for a common purpose of achieving the objectives of the Combs

                   Enterprise. The Combs Enterprise was engaged in, and its activities affected, interstate and foreign

                   commerce. The Combs Enterprise operated in the Southern District of New York and elsewhere.

                             9.     At all times relevant to this Indictment, SEAN COMBS, a/lda "Puff Daddy," a/k/a

                   "P. Diddy," a/k/a "Diddy," a/k/a "PD," a/k/a "Love," the defendant, was the leader of the Combs

                   Enterprise .

                             10. SEAN COMBS, a/Ida "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD,"

                   a/k/a "Love," the defendant, and others known and unknown, participated in unlawful and other

                   activities related to the conduct of the Combs Enterprise's affairs. These individuals included

                   certain Combs Business employees, such as members of COMBS' security staff, household staff,

                   personal assistants, and high-ranking supervisors, as well as other close associates of COMBS.

                                                   Purposes of the Combs Enterprise

                             11. The purposes of the Combs Enterprise included the following:

                                    a.     Operating a global business in the media, entertainment, and lifestyle

                   industries, including, among other things, record labels, a recording studio, an apparel line, an

                   alcoholic spirits business, a marketing agency, and a television network and media company,

                                    b.     Preserving, protecting, promoting, and enhancing the power, reputation,

                   and brand of SEAN COMBS, a/k/a "Puff Daddy," a/Ida "P. Diddy," aMa "Diddy," a/k/a "PD,"

                   a/k/a "Love," the defendant, as a musician, entrepreneur, and figure in the entertainment industry,




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                                    c.     Enriching members and associates of the Enterprise, including its leader,

                   COMBS, and in particular those who demonstrated loyalty to COMBS and willingness to conceal

                    his crimes;

                                    d.     Preserving, protecting, promoting, and enhancing the power of the Combs

                   Enterprise, including the power of its leader, COMBS, through violence, use of firearms, threats

                   of violence, coercion, and verbal, emotional, physical, and sexual abuse,

                                    e.     Fulfilling the personal desires of COMBS, particularly those related to

                   COMBS' sexual gratification, including through the exploitation of women and the use of

                    commercial sex workers,

                                    f.     Enabling COMBS and other members and associates of the Combs

                    Enterprise to engage in unlawful acts of violence, including sexual violence, sex trafficking, forced

                    labor, interstate transportation for purposes of prostitution, coercion and enticement to engage in

                    prostitution, narcotics distribution, and other crimes, and concealing the commission of such acts,

                                    g.     Securing absolute loyalty from members of the Combs Enterprise, including

                    through acts of violence and threats, and

                                     h.    Protecting the Combs Enterprise and its members and associates, including

                    COMBS, from detection and prosecution by law enforcement authorities through acts of

                    intimidation, manipulation, bribery, and threats of retaliation against individuals who witnessed

                    the crimes committed by members and associates of the Enterprise.

                                                   Means and Methods of the Enterprise

                            12.      Among the means and methods by which SEAN COMBS, a/k/a "Puff Daddy,"

                    a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD," a/k/a "Love," the defendant, and other members and




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                   associates of the Combs Enterprise conducted and participated in the conduct of the affairs of the

                   Combs Enterprise included the following:

                                   a.     COMBS, and other members and associates of the Combs Enterprise,

                   wielded the power and prestige of COMBS' role at the Combs Business to intimidate, threaten,

                   and lure female victims into COMBS' orbit, often under the pretense of a romantic relationship.

                   COMBS then used force, threats of force, and coercion, to cause victims to engage in extended

                   sex acts with male commercial sex workers that COMBS referred to as, among other things, "Freak

                   Offs." Freak Offs were elaborate and produced sex performances that COMBS arranged, directed,

                   masturbated during, and often electronically recorded. In arranging these Freak Offs, COMBS,

                   with the assistance of members and associates of the Combs Enterprise, transported, and caused

                   to be transported, commercial sex workers across state lines and internationally. Freak Offs

                   occurred regularly, sometimes lasted multiple days, and often involved multiple commercial sex

                   workers. During Freak Offs, COMBS distributed a variety of controlled substances to victims, in

                   part to keep the victims obedient and compliant. Sometimes unbeknownst to the victims, COMBS

                   kept videos he filmed of victims engaging in sex acts with commercial sex workers. After Freak

                   Offs, COMBS and the victims typically received IV fluids to recover from the physical exertion

                   and drug use.

                                   b.     Members and associates of the Combs Enterprise, including high-ranking

                   supervisors, security staff, household staff, personal assistants, and other Combs Business

                   employees, facilitated the Freak Offs by, among other things, booking hotel rooms for the Freak

                   Offs; stocking the hotel rooms in advance with the required Freak Off supplies, including

                   controlled substances, baby oil, lubricant, extra linens, and lighting, cleaning the hotel rooms after

                   the Freak Offs to try to mitigate room damage, arranging for travel for victims, commercial sex




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                   workers, and COMBS to and from Freak Offs; resupplying COMBS with requested supplies;

                   delivering large sums of cash to COMBS to pay the commercial sex workers, and scheduling the

                   delivery of IV fluids. In or about March 2024, during searches of COMBS' residences in Miami,

                   Florida and Los Angeles, California, law enforcement seized various Freak Off supplies, including

                   narcotics and more than 1,000 bottles of baby oil and lubricant.

                                  c.      COMBS subjected victims to physical, emotional, and verbal abuse to cause

                   the victims to engage in Freak Offs. COMBS maintained control over his victims through, among

                   other things, physical violence, promises of career opportunities, granting and threatening to

                   withhold financial support, and by other coercive means, including tracking their whereabouts,

                   dictating the victims' appearance, monitoring their medical records, controlling their housing, and

                   supplying them with controlled substances. During and separate from Freak Offs, COMBS,

                   among other things, hit, kicked, threw objects at, and dragged victims, at times, by their hair.

                   These assaults often resulted in injuries that took days or weeks to heal. COMBS also threatened

                   victims' careers and livelihoods, including if they resisted participating in Freak Offs. Victims

                   believed they could not refuse COMBS' demands without risking their financial or job security or

                   without repercussions in the form of physical or emotional abuse. COMBS also used the sensitive,

                    embarrassing, and incriminating recordings that he made during Freak Offs as collateral to ensure

                    the continued obedience and silence of the victims.

                                   d.     Members and associates of the Combs Enterprise, including COMBS'

                   security personnel, at times cared firearms. On more than one occasion, COMBS himself carried

                    or brandished firearms to intimidate and threaten others, including victims of and witnesses to his

                    abuse. In or about March 2024, during searches of COMBS' residences in Miami, Florida and




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                   Los Angeles, California, law enforcement seized fireamis and ammunition, including three AR-

                   155 with defaced serial numbers, as well as a drum magazine.

                                  e.     Members and associates of the Combs Enterprise enabled COMBS' control

                   over victims by following his directions regarding financial payments to victims, advancing or

                   suppressing the victims' career opportunities, and acquiring the controlled substances COMBS

                   used to keep the victims compliant. Members and associates of the Combs Enterprise at times

                   witnessed COMBS' violence toward the victims, or the victims' injuries caused by Combs, without

                   intervening. Instead, members and associates of the Combs Enterprise helped conceal the violence

                   and abuse by, among other things, assisting COMBS in monitoring and preventing victims from

                   leaving locations, such as hotels or COMBS' residences. These occasions included instances in

                   which a victim was required to remain in hiding-sometimes for several days at a time-to recover

                   from injuries COMBS inflicted, without being publicly observed. Members and associates of the

                   Combs Enterprise also assisted COMBS in locating and contacting victims who attempted to flee

                   his abuse.

                                  f.     When employees, witnesses to his abuse, or others threatened COMBS'

                   authority or reputation, COMBS and members and associates of the Enterprise engaged in acts of

                   violence, threats of violence, threats of financial and reputational hand, and verbal abuse. These

                   acts of violence included kidnapping and arson. In addition, on multiple occasions, COMBS threw

                   both objects and people, as well as hit, dragged, choked, and shoved others.

                                  g.     When COMBS' authority or reputation was threatened by the possibility of

                   negative publicity or legal or law enforcement action against him, including in or about late 2023

                   following public allegations of COMBS' crimes, COMBS and members and associates of the

                   Enterprise pressured witnesses and victims, including through attempted bribery, to stay silent and




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                   not report what they experienced or knew to law enforcement. On phone calls, COMBS and other

                   members and associates of the Enterprise, among other things, provided these victims and

                   witnesses with a false narrative of events in an effort to conceal COMBS' crimes. COMBS caused

                   these calls to be recorded on at least two occasions.

                                                      The Racketeering Conspiracy

                           13.     From at least in or about 2008, through on or about the date of the filing of this

                   Indictment, in the Southern District of New York and elsewhere, SEAN COMBS, a/k/a "Puff

                   Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD," a/k/a "Love," the defendant, and others

                   known and unknown, being persons employed by and associated with the Combs Enterprise

                   described in paragraphs 6 through 12 of this Indictment, an enterprise engaged in, and the activities

                   of which affected, interstate and foreign commerce, knowingly combined, conspired,

                   confederated, and agreed together and with each other to violate the racketeering laws of the United

                   States, to wit, Title 18, United States Code, Section l962(c), that is, to conduct and participate,

                   directly and indirectly, in the conduct of the affairs of the Combs Enterprise through a pattern of

                   racketeering activity, as that term is defined in Title 18, United States Code, Sections l96l(l) and

                   196 l (5), consisting of:

                                   a.      multiple acts involving kidnapping, chargeable under the following

                   provisions of state law: California Penal Code §207 (kidnapping), California Penal Code §§21 (a),

                   664 (attempt), California Penal Code §31 (aiding and abetting), and California Penal Code § 182

                   (conspiracy),

                                   b.      multiple acts involving arson, chargeable under the following provisions of

                   state law: California Penal Code § 451 (arson), California Penal Code §§ 21(a), 664 (attempt),

                   California Penal Code § 31 (aiding and abetting), and California Penal Code § 182 (conspiracy);




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                                  c.      multiple acts involving bribery, chargeable under the following provisions

                   of state law: California Penal Code § 137(a) (bribery of a witness), California Penal Code §§

                   2l(a), 664 (attempt), California Penal Code § 31 (aiding and abetting), and California Penal Code

                   § 182 (conspiracy),

                                  d.       multiple acts indictable under Title 18, United States Code, Section 1512

                   (relating to tampering with a witness, victim, or an informant),

                                  e.      multiple acts indictable under Title 18, United States Code, Sections 1589

                   and 2 (relating to forced labor),

                                   f.      multiple acts indictable under Title 18, United States Code, Sections 1591

                   and 2 (relating to sex trafficking),

                                  g.       multiple acts indictable under Title 18, United States Code, Sections 2421 ,

                   2422, and 2 (relating to transportation and inducement to travel for purposes of prostitution and

                   other illegal sexual activities), and

                                   h.      multiple offenses involving the possession with intent to distribute, or

                   distribution of narcotics and controlled substances, including cocaine, oxycodone, alprazolam, 3,4-

                   Methylenedioxymethamphetamine,              4-Bromo-2,5-dimethoxyphenethylamine,               gamma

                   hydroxybutyric acid, and ketamine, in violation of Title 21, United States Code, Sections

                   84l(a)(l), (b)(1)(c), (b)(1)(E), (b)(2), and 846 (distribution and possession with intent to distribute

                   and conspiracy to do the same), and Title 18, United States Code, Section 2 (aiding, abetting, and

                   willfully causing).

                           14.     It was a part of the conspiracy that SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P.

                   Diddy," a/k/a "Diddy," a/k/a "PD," a/k/a "Love," the defendant, agreed that a conspirator would




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                  commit at least two acts of racketeering activity in the conduct of the affairs of the Combs

                  Enterprise.

                                                  Notice of Special Sentencing Factor

                          15.     From at least in or about 2009, up to and including in or about2018, in the Southern

                  District of New York and elsewhere, as part of his agreement to conduct and participate in the

                  conduct of the affairs of the Combs Enterprise through a pattern of racketeering activity, SEAN

                  COMBS, a/k/a "Puff Daddy," a/k/a "p. Diddy," a/k/a "Diddy," a/k/a "pD," a/k/a "Love," the

                  defendant, agreed to, in and affecting interstate and foreign commerce, knowingly recruit, entice,

                  harbor, transport, provide, obtain, advertise, maintain, patronize, and solicit by any means a person,

                  knowing and in reckless disregard of the fact that means of force, threats of force, fraud, and

                  coercion, as described in Title 18, United States Code, Section l591(e)(2), and any combination

                  of such means, would be used to cause the person to engage in a commercial sex act, in violation

                   ofTitle 18, United States Code, Section 159l(a)(1) and (b)(1).

                                            (Title 18, United States Code, Section 1962(d).)

                                                           CQUN_T TWQ
                                           (Sex Trafficking by Force, Fraud, or Coercion)
                                                             (Victim-1)

                          The Grand Jury further charges:

                          16.     From at least in or about 2009, up to and including in or about 2018, in the Southern

                  District of New York and elsewhere, SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a

                   "Diddy," a/k/a "PD," a/k/a "Love," the defendant, in and affecting interstate and foreign

                   commerce, knowingly recruited, enticed, harbored, transported, provided, obtained, advertised,

                   maintained, patronized, and solicited by any means a person, knowing and in reckless disregard of

                   the fact that means of force, threats of force, fraud, and coercion, as described in Title 18, United




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                  States Code, Section l59l(e)(2), and any combination of such means, would be used to cause the

                  person to engage in a commercial sex act, and attempted, aided and abetted, and willfully caused

                  the same, to wit, COMBS recruited, enticed, harbored, transported, and maintained a person

                  ("Victim-l"), and attempted, aided and abetted, and willfully caused Victim-1, to engage in

                  commercial sex acts, knowing and in reckless disregard of the fact that Victim-1 was engaging in

                  commercial sex acts as a result of force, fraud, and coercion.

                               (Title 18, United States Code, Sections l591(a)(1), (b)(1), 1594(a), and 2.)

                                                           CQUN_T T_HREE
                                             (Transportation to Engage in Prostitution)

                         The Grand Jury further charges:

                         17.      From at least in or about 2009, up to and including in or about 2024, in the Southern

                  District of New York and elsewhere, SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a

                  "Diddy," a/k/a "PD," a/k/a "Love," the defendant, knowingly transported an individual in

                  interstate and foreign commerce with intent that the individual engage in prostitution, and

                  attempted, aided and abetted, and willfully caused the same, to wit, COMBS transported, aided

                  and abetted, and willfully caused the transportation of female victims and commercial sex workers

                   in interstate and foreign commerce on multiple occasions with the intent that they engage in

                  prostitution.

                                         (Title 18, United States Code, Sections 2421 (a) and 2.)

                                                   FORFEITURE A_LLEGATIO1gS

                         18.      As a result of committing the offense alleged in Count One of this Indictment,

                  SEAN COMBS, a/k/a "puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "pa" a/k/a "Love

                  the defendant, shall forfeit to the United States, pursuant to Title 18, United States Code, Section

                  1963, any and all interests the defendant acquired or maintained in violation of Title 18, United


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                  States Code, Section 1962, any and all interests in, securities of, claims against, and properly or

                  contractual rights of any kind affording a source of influence over, the enterprise named and

                  described herein which the defendant established, operated, controlled, conducted, and

                  participated in the conduct of, in violation of Title 18, United States Code, Section 1962, and any

                  and all property constituting and derived from proceeds obtained, directly and indirectly, said

                  offense, including but not limited to a sum of money in United States currency representing the

                  amount of proceeds traceable to the commission of said offense.

                          19.    As a result of committing the offense alleged in Count Two of this Indictment,

                  SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k/a "PD," a/k/a 4¢LOve,37

                  the defendant, shall forfeit to the United States, pursuant to Title 18, United States Code, Section

                  1594, any and all property, real and personal, involved in, used, or intended to be used to commit

                  or to facilitate the commission of said offense and any and all property traceable to such properly,

                  any and all property, real and personal, constituting or derived from proceeds obtained, directly or

                  indirectly, as a result of said offense, including but not limited to a sum of money in United States

                  currency representing the amount of property involved in said offense and proceeds traceable to

                  the commission of said offense.

                          20.     As a result of committing the offense alleged in Count Three of this Indictment,

                  SEAN COMBS, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy," a/k!a "PD," a/k/a g'LoVe,19

                  the defendant, shall forfeit to the United States, pursuant to (i) Title 18, United States Code, Section

                  2428, any and all property, real and personal, constituting or derived from proceeds obtained,

                  directly or indirectly, as a result of said offense, and any and all property, real or personal, that was

                   used or intended to be used to commit or facilitate the commission of said offense, and (ii) Title

                   18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461, any




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                  and all property, real and personal. that constitutes or is derived from proceeds traceable to the

                  commission of said offense, including but not limited to a sum of money in United States currency

                  representing the amount of proceeds traceable to the commission of said offense.

                                                      Substitute Assets Provision

                         21.     If any of the above described forfeitable property, as a result of any act or omission

                  of the defendant:

                         a.      cannot be located upon the exercise of due diligence;

                         b.      has been transferred or sold to, or deposited with, a third person,

                         c.      has been placed beyond the jurisdiction of the Court;

                         d.      has been substantially diminished in value; or

                         e.     has been commingled with other property which cannot be subdivided without

                                 difficulty;

                  it is the intent of the United States, pursuant to Tide 18, United States Code, Section l 963(m),

                  Title 21, United States Code, Section 853(p), and Title 28, United States Code, Section 246l(c),

                  to seek forfeiture of any other property of the defendant up to the value of the above tbrfeitable

                  property .

                                               (Title 18, United States Code, Section 981 ;
                                               Title 18, United States Code, Section 1594;
                                               Title 18, United States Code, Section 1963 ,
                                               Title 18, United States Code, Section 2428,
                                                Title 21, United States Code, Section 853;
                                               Title 28, United States Code, Section 2461.)




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                                                                        DAMIAN WILLIAMS
                                                                        United States Attorney


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                                                                      U.S. Department of Justice

                                                                      lbrited States Attornqv
                                                                      Southern District ofNeu' York

                                                                      26 Fedaul Plaza, 37°" Floor
                                                                      New YOU New York10278


                                                                       September 17. 2024

                  BY EMAIL
                  The Honorable Robyn F. Tamofsky
                  United States Magistrate Judge
                  Southern District of New York
                  500 Pearl Street
                  New York, NY 10007

                         Re:     United States v. Sean Combs, a/Wa "Pug Daddy," a//Va "P. Diddy," a/k/a
                                 "Dismay," a/k/a "PD, n :UMM "Love," 24 Cr. 542 (ALC)

                  Dear Judge Tamofsky:

                         The defendant Sean Combs, a/k/a "Put Daddy," a/k/a "P. Diddy." a/k/a "Diddy." a/k/a
                  "PD." a/k/a "Love." was taken into custody this morning alter a grand july sitting in this District
                  returned a three-count indictment charging him with climes related to llis decades-long pattern of
                  physical and sexual violence against multiple victims, and his use of force. threats, and coercion
                  to enact his will. protect his reputation, and fulfill llis sexual desires.

                           The Government respectfully submits this letter i11 anticipation of the defendant's
                  appearance before this Court later today and in support of the Govenlrnellt's request for the
                  defendant's detention pending trial. As set forth below, there is 110 condition, or combination of
                  conditions. that will reasonably assure the appearance of the defendant as required and the safety
                  of others and the conunuMty. not to mention the integrity of the proceedings. As reflected by the
                  gravity of the charges in the Indictment. the defendant is dangerous and poses an ongoing threat
                  to the safety of the community. If released, he remains a serious risk of flight. despite the
                  conditions offered by llis counsel. Most glaringly, the defendant also poses a significant risk of
                  obstnrcting justice. Indeed. and as set forth below. during the course of the charged conduct. the
                  defendant has attempted to bribe security staff and threatened and interfered with witnesses to his
                  criminal conduct. He llas already tried to obstruct the Governnlent's investigation of this case.
                  repeatedly contacting victims alrd witnesses and feeding them false narratives of events, as
                  described i11 detail below. There are simply 110 conditions that would ensure that the defendant's
                  efforts to obstruct and tamper with witnesses will stop. The defendant therefore cannot overcome
                  the statutory presumption i11 favor of detention. and the Corut should order him detained. See 18
                  U.S.C. § 3142(e)(1).

                                                            Back21'ound

                        On September 17. 2024, an indictment returned by a federal grand july sitting i11 the
                  Southern District of New York (the "Indictnlent") was unsealed. charging the defendant with
                  racketeeling conspilacy from in or about 2008 through 011 Ol` about the date of the Indicunent. in
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                  violation of 18 U.S.C. § 1962(d) (Count One), sex trafficking from in or about 2009 through in or
                  about 2018, in violation of 18 U.S.C. §§ 1591 and 2 (Count Two), and interstate transportation to
                  engage in prostitution from in or about 2009 through in or about 2024, in violation of 18 U.S.C.
                  §§ 2421(a) and 2 (Count Three).

                         A. Combs' Use of Violence, Threats, and Coercion

                          Since at least 2008, the defendant and other members and associates of the racketeering
                  enterprise alleged in the Indictment (the "Enterprise"), which includes the defendant's multi-
                  faceted business empire (the "Combs Business"), wielded the power and prestige of the
                  defendant's reputation as a musician, entrepreneur, and figure in the entertainment industry to
                  commit federal crimes, including racketeering, sex trafficking, and other offenses. As charged in
                  the Indictment, many of those crimes involved the sexual abuse and exploitation of women, and
                  other crimes of violence.

                             1. Sex Trafficking and Abuse

                          Using the power and prestige of the Enterprise, the defendant lured female victims into the
                  defendant's orbit, often under the pretense of a romantic relationship. The defendant then used
                  force, threats of force, and coercion to cause those female victims to engage in sexual activity,
                  which included frequent sex acts with male commercial sex workers that the defendant referred to
                  as "Freak Offs." Freak Offs were elaborate sex performances that the defendant arranged, directed,
                  masturbated during, and often electronically recorded. Freak Offs occurred regularly from at least
                  in or around 2009 through this year, sometimes lasted multiple days, and frequently involved
                  multiple sex workers. The defendant arranged Freak Offs with the assistance of members and
                  associates of the Enterprise, including employees of his business, and the hotel rooms where they
                  were staged often sustained significant damages. l

                          The defendant ensured the victims would participate in Freak Offs through coercion and
                  violence. For instance, the defendant provided controlled substances, including ketamine, ecstasy,
                  and gamma hydroxybutyrate ("GHB"), to female victims so that they could and would continue to
                  engage in Freak Offs, despite fatigue, physical and emotional exhaustion, and pain. Additionally,
                  both during Freak Offs and separate from Freak Offs, the defendant subjected female victims to
                  physical, emotional, and verbal abuse, in part to cause them to engage in Freak Offs. The
                  defendant hit, kicked, threw objects at, and dragged female victims, sometimes by their hair. At
                  least a dozen witnesses will confirm that they personally observed the defendant's violence
                  towards women and/or the injuries sustained by women at the defendant's hand. One incident of
                  physical abuse occurred when a female victim was attempting to leave the hotel following a March
                  2016 Freak Off. This abuse was captured on video surveillance and publicly reported in May
                  2024.2 The defendant's assaults often resulted in serious injuries to the victims that took days or
                  weeks to heal.

                  1 For example, in approximately 2012 in Manhattan, the defendant paid over $46,000 to cover
                  damages to a penthouse hotel room following a Freak Off.
                  2 An excerpt of this video footage is attached hereto as Exhibit A.
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                          The defendant also coerced victims into participating in Freak Offs by controlling their
                  careers, finances, livelihood, and/or housing, among other aspects of their lives, or by threatening
                  to disseminate recordings of Freak Offs. The defendant used his considerable wealth and influence
                  to make victims rely on him financially, for example, by paying for their rent or their cars or by
                  offering them career opportunities. Once he provided his support, the defendant repeatedly
                  threatened to take it away to ensure the victims' compliance with his demands, including their
                  participation in Freak Offs. Indeed, victims believed that they could not refuse the defendant's
                  demands that they engage in Freak Offs without risking their financial security or career prospects
                  or without repercussions in the form of physical or emotional abuse.

                             2. Other Violence

                          In addition to the defendant's physical, sexual, and emotional abuse of his romantic
                  partners, the defendant repeatedly engaged in acts of violence directed towards his employees and
                  others. As charged in the Indictment, the defendant, often assisted by members and associates of
                  the Enterprise, engaged in kidnapping, arson, and physical violence, such as throwing objects at
                  people, throwing people to the ground, and hitting, dragging, choking, and shoving others.
                  Numerous witnesses, including the defendant's employees and others, observed or experienced
                  violence from the defendant firsthand and sustained lasting trauma as a result.

                          For example, in the early morning hours of December 22, 201 l, the defendant and a co-
                  conspirator kidnapped an individual at gunpoint to facilitate breaking into and entering the
                  residence of another ("Individual-l"). Multiple witnesses would testify at trial to the events
                  surrounding the kidnapping and break-in, the latter of which is corroborated by police reports and
                  other records.

                          Approximately two weeks later, the defendant's co-conspirators set fire to Individual-1 's
                  vehicle by slicing open the car's convertible top and dropping a Molotov cocktail inside the
                  interior. Police and fire department reports extensively document the arson and conclude that the
                  fire was intentionally set. Multiple witnesses would also testify to the defendant bragging about
                  his role in destroying Individual-l 's car.

                        More broadly, since at least 2008, allegations of the defendant's physical abuse of women
                  and others have been publicly reported in the media, including in Hollywood blogs and on
                  podcasts. Law enforcement reports corroborate that police responded to several instances of the
                  defendant's violence, including assaults against victims and other individuals. More recently,
                  there has been an outpouring of other public allegations against the defendant, including claims of
                  threats and physical and sexual violence, dating as far back as the l990s.3 In short, the defendant's

                  3 See Job Dickerson-Neal v. Combs, No. 952341/2023 (N.Y. Sup. Ct.) (complaint filed on Nov. 23,
                  2023), Liza Gardner v. Combs, No. 24 Civ. 7729 (D.N.J.) (LMG-JRA) (complaint filed on Nov.
                  27, 2023, and removed to New Jersey federal court on July 12, 2024), Doe v. Combs, No. 23 Civ.
                  10628 (JGLC) (S.D.N.Y) (complaint filed on Dec. 6, 2023), Crystal McKinney v. Combs, No. 24
                  Civ. 3931 (NRB) (S.D.N.Y.) (complaint filed on May 21, 2024), and Dawn Richard v. Combs,
                  No. 24 Civ. 6848 (KPF) (S.D.N.Y.) (complaint filed on Sept. 10, 2024).
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                  violent tendencies are widely known. However, at no point during the past few decades has the
                  threat of public exposure or law enforcement intervention deterred the defendant from continuing
                  his abuse.

                             3. Firearms

                         The defendant and members of the Enterprise, including the defendant's security
                  personnel, at times carried firearms, and the defendant himself carried and brandished firearms to
                  intimidate and threaten others. Indeed, some victims were aware of the defendant's access to
                  firearms: on one occasion, the defendant forced a female victim to carry a firearm on his behalf
                  and on another occasion, he pointed a firearm at a female victim.

                          The defendant continues to have access to guns, including illegal firearms. In March 2024,
                  during searches of the defendant's residences in Miami, Florida and Los Angeles, California, law
                  enforcement seized firearms and ammunition, including three AR-l5s, each with defaced serial
                  numbers, as well as a large capacity drum magazine. As pictured below in a close-up image, the
                  serial number of one of the AR-l5s is visibly bored through and obscured:




                  Two of the three defaced AR-15s were found in the defendant's Miami bedroom closet, stored
                  broken down in parts, along with magazines that were loaded with ammunition, as depicted below.
                  One of the AR-l5S had a l0-round magazine loaded with 10 rounds of large caliber .223
                  ammunition, while the second AR-l5 had a 30-round magazine loaded with 19 rounds of .223
                  ammunition.
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                  A large capacity drum magazine, loaded with 59 rounds of .223 ammunition, was seized from the
                  defendant's Los Angeles residence, as depicted below:




                  In addition, six legally purchased guns with serial numbers, some of which were stored in gun
                  safes, were recovered from the defendant's residences. Although these particular guns both the
                  legal and illegal firearms were seized, their presence in the defendant's homes demonstrates that
                  the defendant has access to, and surrounds himself with, both guns and ammunition. Likewise,
                  even if the defendant were personally restrained by the Court from obtaining new firearms himself,
                  he could retain access to them through others.4

                         In sum, the defendant's regular use of violence and threats of violence, as well as the
                  coercion described above, against the victims and others, fostered a culture of fear in which these
                  individuals believed they were unable to reject the defendant's demands without subjecting
                  themselves to physical violence or other abuse.




                  4 Certain of the firearms seized during the March 2024 searches were licensed to a current member
                  of Combs' security staff. In addition to that individual, during the course of the charged
                  conspiracy, Combs has employed other security staff members with significant criminal history,
                  including violent crimes and firearms offenses.
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                          B. Combs Bribed Witnesses and Obstructed Justice

                         Throughout the time period charged in the Indictment, when the defendant faced the
                  possibility that his violent and criminal conduct could become public, the defendant and other
                  members and associates of the Enterprise pressured witnesses and victims not to report what they
                  saw or heard to law enforcement, or to otherwise conceal the criminal conduct.

                           For example, and as noted above, in March 2016, the defendant was captured on video
                  surveillance striking, kicking, and dragging a woman in a public area of a hotel in an apparent
                  attempt to prevent her from leaving a Freak Off. When a member of hotel security staff intervened,
                  the defendant attempted to offer the hotel security officer a stack of cash to ensure his silence.
                  After the security guard refused the defendant's bribe, and after coordination between the
                  defendant and his employees, the defendant's staff contacted other members of hotel security. At
                  the same time, staff members were in close communication with the victim of the assault as well
                  all in an effort to cover up the defendant's assault and to prevent the incident from being publicly
                  disclosed. Within days of the incident, the surveillance video disappeared from the hotel's server.

                          Similarly, throughout the time period charged in the Indictment, members and associates
                  of the Enterprise have reached out to multiple victims on behalf of the defendant to convince them
                  not to report the defendant's abuse. Most recently, in late 2023, immediately following public
                  allegations of certain of the defendant's crimes,5 including his physical and sexual abuse of
                  women, the defendant and other members of the Enterprise made repeated phone calls to victims
                  and witnesses during which they provided victims and witnesses with false narratives of events, in
                  an apparent effort to conceal the defendant's crimes. On at least two occasions, the defendant
                  recorded those calls on a co-conspirator's cellphone, thereby attempting to obscure his
                  involvement in the obstruction.

                          C. The Government's Investigation Is Ongoing

                          While the Indictment against the defendant was unsealed today, the investigation into his
                  and other co-conspirators' conduct is active and ongoing. As a result of that ongoing investigation,
                  as well as the defendant's charged conduct outlined above-including obstruction of justice and
                  witness tampering-the Government is limited in its ability to fully set forth all known details of
                  the defendant's criminal conduct, including details of certain witness testimony. To the extent the
                  Court has additional questions about the charged offense conduct or any other information set forth
                  herein, the Government is prepared to proffer additional information on an ex parte basis.

                                                              Argument

                     I.        Applicable Law

                         Under the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., federal courts are empowered to
                  order a defendant's detention pending trial upon a determination that the defendant is either a

                  5 See Ventura v. Combs, No. 23 Civ. 10098 (DLC) (S.D.N.Y.), Dkt. 1 (complaint filed November
                  16, 2023).
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                  danger to the community or a risk of flight. 18 U.S.C. § 3142(e). A finding frisk of flight must
                  be supported by a preponderance of the evidence. See, eg., United States v. Patriarca, 948 F.2d
                  789, 793 (1st Cir. 1991), United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987), United States v.
                  Cnimurenga, 760 F.2d 400, 405 (2d Cir. 1985). A finding of dangerousness must be supported by
                  clear and convincing evidence. See, eg., United States v. Ferranti, 66 F.3d 540, 542 (2d Cir.
                  1995), Patriarca, 948 F.2d at 792, Chimurenga, 760 F.2d at 405.

                          Obstruction of justice is another ground for pretrial detention by the courts. See United
                  States v. LaFontaine, 210 F.3d 125, 134 (2d Cir. 2000). Courts in the Second Circuit have held
                  that pretrial detention for obstruction of justice is appropriate as long as the Government can
                  establish by "clear and convincing evidence" that "there exists a serious risk" the defendant would
                  "threaten, injure, or intimidate, a prospective witness or juror." United States v. Leon, 766 F.2d
                  77, 82 (2d Cir. 1985), see also United States v. ZNerka, 592 F. App'x 35, 35 (2d Cir. 2015)
                  (summary order) ("A serious risk of obstruction of justice may qualify as ... a danger to the
                  community.").

                          The Bail Reform Act lists four factors to be considered in the detention analysis: (1) the
                  nature and circumstances of the crimes charged, including whether the offense is a violation of
                  section 159 l, (2) the weight of the evidence against the person, (3) the history and characteristics
                  of the defendant, including the person's "character, ... past conduct, ... [and] financial resources",
                  and (4) the "nature and seriousness of the danger to any person or the community that would be
                  posed by the person's release." See 18 U.S.C. § 3 l42(g). The concept of "dangerousness"
                  encompasses not only the effect of a defendant's release on the safety of identifiable individuals,
                  such as victims and witnesses, but also "'the danger that the defendant might engage in criminal
                  activity to the detriment of the community."' United States v. Millar, 4 F.3d 1038, 1048 (2d Cir.
                  1993) (quoting legislative history). A finding of dangerousness does not require that the defendant
                  have criminal history, particularly if a defendant has a history of domestic violence. See United
                  States v. Mercedes, 254 F.3d 433, 437-38 (2d Cir. 2001) (holding that "prior acts of domestic
                  violence are relevant to a determination of dangerousness" because a "willingness to strike loved
                  ones offers probative evidence of tendency to violence and dangerousness towards others").

                         Evidentiary rules do not apply at detention hearings, and the Government is entitled to
                  present evidence by way of proffer, among other means. See 18 U.S.C. § 3142(f)(2), see also
                  LaFontaine,210 F.3d at 130-31 (Government entitled to proceed by proffer in detention hearings).

                           Where a judicial officer concludes after a hearing that "no condition or combination of
                  conditions will reasonably assure the appearance of the person as required and the safety of any
                  other person and the community, such judicial officer shall order the detention of the person before
                  trial." 18 U.S.C. § 3l42(e)(l). Additionally, where, as here, a defendant is charged with sex
                  trafficking in violation of 18 U.S.C. § 195 l-in other words, an offense under chapter 77 of Title
                  18-it shall be presumed, subj ect to rebuttal, that no condition or combination of conditions will
                  reasonably assure the appearance of the defendant as required and the safety of the community.
                  18 U.S.C. § 3l42(e)(3)(D).
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                     II.     Discussion

                       For the reasons set forth below, the defendant poses a significant danger to the
                  community-both in terms of physical violence and obstructive conduct-as well as a risk of
                  flight. This is especially true given the nature of the criminal conduct and the strong weight of the
                  evidence. The defendant therefore cannot overcome the statutory presumption in favor of
                  detention in this case.

                             A.    Dangerousness

                          The defendant is charged with serious and violent crimes. As charged in the Indictment,
                  the defendant has physically and sexually abused women and others for the better part of two
                  decades. The sex trafficking charge based on the defendant's abusive conduct Count Two
                  carries with it a presumption of detention. See 18 U.S.C. § 3 l42(e)(3)(D). And detention is
                  particularly supported by the facts of this case. Since at least 2008, the defendant has engaged in
                  serious acts of violence, including forcing and coercing women to participate in sexual activity,
                  including sex acts with commercial sex workers, by using physical force, financial pressure,
                  emotional abuse, and narcotics. These acts, described in detail above, were referred to as Freak
                  Offs, among other names, and involved orchestrated sexual performances facilitated through drug
                  use that sometimes lasted days at a time.

                          That is not all. As set forth in the Indictment, the charges against the defendant capture
                  significant additional violence, both spontaneous and premeditated. On numerous occasions, the
                  defendant assaulted women, employees, and others when he became enraged by throwing
                  objects at them, choking them, pushing them, kicking them, and slamming them against walls and
                  on to the ground. The defendant and other members and associates of the Enterprise were also
                  capable of premeditated violence, resorting to kidnapping and arson when the defendant's power
                  and control were threatened. The defendant's violence whether spontaneous or premeditated
                  had the effect of exerting his continued control over these individuals. The defendant also carried
                  firearms to intimidate and threaten others. Multiple defaced semi-automatic rifles were recovered
                  when law enforcement searched the defendant's residences in March 2024, including two defaced
                  rifles that had been disassembled and hidden in the defendant's bedroom closet. In short, the
                  conduct with which the defendant is charged shows a pattern of violent and abusive conduct,
                  underscoring his dangerousness. See 18 U.S.C. § 3l42(g)(l).

                         This disposition to violence cannot be reasonably prevented through bail conditions. The
                  violence alleged in the Indictment was not isolated or aberrational. It was systematic and
                  pervasive: the defendant abused women with whom he was in personal relationships, employees,
                  witnesses to his crimes, and others. As described above, the defendant has sexually, physically,
                  and emotionally abused long-term romantic partners for decades, including by forcing them to
                  engage in Freak Offs. The defendant has abused countless others in his orbit-and in particular,
                  women-without regard for consequences. Indeed, the defendant's abuse of women long predates
                  the conduct charged in the Indictment: to date, at least five women have publicly accused the
                  defendant of violent sexual assaults dating back to the l990s.
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                         Moreover, the defendant's violence and abuse often occurred behind closed doors,
                  including in his homes, hotels where he was staying, and other private settings. He has assaulted
                  victims, employees, and others-and even brandished a firearm at a victim-in his homes. The
                  alleged sex trafficking similarly took place in private settings not easily monitored. Indeed, in
                  addition to engaging in Freak Offs at hotels, the defendant has, at times, organized Freak Offs at
                  his home or at the homes of his female victims. This is precisely the kind of violence that even
                  strict conditions such as home incarceration cannot prevent.

                          In sum, the defendant's long history of violent conduct makes clear that even the most
                  stringent bail conditions will not suffice to ensure the safety of the community. The defendant is
                  a serial abuser who repeatedly assaults and coerces women to achieve his own sexual gratification,
                  and uses his vast wealth and position of power in the entertainment industry to conceal his illegal
                  conduct and prevent victims of, and witnesses to, his abuse from coming forward. See 18 U.S.C.
                  § 3 l42(g)(3). The defendant's longstanding pattern of abuse is probative evidence of the
                  likelihood that he will continue to abuse. Indeed, nothing not even the threat of public exposure
                  or law enforcement intervention has stopped his abuse. The defendant has continued to
                  physically assault and threaten those around him, including his romantic partners, his employees,
                  and others who happened to be present when he succumbed to fits of rage. No bail conditions can
                  address the defendant's tendency to become violent when angry or emotional: anyone in his
                  presence is at risk of abuse or assault. And the defendant's physical assaults are serious, resulting
                  at times in serious injury requiring medical intervention and long periods of recovery. Therefore,
                  the "nature and seriousness of the danger to any person" is both real and specific. See 18 U.S.C.
                  § 3 l42(g)(4) (emphasis added), see also Mercedes, 254 F.3d at 437 (reversing district court's
                  release of defendant who had no criminal history but had a history of domestic violence).

                             B.    Obstruction

                          As part of the charged racketeering conspiracy, the defendant engaged in obstruction of
                  justice, including bribery and witness tampering. See 18 U.S.C. § 3l42(g)(l). Given the
                  defendant's history of engaging in obstructive conduct to conceal his criminal activity, both
                  personally and through intermediaries, there is every reason to believe that the defendant will
                  continue to engage in such obstruction if released. See 18 U.S.C. § 3l42(g)(3), see also United
                  States v. Kelly, No. 19 Cr. 286 (AMD) (E.D.N.Y.) (Aug. 2, 2019 Hear'g Tr.) (transcript of bail
                  hearing in which defendant was denied bail due to risk of flight and obstructive conduct).

                          As detailed in the Indictment, following a Freak Off in March 2016, the defendant
                  attempted to bribe hotel security staff to prevent hotel security from publicly disclosing and/or
                  reporting to law enforcement his vicious attack on a woman attempting to leave a Freak Off. The
                  defendant's efforts to disclaim responsibility for that attack continued until earlier this year. A
                  civil lawsuit was filed on or about November 16, 2023 alleging years of sexual, emotional, verbal,
                  and physical abuse by the defendant, including allegations describing the March 2016 incident.
                  Following the filing of the lawsuit, the defendant stated, in no uncertain terms, "Let me be
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                  absolutely clear: I did not do any of the awful things being alleged.996 Through counsel, the
                  defendant "vehemently denied] these offensive and outrageous allegations," describing the
                  complaint as "riddled with baseless and outrageous lies.997 It was not until the video surveillance
                  footage of the defendant's attack was leaked to the media months later that the defendant was
                  forced to admit that he had, in fact, perpetrated the "disgusting" attack.8 Clearly, the defendant is
                  willing to deflect, minimize, and lie-and induce others to do so on his behalf-to avoid taking
                  responsibility for his own actions.

                         More recently, the defendant has, directly and through intermediaries, engaged in
                  obstructive conduct related to the matters under investigation in this case. Specifically, following
                  the November 2023 lawsuit, the defendant and intermediaries acting on his behalf reached out to
                  potential victims and witnesses to the alleged conduct including individuals he did not speak to
                  regularly and had not spoken to in years, to attempt to feed those victims and witnesses false
                  narratives about the defendant's criminal conduct. With respect to at least two of these individuals,
                  the defendant's co-conspirators assisted in efforts to protect the defendant. For example, on or
                  about November 19, 2023 just three days after the filing of the lawsuit described above the
                  defendant made multiple calls to another victim of his sexual abuse and recorded certain of those
                  calls using the cellphone of a co-conspirator. During the calls, the defendant repeatedly asked for
                  the victim's support and "friendship," and attempted to convince the victim that she had willingly
                  engaged in acts constituting sexual abuse. The defendant also assured the victim that if she
                  "needed" the defendant too, she "ain't got worry about nothing else" a thinly veiled attempt to
                  coerce the victim into adopting and supporting the defendant's false version of events to protect
                  the defendant. Even more concerning, since learning about the criminal investigation, including
                  following the execution of the search warrants at his residences, Combs contacted other witnesses
                  on multiple occasions, including other witnesses who had received grand jury subpoenas.

                          The defendant's recent conduct is similar to that in United States v. LaFontaine, in which
                  the Second Circuit affirmed the district court's revocation of pretrial release after the defendant in
                  that case engaged in witness tampering. 210 F.3d at 125. Specifically, the defendant, who was
                  charged with multiple counts of fraud in connection with providing false claims to medical
                  insurers, called a witness to "remind" the witness that a particular patient had received surgeries
                  that the patient had not, in fact, received. Id. at 128. The Second Circuit affirmed the district
                  court's finding that there was no condition or combination of conditions that would assure the
                  safety of the community given the defendant's witness tampering, despite the fact that the
                  defendant's tampering did not include actual violence or threats of violence. Id. at 134. In

                  6 See, et., Billboard, "Diddy Denies Sexual Assault Claims: 'I Did Not Do Any of the Awful
                  Things Being Alleged," available at https://ca.billboard.com/music/music-news/diddy-denies-
                  sexual-assault-claims-1235543220/.
                  7 See, e.g., CNN, "A closer look at the sexual misconduct lawsuits against Sean 'Diddy' Combs"
                  available         at          https://www.cnn.com/2024/03/3 l/entertainment/sean-diddy-combs-
                  lawsuits/index.html.
                  8 See https://www.youtube.com/watch?v=0ZC2hsZHEOM (AP link showing Instagram video
                  from the defendant's account in which the defendant admits to the attack depicted on surveillance
                  video, which was subsequently deleted from the defendant's Instagram account).
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                  rejecting the defendant's arguments that the district court's finding of dangerousness was not
                  justifiable, the Second Circuit noted that the defendant had "fed" the witness false testimony with
                  the expectation that the witness would adopt it, and that even stringent electronic monitoring
                  conditions could be circumvented. Id. at 134-35.

                          Here, the defendant's conduct goes beyond what the LaFontaine court found sufficient to
                  revoke bail. Even before being charged with a crime, the defendant has taken numerous proactive
                  steps to tamper with potential witnesses' testimony against him. The Government is aware,
                  through electronic evidence, toll records, conversations with witnesses, and other evidence, that
                  the defendant has contacted witnesses, including subpoenaed witnesses, prior to the dates on which
                  the witnesses were required to appear before the grand jury. In addition, the defendant has
                  recorded calls with at least one victim and provided, either directly or through intermediaries, false
                  narratives of the events that transpired so that those witnesses would adopt that false testimony.
                  Moreover, the defendant's obstructive conduct is made even more alarming by the manner in
                  which he carried it out to evade detection: in some instances, by having intermediaries make calls
                  on his behalf, and recording certain calls on another individual's device. These deliberate actions
                  show that the defendant was aware that what he was doing was obstructive and that his aim was
                  to evade detection. Even the most stringent conditions including the monitoring of a court
                  authorized electronic device would fail to ensure that the defendant would not engage in this
                  kind of obstruction from his home, including by acting through intermediaries and using others'
                  devices.

                         Given the defendant's history of obstruction, as well as the violent nature of the charges
                  against the defendant, the defendant cannot overcome the presumption that no condition or
                  combination of conditions can assure the safety of the community.

                             c. Risk of Flight
                          Nor can the defendant overcome the presumption that he is a risk of flight. The crimes that
                  the defendant is charged with any significant penalties, including a mandatory minimum sentence
                  of 15 years' imprisonment and a statutory maximum sentence of life imprisonment. See 18 U.S.C.
                  § 3142(g)(1). The possibility of a substantial sentence is a significant factor in assessing the risk
                  of flight. See United States v. Green, No. 20 Cr. 357 (VM), 2020 WL 5814191, at *2 (S.D.N.Y.
                  Sept. 30, 2020) (noting that substantial sentence defendant may face weighed in favor of finding
                  that defendant was a flight risk), see also United States v. Moscaritolo, No. 10 Cr. 4 (JL), 2010
                  WL 309679, at *2 (D.N.H. Jan 26, 2010) ("[T]he steeper the potential sentence, the more probable
                  the flight risk is, especially considering the strong case of the government ...") (citation omitted).
                  Here, the defendant is facing at least 15 years' imprisonment if he is convicted. This fact alone
                  would provide a compelling incentive for anyone to flee from prosecution, but the incentive to flee
                  is especially strong for this defendant, who, at age 54, faces the very real prospect of spending a
                  substantial portion of the rest of his life in prison.

                         As detailed below, the evidence in this case is incredibly powerful, as the facts set forth in
                  the Indictment and herein make plain. See 18 U.S.C. § 3l42(g)(2). Dozens of victims and
                  witnesses have provided detailed, credible, and corroborated information against the defendant.
                  These individuals include many who personally experienced and witnessed violence and other
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                  crimes at the hand of the defendant. Moreover, their accounts are well corroborated by significant
                  extrinsic evidence, including financial and billing records, travel records, electronic data, and
                  communications, including extensive communications by and with the defendant himself. For
                  example, victim testimony regarding Freak Offs is at times corroborated by other witness
                  testimony, communications with the defendant and commercial sex workers, travel records, hotel
                  records, videos of the Freak Offs, and records reflecting or indicating payment. Similarly, a
                  victim's physical abuse may be corroborated by, among other things, videos of the abuse,
                  photographs of injuries, reports made to law enforcement, communications with the defendant and
                  others, and testimony from other witnesses who saw or heard about the abuse. The vast and varied
                  sources of evidence, described in detail below, will be compelling evidence of guilt at any trial in
                  this case. Thus, the serious risk of conviction provides further incentive for the defendant to flee
                  prosecution.

                          Moreover, in this case, risk of flight is augmented by the nature of the evidence against the
                  defendant. The evidence against the defendant, which would be made public at trial, includes
                  substantial evidence that is highly sensitive and has the potential to significantly and negatively
                  impact the defendant's reputation for example, dozens of video recordings created by the
                  defendant of Freak Offs with victims. For decades, the defendant has spent significant time and
                  resources ensuring that his criminal conduct avoids public scrutiny. Given the potential penalties
                  here, both incarceration and reputational harm, the defendant has every incentive to flee to avoid
                  prosecution and a public trial. See, et., United States v. Madoj 316 F. App'x 58, 59 (2d Cir.
                  2009) ("[I]ncentive to flee ... naturally bears upon and increases the risk of flight."), United States
                  v. Sammons, No. 19 Cr. 107, 2020 WL 613930, at *5 (S.D. Ohio Feb. 10, 2020) ("The shame of
                  the allegations that he is facing is also an immense incentive to flee.").

                          The defendant's incentive to flee, outlined above, coupled with the defendant's seemingly
                  limitless resources create significant risk of non-appearance. The defendant's net worth is publicly
                  estimated at being close to $1 billion.9 Indeed, the investigation of this case has revealed that the
                  defendant has access to vast funds and resources including deep reserves of cash which would
                  facilitate his evasion of prosecution. At least as of December 2023, the defendant had access to
                  dozens of bank accounts-some personal and many under corporate entities-which contain
                  millions of dollars. Additionally, as of December 2023, the defendant had over $1 million in
                  personal cash on hand. The defendant has traveled internationally several times per year since at
                  least 2006, and since approximately 2019, has owned a personal plane on which he has traveled
                  internationally. 10 The defendant maintains two primary residences in Los Angeles and Miami. In
                  addition to his private plane, the defendant owns multiple vehicles in multiple locations. He has a


                  9 See Fox Business, "Sean 'Diddy' Combs net worth is close to $lB here are some big ticket
                  assets," available at https://www.foxbusiness.com/lifestyle/sean-diddy-combs-net-worth-close-
                  lb-here-some-big-ticket-assets.
                  10 Through conversations with defense counsel, the Government understands that defense counsel
                  is currently in possession of the defendant's passport, as well as the passports of several of the
                  defendant's family members, and that the defendant is in the process of attempting to sell his plane
                  and Los Angeles residence. As explained above, however, the defendant's vast resources make
                  him a flight risk even without a passport, private plane, or multiple residences.
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                  personal staff, including assistants, security, chefs, trainers, and others, who perform tasks at his
                  command, including transporting him, delivering him currency, securing narcotics for him, and
                  other tasks. And he is extraordinarily well connected both within and outside the entertainment
                  industry. In short, if the defendant wanted to flee, he has the money, manpower, and tools to do
                  so quickly and without detection. The defendant's lack of access to his passport or private jet
                  would not negate the fact that the defendant could easily buy his way out of facing justice.

                           As discussed below, the defendant's legal team has attempted to mitigate this substantial
                  risk of flight by taking steps such as taking his family's passports, attempting to sell his plane, and
                  reporting his whereabouts to the Government. These steps have been taken with the precise goal
                  of crafting an argument for bail before the Court. While the defendant may have made the
                  calculated decision in consultation with his attorneys not to flee before any charges were filed, that
                  calculus inevitably changes today, when an Indictment charging the defendant with extremely
                  serious offenses carrying enormous potential penalties was unsealed. He is now for the first time
                  in his life facing a mandatory minimum term of imprisonment of 15 years and a maximum term
                  of imprisonment of life, in which the Government is prepared to prove the charges against him by,
                  among other things, the testimony of dozens of witnesses and victims to his serial abuse, and
                  evidence from dozens of his own electronic devices and those of his co-conspirators. Given the
                  serious nature of the charges, the strength of the evidence, and the defendant's access to vast
                  amounts of resources, his risk of flight is more pronounced today than it has ever been.

                             D.    Weight of the Evidence

                          In considering the danger and risk of flight presented by the defendant, the Court is also
                  required to consider the weight of the evidence against the defendant. 18 U.S.C. § 3142(g)(2).
                  The defendant faces a strong and powerful case here, only magnifying the danger he could present
                  to others, especially victims and witnesses ready to testify against him, and the risk he flees. The
                  evidence in this case consists of a vast amount of victim and witness testimony, electronic
                  evidence, physical evidence, and subpoena returns and other voluntary productions, among other
                  things.

                         As to witnesses, to date, the Government has conducted interviews with over 50 victims
                  and witnesses, many of whom saw or experienced the defendant's abuse. Many of these witnesses
                  corroborate one another, and their accounts are similarly consistent with the other types of
                  evidence discussed below. The Government only expects that number to continue to grow, given
                  that the investigation, which is now public, is ongoing.

                           The electronic evidence is similarly vast. The Government has sought and obtained
                  numerous search warrants for such evidence, in addition to obtaining evidence voluntarily from
                  certain victims and witnesses. Setting aside devices seized in connection with the defendant's
                  arrest, the Government has obtained over 90 cellphones, laptops, and cloud storage accounts, as
                  well as over 30 other electronic and storage devices, such as hard drives, thumb drives, cameras,
                  and a surveillance system. This electronic data comes from the defendant himself, as well as co-
                  conspirators, victims, and witnesses, and chronicles much of the defendant's criminal activity as
                  it occurs.
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                         The evidence also consists of physical evidence, which was seized pursuant to search
                  warrants executed at the defendant's residences in Los Angeles and Miami, as well as on his person
                  and the persons of certain co-conspirators. In addition to the firearms and electronics discussed
                  above, the physical evidence also includes other evidence of Freak Offs, including over 1,000
                  bottles of baby oil and personal lubricant.

                         Finally, the evidence includes records obtained pursuant to over 300 grand jury subpoenas
                  and other voluntary productions. These materials come from over 100 entities and individuals,
                  including communications providers, tech companies, social media companies, banks and other
                  financial institutions, airlines, hotels, car services, and other travel-related companies, escort
                  services, and even the defendant's companies and wealth management firm.

                         Together, this evidence, as well as other evidence gathered, powerfully demonstrates the
                  defendant's guilt, and counsels in favor of detention.

                             E.    The Defendant's Proposed Bail Package Is Insufficient

                          For all the reasons set forth herein, there is no bail package that can reasonably assure the
                  safety of others in this case, where the defendant has engaged in a decades-long pattern of violence
                  against women and others, and has used his wealth and power to ensure that his criminal conduct
                  goes unpunished through manipulative and obstructive conduct. In particular, the bail package
                  proposed by defense counsel is insufficient because it fails to adequately protect others from the
                  defendant's violence, impose measures to prevent and detect obstruction, or prevent the defendant
                  from accessing his vast resources including millions of dollars in cash to evade prosecution, or
                  dissipating those assets to avoid financial penalties for his crimes.

                          Defense counsel has proposed certain bail conditions, including home detention with
                  electronic monitoring and a $50 million bond secured by the defendant's Miami property. These
                  conditions are plainly insufficient to address the legitimate concerns set out above. In particular,
                  given the defendant's history of engaging in obstructive conduct, the Court must reject the
                  insufficient conditions proposed by defense counsel, which do nothing to prevent and detect such
                  conduct. For example, in United States v. Ferranti, 66 F.3d at 543-44, a case in which the
                  defendant was charged with witness tampering and where obstruction remained an ongoing
                  concern, the Second Circuit reversed the district court's release of the defendant on bail conditions
                  because the $1 million bond, which was to be secured by properties owned by the defendant and
                  members of his family, only deterred flight, not danger. Id. at 543. More specifically, the Second
                  Circuit found the district court's bail condition intended to address witness tampering-which was
                  a general prohibition that the defendant was not to commit a crime or intimidate a witness-"does
                  not at all impede his ability to do so, and requires no more of him than that which the law already
                  demands from [a defendant] and every other citizen." Id. at 544 (quoting United States v.
                  Colombo, 777 F.2d 96, 100 (Zd Cir. 1985)).

                          Notably, the defendant's previously proposed conditions do not include provisions related
                  to his access to electronic devices, which, as outlined above, the defendant uses to engage in
                  obstructive conduct. Nor do the proposed conditions include information related to or restrictions
                  on access to the defendant's vast resources-including multiple personal bank accounts, bank
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                  accounts in the name of the defendant's business, and deep cash reserves-which could facilitate
                  the defendant's flight. Similarly, the proposed conditions fail to protect against dissipation of
                  assets which may be subject to forfeiture or penalties on the charges in the Indictment. Finally,
                  the proposed conditions do not include conditions that would limit the defendant's potential to
                  engage in violence or abuse, such as drug testing and treatment and surrender of all firearms.

                        III.      Conclusion

                               As set forth above, the defendant poses an ongoing and significant danger to the
                  community, has repeatedly engaged in obstructive conduct, and presents a serious risk of flight.
                  The Government respectfully submits that the defendant cannot meet his burden of overcoming
                  the statutory presumption in favor of detention. There are no conditions of bail that would assure
                  the appearance and compliance of the defendant, or the safety of others. Accordingly, any
                  application for bail should be denied.

                                                                Respectfully submitted,

                                                                DAMIAN WILLIAMS
                                                                United States Attorney

                                                             By:   /s
                                                                Meredith Foster
                                                                Emily A. Johnson
                                                                Madison Reddick Smyser
                                                                Christy Slavik
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                  cc:      Marc Agnifilo, Esq. (by email)
                           Tony Geragos, Esq. (by email)
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                                                 EXHIBIT A

                                                 (video exhibit)
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                                                            September 17, 2024

                     YIA EC_F
                     The Honorable Robyn F. Tamofsky
                     United States Magistrate Judge
                     Southern District of New York
                     500 Pearl Street
                     New York, NY 10007

                            Re:     United States v. Sean Combs, 24 Cr. 542

                     Dear Judge Tamofsky:

                            Mr. Sean Combs, through his counsel, submits this letter to the Court for release on certain
                     specified conditions. Yesterday evening, Mr. Combs was arrested on an indictment charging him
                     with the following offenses: 18 U.S.C.§ l962(d); 18 U.S.C.§ l59l(a)(l), 18 U.S.C. § l59I(b)(l),
                     18 U.S.C. § l 594(a) and 2, 18 U.S.C. §242l(a) and 2. For the reasons set forth below, we ask this
                     Court to release Mr. Combs pursuant to our proposed bail package.

                             This letter will walk the Court through a series of actions taken by Mr. Combs over the
                     past six months that prove that he is not a risk of flight or a danger to anyone in the community.
                     These actions prove that Mr. Combs is eminently trustworthy, that he is demonstrably committed
                     to showing his innocence in Court in the context of this case, and that he should be released, on
                     the conditions proposed, in order to do so.

                            The first thing the Court should know is that when it became apparent to his counsel that
                     Mr. Combs would at some point soon be formally charged, he did something extraordinary: He
                     left his home in Miami and travelled to New York, the very location of the prosecutors and agents
                     investigating him. Through counsel, Mr. Combs promptly told the Government that he had
                     voluntarily come to New York, offered to tell them specifically where he was, and offered to tum
                     himself in at the appropriate time. Even though Mr. Combs came to New York, authorized his
                     lawyers to tell the Government of his location, and offered to self-surrender, the Government
                     effected an arrest last evening. This, we know, is the Government's right. However, that he
                     travelled to New York to self-surrender is also something the Court should consider.

                              This was not the first action Mr. Combs took to show his trustworthiness and lack of flight
                     risk. Indeed, it is part of a pattern since even before the March 25, 2024, searches on Mr. Combs'
                     residences. Mr. Combs and his counsel have been fully aware that the United States Attorney for
                     the Southern District of New York has been conducting an investigation involving allegations
                     concerning Racketeering and Sex Trafficking, and other offenses. Knowing for these many
                     months that he would be indicted, Mr. Combs has done everything (as will be set out below) to
                     work with the prosecutors in ways that are unusual, if not unprecedented.




                     446 PARK AVE, 7TH FLOOR I NEW YORK, NY 10022 I WWW.AGILAWGROUP.COM
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                            In light of these circumstances, he can rebut the presumption of detention here due to his
                     extraordinary actions in this investigation. Mr. Combs should be released m the conditions
                     proposed SO that he can fight this case in Court effectively.

                                                          The Proposed Package

                            The defense proposes the following bail package:

                            a. A $50,000,000 bond,

                            b. Co-signed by Sean Combs, his mother, his sister, the mother of his oldest daughter,
                                and his three adult sons,

                            c. Secured by the equity in Mr. Combs' residence located at 2 West Star Island in
                                Miami, Florida:
                                    a. The appraised value of the home is about $48,000,000.I
                                    b. The home is unencumbered. In anticipation of this bail hearing, on August 20,
                                        2024, Mr. Combs paid off the remaining mortgage of about $18,000,000 so that
                                        the home could be used to secure a bond and be free of a mortgage

                            d. Secured by the equity of Mr. Combs' mother's home located at _ in
                                Miami, Florida,

                            e. Mr. Combs' travel will be restricted to the Southern District of Florida and the Southern
                                District of New York (lo attend Court, meet with his counsel, arid attend medical
                                appointments, which we will address to the Court in a separate, scaled, submission) as
                                well as the Eastcm District of New York or the District of New Jersey (only b the
                                extent that his travel to and from New York involves an airport in those Districts);

                            f. Mr. Combs' passport was surrendered to his counsel on April I, 2024, his counsel
                                advised the prosecutors of this fact in an email dated the same day,3 counsel will
                                provide this passport to Pretrial Services,

                            g. The passports of the following family members, who have already surrendered their
                                passports to counsel after the raids on Mr. Combs' homes:
                                    a. Janice Combs,
                                    b. Chance Combs,
                                    c. Jessie Combs,
                                    d. D'Lila Combs, and
                                    e. Love Combs.

                     I The written appraisal is attached as Exhibit 1.
                     zThe satisfaction of the mortgage is attached as Exhibit 2.
                     3The letter to the prosecutors is attached as Exhibit 3.


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                               h. Since at least April 2024, Mr. Combs has been making efforts to sell his airplane. We
                                  informed the Government of these efforts in May 2024, as explained further below.
                                  Just this weekend, Mr. Combs entered into a Letter of Intent with a party to sell it.
                                    Mr. Combs understands he is not to travel to Los Angeles, where the plane had been
                                    located this week, and further that the plane is not to be brought to any District in which
                                    he is located until it is sold,"

                               i.   Home detention with GPS monitoring, and

                               j.   All other standard conditions of pretrial supervision.

                       The HjI |qLg_1l|;s Investigation Shows a Great Degree of Collaboration Between the
                       QL'ernmeng,_lylr. Combs and Ilia C QQI Which Should Weigh Heavily in This Court
                                            Releasing Him on the Conditions Proposed

                             On March 13, 2024, counsel for Mr. Combs emailed the assigned Assistant United States
                     Attorneys. In this introductory mail, counsel identified himself as counsel for Mr. Combs and
                     stated that he wished to speak with the prosecutors and share information about Mr. Combs and
                     the matters under investigation. See Ex. 4. After not hearing back from the AUSAs, counsel again
                     emailed the prosecutors on March 18, 2024. Counsel did not get a response to this second email
                     either.

                               On March 25, 2024, search warrants were executed at Mr. Combs' places of residence in
                     Miami and Los Angeles. In addition, he was removed from his airplane and searched. The
                     searches of the residences were unusually public and particularly heavy-handed. The agents had
                     assault rifles trained on the heads and the chests of his children, who were then handcuffed and
                     brought before news cameras and a press helicopter. On the day of the searches, counsel called
                     the prosecutors, and they spoke for the first time. Counsel indicated that he would accept service
                     of two grand jury subpoenas to Mr. Combs' businesses.

                         l. Counsel Took Possession of Mr. Combs' Passport on April I. 2024

                           About a week following the searches, on April I, 2024, counsel took possession of
                     Mr. Combs' U.S. passport. As noted, on this same day, counsel advised the AUSAs of the fact
                     that counsel had Mr. Combs' passport, that we would not return it to him, and that he would not
                     leave the country during the pendency of the investigation. See Ex. l. We have, in fact, maintained
                     the passports, and Mr. Combs has not, in fact, left the country despite knowing the investigation
                     was ongoing, despite having a plane at his disposal, despite not being charged with any crime.




                     4 As of this mouing, the plane is in Teterboro, NJ, for a charter flight.


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                         2. Qounsel Agreed to Adyise the Govemmgrgg pf All Domestic Travel

                             Moreover, counsel advised the Government that if Mr. Combs intended to travel
                     domestically, counsel would so inform the AUSAs. See Ex. l. These two promises have also
                     been kept. For example, on June 9, 2024, counsel advised the AUSAs that Mr. Combs was
                     traveling from Miami to Los Angeles to go on a road trip with his children.   Ex. 5. In addition,
                     we provided the AUSAs with information about when his flight departed and it would land. 4
                     On June 29, 2024, counsel emailed the prosecutors that Mr. Combs was flying to Wyoming via a
                     chartered aircraft. See Ex. 6 at 3. On July 5, 2024, counsel emailed the prosecutors that he was
                     traveling back to Los Angeles. 4 Two days later, on July 7, 2024, when he traveled back to
                     Miami via a chartered aircraft, we again emailed the AUSAs. & at 2. In addition, when Mr.
                     Combs planned travel but not take those trips, we notified the prosecutors of that as well.       4
                     at l.

                         3. Counsel Advised the Government of Mr.§pmbs' Efforts to Sell His Airplane

                          On May 21, 2024, counsel advised the AUSAs during a phone call that Mr. Combs had
                     commenced efforts to sell his airplane. We followed up on that conversation the next day, onMay
                     22, 2024, with a letter to the AUSAs that efforts were underway to sell the aircraft and reminding
                     the AUSAs that counsel continued to be in possession of his passport.       Ex. 7.

                              Over the past several months, there have been several potential buyers for the airplane and
                     at least two buyers have signed a Letter of Intent to purchase the aircraft. Just this weekend, a
                     buyer for the aircraft and representatives for Mr. Combs executed a Letter of Intent. Due to the
                     nature of this asset, and the amount of inspection and due diligence that is required for a purchase,
                     it is not a simple asset to offload.

                              In advance of the plane being sold which it eventually will be we have agreed to keep
                     the airplane in Los Angeles while Mr. Combs resides in his home in Florida, if it is not being
                     chartered. Coincidentally, and        at Mr. Combs' request, last night, the airplane was chartered
                     on a Part 135 flight5 from Los Angeles to Teterboro, NJ. Mr. Combs had no advance knowledge
                     of the flight, nor did he possess any control over its movement last night. Obviously, Mr. Combs
                     agrees to not go to any state in this case, New Jersey - in which his airplane is located pending
                     its sale, which is actively being pursued.

                         4. Mr. Combs Voluntarily Relocated to New York in Advance of His Arrest

                             Once it became apparent to counsel that Mr. Combs' arrest was imminent, he promptly
                     relocated to New York City. On September 5, 2024, Mr. Combs arrived in New York, and counsel
                     immediately informed the Government of Mr. Combs' whereabouts.                 Counsel offered to

                     5 Pursuant to the Code of Federal Regulations Part 135 ("Part 135"), a private jet may be available
                     to the general public for use. Part 135 pertains to Mr. Combs' airplane, and, therefore, can be
                     chartered by the general public.


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                     continually share Mr. Combs' location with the government. Since arriving in New York on
                     September 5, Mr. Combs has been staying at the Park Hyatt New York. Due to bookings made at
                     the Park Hyatt prior to Mr. Combs' reservation, after today, September 17, 2024, he would no
                     longer be able to stay at the Park Hyatt. Accordingly, Mr. Combs had a reservation to stay at the
                     Carlyle Hotel starting today.°

                            Since Mr. Combs relocated to New York earlier this month, counsel has been looking for
                     a one-month rental for Mr. Combs in New York City. Despite counsel's persistence, it has been
                     challenging to find a rental for many reasons, including because of the numerous events occurring
                     in New York City in September (e.g., the US Open, Fashion Week, and the UN Summit), and
                     some landlords' discomfort with having Mr. Combs as a tenant given the investigation, Last night,
                     counsel had scheduled a viewing of a potential apartment, however, because of Mr. Combs' arrest,
                     counsel and Mr. Combs obviously were not able to view the rental.

                        5. Counsel Advised the Government That lt Was in Possession of the Passports of Members
                            of Mr. Combs' Family

                            On June 13, 2024, counsel informed the Government that we possessed Mr. Combs'
                     mother's passport. See Ex. 8. We have also informed the Government that we possessed the
                     passports of his four daughters (all of whom were minors at the time we took possession of the
                     passports).

                        6. Counsel's Assistance to the Ggvemment Concerning the Subpoenas

                            As stated above, counsel accepted service of two subpoenas directed at several of Combs'
                     businesses in March of 2024. Separate counsel for the entities filed a motion to quash those
                     subpoenas in April of 2024. In May of 2024, upon becoming sole counsel in connection with the
                     criminal investigation of Mr. Combs, we advised the Court that it would withdraw the motion to
                     quash the Grand .jury subpoenas and instead that the parties would meet and confer with the
                     Goveminent to minimize the number of requests on which the parties disagreed. Counsel agreed
                     to begin gathering documents responsive to the subpoena.

                            For the past several months, counsel for Mr. Combs and the AUSAs have had regular
                     discussions about what documents we had, what we did not have and, in regard to the documents
                     we did not have, where the Government may be able to find such documents. We did this for two
                     reasons. First, there was nothing, in counsel's estimation, that would constitute evidence of
                     Mr. Combs being involved in any federal crime. Second, we wanted to be appropriately helpful to
                     the Government in its investigation. To that end, the Combs entities have produced over 144,000
                     pages ofdocuinents to the SDNY in compliance with the subpoena.




                     6 The confirmation number for this reservation is l53SE224832. Counsel will provide additional
                     confirmatory information upon request.


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                             6.      Paying Qff The Mortgage the 2 West Star Island In Miami

                             As noted in the discussion about the bail package, on August 20, 2024, Mr. Combs caused
                     the outstanding mortgage to be paid on his primary residence in Miami. This payment of about
                     $ l 8,000,000 was for one reason alone: so that he would have this $48,000,000 residence free and
                     clear of any encumbrances so that it can be used to secure a bond. We submit this is a truly
                     extraordinary measure that shows resoundingly that Mr. Combs is appropriately focused on
                     defending this case on the merits in this Court.

                                                               Legal Standard

                              Because Mr. Combs is presumed to be innocent, the Supreme Court has observed that
                     "liberty is the norm, and detention prior to trial or without trial is the carefully limited exception."
                     United States v. Salerno, 481 U.S. 739, 755 (1987). As the Supreme Court recognizes, "the
                     function of bail is limited." Stack y. Boyle, 342 U.S. I, 4 ( l 954). The underling goal is securing
                     the presence of the defendant rather than "the sum of bail." United States v. Nebbia, 357 F.2d 303,
                     304 (2d Cir. I 966). When deciding an issue of pretrial release, the Second Circuit has noted that
                     "the court should bear in mind that it is only a limited group of offenders who should be denied
                     bail pending trial." United States V. Shakur, 817 F.2d 189, 195 (2d Cir. 1987). Indeed, the Bail
                     Reform Act requires that the Court impose "the least restrictive ... condition, or combination of
                     conditions, that will ... reasonably assure the appearance of the person as required and the safety
                     of the community." 18 U.S.C. § 3l42(c)(l)(B).

                             While there is a presumption of detention in sex trafficking cases, this presumption is
                     rebuttable. The presumption imposes on the defendant a "burden of production," while the
                     "burden of persuasion" remains with the Government. United States y. Me_rcegle_s_, 254 F.3d 433.
                     436 (2d Cir. 200l). Although this burden "is not heavy," the defendant must introduce some
                    evidence contrary to the presumed fact. United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir. 199 I ).
                     A defendant can satisfy this burden by coming forward "with evidence that he does not pose a
                     danger to the community or a risk of flight." Mercedes, 254 F.3d at 436. Even if the defendant
                     presents some evidence satisfying his or her burden, "the presumption favoring detention does not
                     disappear entirely, but remains a factor to be considered among those weighed by the district
                     court." Q. in Jessup, the benchmark case defining this burden shift, the court explained:

                            Since the presumption is but one factor among many, its continued consideration
                            by the magistrate does not impose a burden of persuasion upon the defendant. And,
                            since Congress seeks only consideration of the general drug offender/flight
                            problem, the magistrate or judge may still conclude that what is true in general is
                            not true in the particular case before him. He is free to do so, and to release the
                            defendant, as long as the defendant has presented some evidence and the
                            magistrate or some judge has evaluated all of the evidence with Congress's view of
                            the general problem in mind.



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                     Un d Stat_e§ v. Jessup, 757 F.2d 378, 384 (1st Cir. l 985).

                                                          Section 3142(2) Factors

                            Acknowledging that sex trafficking has a rebuttable presumption of detention, Mr. Combs
                     can rebut such a presumption with evidence that he does not pose a danger to the community and
                     is not a risk of flight. (18 U.S.C. § 3l42(c)(l)(B).) An analysis of the Section 3l42(g) factors
                     weigh in favor of releasing Mr. Combs on these conditions.

                         l . The Nature and Circumstances of the Offense

                            Mr. Combs is charged with a three-count indictment. The first count charges Mr. Combs
                     with a Racketeering Conspiracy in violation of 18 U.S.C. § l 962(d) ("Count One"). Count One
                     alleges that Mr. Combs "relied on the employees, resources, and influence of the multi-faceted
                     business empire that he led and controlled - creating a criminal enterprise whose members and
                     associates engaged in, and attempted to engage in, among other crimes, sex trafficking, forced
                     labor, kidnapping, arson, bribery, and obstruction of justice," and that the conspiracy lasted
                     "[t`]rom at least in or about 2008, through on or about the tiling of this Indictment," Indictment
                     1111 l, 13. As alleged, the "pattern of racketeering" consisted of? (a) "multiple acts involving
                     kidnapping" in violation of California law, (b) "multiple acts of arson" in violation of California
                     law, (c) "multiple acts involving bribery" in violation of California law; (d) "multiple acts
                     indictable under" 18 U.S.C. § 15 l2, "relating to tampering with a witness, victim, or an informant",
                     (e) "multiple acts indictable under "I8 U.S.C. §§ 1589 and 2, "relating to forced labor", (0
                     "multiple acts indictable under" 18 U.S.C. §§ 1591 and 2, "relating to sex trafficking"), (g)
                     "multiple acts indictable under" 18 U.S.C. §§ 2421, 2422, and 2, "relating to transportation and
                     inducement to travel for purposes of prostihition and other illegal sexual activities", and (0
                     "multiple offenses involving the possession with intent to distribute, or distribution of narcotics
                     and     controlled     substances,    including     cocaine,     oxycodone,     alprazolam,    3,4-
                     Methylenedioxyinethamphetamine,          4-Brono-2,       5-dimethoxyphenethylamine,         gamma
                     hydroxybutyric acid, and ketamine," in violation offal U.S.C. §§ 84I(a)(l), (b)(I)(C), (b)(I)(E),
                     (b)(2), and 846, "distribution and possession with intent to distribute and conspiracy to commit the
                     same" and 18 U.S.C. § 2, "aiding, abetting, and willfully causing." Indictment 11 13. Count One
                     also includes a "Notice of Special Sentencing Factor" in connection with Mr. Combs' alleged
                     agreement that "means of force, threats of force, fraud, and coercion ... would be used to cause
                     the person to engage in a commercial sex act."       at 1] 15.

                             The second count charges Mr. Combs with Sex Trafficking by Force in violation of 18
                     U.S.C. §§ l59l(a)(l), (b)(l), l954(a), and 2 ("Count Two"). Count Two alleges that, "[from at
                     least in or about 2009, up to an including in or about 2018," Mr. Combs "recruited, enticed,
                     harbored, transported, and maintained a person ('Victixn- l '), and attempted, aided and abetted, and
                     willfully caused Victim- l , to engage in commercial sex acts, knowing and in reckless disregard of
                     the fact that Victim-I was engaging in commercial sex acts as a result of force, fraud, and
                     coercion." Indictment al 16.



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                             The third count charges Mr. Combs with Transportation to Engage in Prostitution in
                     violation of 18 U.S.C. §§ 242l(a) and 2 ("Count Three"). Count Three alleges that "[f]rom in or
                     about 2009, up to an including in or about 2024," Mr. Combs "transported, aided and abetted, and
                     willfixlly caused the transportation of female victims and commercial sex workers in interstate and
                     foreign commerce on multiple occasions with the intent that they engage in prostitution."
                     Indictment 11 17.

                            The Indictment also includes forfeiture allegations pursuant to 18 U.S.C. §§ 1962, 1594,
                     2428, and 98I(*1)(I)(C), and 28 U.S.C. § 2461. Indictment 1111 18 20.

                         2. De feng13nt's History and Characteristics

                             Mr. Combs' history and characteristics are best demonstrated by the way he has responded
                     to this investigation from the very inception to his most recent decision to travel to New York
                     when his lawyers told him that the case could soon be starting. He has never mn from a challenge,
                     and he will not mn from this one. Instead, he takes these challenges head on, he moves toward
                     them confidently and with the assurance that right is on his side. These are not merely the words
                     of his lawyer. Rather, the actions of Mr. Combs over the last several months conclusively prove
                     this.

                             Aside from his actions since the inception of the investigation, Mr. Combs' character is
                     shown through his demonstrated contributions to society in several important areas. First, he has
                     given generously over his entire life to charitable causes. To name only a few examples, since
                     founding Bad Boy Entertainment in 1993, Mr. Combs has actively supported and donated millions
                     to after school programs and organizations like the Boys & Girls Clubs of America. His
                     commitment stems from the positive influence such programs had on his own childhood, inspiring
                     him to give back to similar initiatives. He has also supported organizations including the National
                     Foundation for Teaching Entrepreneurship ("NFTE"), further emphasizing his dedication to
                     creating opportunities for young entrepreneurs.

                             A cornerstone of his philanthropy is education, and he fulfilled a lifelong dream when he,
                     with a partner, opened Capital Preparatory Harlem Capital Charter School in 2016, to provide
                     high-quality education to inner-city youth in New York City. The success of' this initiative led Io
                     the launch of Capital Preparatory Bronx Charter School in 2020, with Combs donating $1 million
                     to support its development. These schools are part of his broader commitment to education, which
                     includes significant contributions to Historically Black Colleges & Universities, such as $2 million
                     to Howard University and $l million to Jackson State University in 2023.

                             Mr. Combs has also been proactive in health and disaster relief efforts-having raised over
                     $2 million for New York City public schools and hosting a virtual dance-a-thon that raised more
                     than $4 million to provide personal protective equipment to healthcare workers on the front line
                     of the COVID-19 pandemic. Particularly important in an election year is Mr. Combs' contribution
                     to mobilizing young voters with the "Vote or Die" slogan through Citizen Change, which he
                     founded to significantly increase political awareness and youth voter turnout.


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                            Second, few people have done more to advance the cause of black people in the music,
                     entertainment and fashion industries than has Sean Combs. While he has always been
                     controversial, he has also always championed minorities and underrepresented communities, As
                     Chairman of Combs Global, Mr. Combs has used his platform to create "The Excellence Program,"
                     an internship initiative with Endeavor in July 2021, a major initiative designed to provide
                     development opportunities for aspiring executives in entertainment, marketing, music, and fashion
                     from underrepresented communities. Mr. Combs' philanthropic work has earned him numerous
                     accolades throughout his career, including the Triumph Award from the National Action Network
                     in 2016, the Superhero Award from Room to Read in 2017, the Child of America Award from the
                     Carver Foundation in 2018 and in 2023 the Icon Award from the Apollo.

                             Through his multifaceted career, Mr. Combs has not only created thousands of jobs,
                     including valuable internships for young professionals, but has also supported minority and
                     women-owned businesses, leveraging them as key suppliers and vendors for his enterprises.

                            Counsel will be prepared to address the factors of dangerousness to the community and
                     weight of the evidence in Court at the 2:30 pin initial appearance.

                             The Proposed Bail Packs e Addresses Anv Issues with Flight and Danger to
                                                         the Community

                             In light of the proposed conditions, the actions Mr. Combs had already taken regarding the
                     investigation, and Mr. Combs' lifetime commitment to live up to his obligations concerning every
                     challenge he has ever faced, he should be released to fight this case in court and prove his
                     innocence

                            Sean Combs has never evaded, avoided, eluded or run from a challenge in his life. He will
                     not start now. As he has handled every hardship, he will meet this case head-on, he will work hard
                     to defend himself, and he will prevail.

                            Recognizing that a bail hearing is not the time to defend the merits of a criminal case, it is
                     relevant to bail that the defendant has made a clear commitment to defend an eminently defensible
                     case. This is such a case.

                            Finally, several courts in this District have recognized that the conditions at Metropolitan
                     Detention Center in Brooklyn are not tit for pre-trial detention. Just earlier this summer, an inmate




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                     was murdered." At least four inmates have died by suicide there in the past three years* Numerous
                     Courts in this district have raised concerns with the horrific conditions of detention there.
                     United States v. Chavez, No. 22 Cr. 303 (JMF) (S.D.N.Y. Jan. 4, 2024), Dkt. 31 (describing the
                     conditions at MDC as "dreadful" and "longstanding" and noting that the issues with food
                     contamination and hazardous physical conditions were an "ongoing tragedy"), United States v.
                     Morgan, No. 19 Cr. 209 (RMB) (S.D.N.Y. May 5, 2020), Dkt. 90, Tr. 12-15 (describing the MDC
                     as "dirty," "infested with drugs," and plagued by violence), see also United States v. Boyd,No. 2 l
                     Cr. 486 (SHS) (S.D.N.Y. Feb. 3, 2022), Dkt. 74 (describing overcrowding, staffing issues, and
                     lockdowns at the MDC), United States v. Days, No. 19 Cr. 619 (CM) (S.D.N.Y. Apr. 29, 202l),
                     Dkt. 35, Tr. 19 (describing MDC conditions as "disgusting [and] inhuman as anything l've heard
                     about any Colombian prison, but more so because we're supposed to be better than that").

                             Courts in the Eastern District of New York have shared the same concerns. See United
                     States v. Forbes, No. 22 Cr. 97 (RK) (E.D.N.Y.) (the court noted it was worried about MDC's
                     conditions as one of the reasons for sentencing the defendant to a non-custodial sentence), United
                     States v. Colucci, 23 Cr. 417 (GRB) (E.D.N.Y. Aug 5, 2024) (sentencing a defendant to nine
                     months in prison, but ordering that if BOP designated the defendant to the MDC, the Court would
                     vacate the sentence and resentence to home incarceration.)

                                                                Conclusion

                            For the reasons set forth above, we move this Court to release Combs under the conditions
                     set forth above. Thank you for your consideration.

                                                          RespectfUlly submitted,




                                                              Marc Agnifilol
                                                             Teny R. Geragos

                     cc     Counsel for the Government (via ECF)




                     7 See John Annese, Inmate at Brooklyn's Troubled _Met_rgpolQgn_Qetentiop Center Is Stabbed To
                     Death,      NY        Daily      News         (Jun.     20,     2024)       available       at
                     https://www.nydailynews.com/2024/06/20/inmate-at-brooklyns-troubled-metropolitan-detention-
                     center-is-stabbed-to-death-sourcesl
                     8     Fola Akinnibi & Marie-Rose Sheinennan, Beleaguered Brooklyn Jail Blasted by Candidates
                     in Crowded N.Y. Congressional Race, Bloomberg (Aug. 16, 2022), available as
                     https://www.bloomberg.co1n/news/articles/2022-08- l 6/ny- l0-democratic-candidates-call-on-
                     feds-to-fix-brooklyn-jail.

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                                                          September 18, 2024

                  VIA ECF
                  The Honorable Andrew L. Carter
                  United States District Judge
                  Southern District of New York
                  40 Foley Square
                  New York, NY 10007

                         Re:     United States v. Sean Combs, 24 Cr. 542 (ALC)

                  Dear Judge Carter:

                         Mr. Sean Combs, through his counsel, submits this letter in lieu of a formal motion for Mr.
                  Combs' release from custody on the proposed bail package below. As set forth below, the
                  defendant's updated bail package (updated even from yesterday's filing (ECF 8))1 addresses both
                  risk of flight and danger to the community, and reasonably ensures the defendant's return to Court.

                          This letter will walk the Court through a series of actions taken by Mr. Combs over the
                  past six months that we view as unprecedented and that prove that he is not a risk of flight or a
                  danger to anyone in the community. These actions show that Mr. Combs is eminently trustworthy,
                  that he is demonstrably committed to showing his innocence in Court in the context of this case,
                  and that he should be released, on the conditions proposed, in order to do so.

                                Mr. Combs Ilew to New York on Sq lnber 5, 2024 to Surrender

                           The first thing the Court should know is that when it became apparent to his counsel that
                  Mr. Combs would at some point soon be formally charged, he did something extraordinary: He
                  left his home in Miami and travelled to New York to surrender. We told the prosecutors he was in
                  New York to surrender. We asked them for a time for the surrender. They never got back to us.
                  The Government withheld this information solely so they could arrest Mr. Combs and not allow
                  him to surrender, which he flew to New York to do. Instead, the Government effected an arrest
                  two nights ago solely so it could argue for detention. Nonetheless, that Mr. Combs travelled to
                  New York to self-surrender is a major factor that the Court should consider.

                         However, surrendering himself to the prosecutors was not the first action Mr. Combs took
                  to show his trustworthiness and lack of flight risk. Indeed, it is part of a pattern since even before
                  the March 25, 2024, searches on Mr. Combs' residences. Mr. Combs and his counsel have been
                  fully aware that the United States Attorney for the Southern District of New York has been
                  conducting an investigation involving allegations concerning Racketeering and Sex Trafficking,

                  1We are mindful that we are giving the court a substantial letter on the same day as the hearing
                  and have endeavored to do so as early in the day as possible. We thank the Court for its
                  willingness to hear our application on short notice.

                  445 PARK AVE, 7TH FLOOR I NEW YORK, NY 10022 I WWW.AGILAWGROUP.COM
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                  and other offenses. Knowing for these many months that he would be indicted, Mr. Combs has
                  done everything (as will be set out below) to work with the prosecutors in ways that are unusual,
                  if not unprecedented.

                            The law is clear that a district court reviews novo a magistrate judge's decision to release
                  or detain a defendant pending trial. See United States V. Esposito, 309 F. Supp. 3d 24, 30 (S.D.N.Y.
                  2018) (Marrero, J.) (citing United States V. Leon, 766 F.2d 77, 80 (Zd Cir. 1985)). We respectfully
                  submit that Mr. Combs can rebut the presumption of detention here due to his extraordinary actions
                  in this investigation. Mr. Combs should be released on the conditions proposed so that he can fight
                  this case in Court effectively.

                                                        The Proposed Package

                          The defense proposes the following bail package, not all of which were proposed as part
                  of our package to the Magistrate Judge. These proposed conditions will assuage any fears of danger
                  to the community and will ensure his return to court:

                         a. A $50,000,000 bond,

                         b. Co-signed by Sean Combs, his mother, his sister, the mother of his oldest daughter,
                            the mother of his youngest daughter, and his three adult sons,2

                         c.   Secured by the equity in Mr. Combs' residence located at 2 West Star Island in
                              Miami, Florida:
                                 a. The appraised value of the home is about $48,000,000.3
                                 b. The home is unencumbered. In anticipation of this bail hearing, on August 20,
                                     2024, Mr. Combs paid off the remaining mortgage of about $18,000,000 so that
                                     the home could be used to secure a bond and be free of a mortgage.4

                         d. Secured by the equity of Mr. Combs' mother's home in Miami, Florida,

                         e. Mr. Combs' travel will be restricted to the Southern District of Florida and the Southern
                              District of New York (to attend Court, meet with his counsel, and attend medical
                              appointments as well as the Eastern District of new York or the District of New Jersey
                              (only to the extent that his travel to and from New York involves an airport in those
                              Districts);




                  2 The mother of four of his children is deceased. His three adult sons and his sister will be
                  present at today's hearing.
                  3 The written appraisal is attached as Exhibit l.
                  4 The satisfaction of the mortgage is attached as Exhibit 2.

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                         f. Mr. Combs' passport was surrendered to his counsel on April l, 2024, his counsel
                            advised the prosecutors of this fact in an email dated the same day,5 counsel will
                            provide this passport to Pretrial Services,

                         g. The passports of the following family members, who have already surrendered their
                             passports to counsel after the raids on Mr. Combs' homes:
                                a. Janice Combs,
                                b. Chance Combs,
                                c. Jessie Combs,
                                d. D'Lila Combs, and
                                e. Love Combs.

                         h. Since at least April 2024, Mr. Combs has been making efforts to sell his airplane. We
                             informed the Government of these efforts in May 2024, as explained further below.
                             Just last weekend, Mr. Combs entered into a Letter of Intent with a party to sell it.
                             Mr. Combs understands he is not to travel to Los Angeles, where the plane had been
                             located this week, and further that the plane is not to be brought to any District in which
                             he is located until it is sold,6

                         i. Home detention with GPS monitoring, and

                         j. Restrict all visitors to Mr. Combs' residences at 2 West Star Island and l West Star
                            Island (the adjoining property that Mr. Combs owns) except for family, property
                            caretakers, and friends who are not considered to be co-conspirators,

                         k. Restrict female visitors to Mr. Combs' residence except for family, or mothers of his
                             children,

                         1. The security company that secures Mr. Combs' person and properties will require any
                            person who enters the property to sign a visitor log, and then the company will produce
                            those logs to Pretrial Services nightly,7

                         m. No contact with known grand jury witnesses,

                         n. Weekly drug testing by Pretrial Services,

                         O. All other standard conditions of pretrial supervision.


                  5 The letter to the prosecutors is attached as Exhibit 3.
                  6 As of yesterday, the plane flew to Teterboro, NJ, for a charter flight.
                  7 If the Government and the Court prefer that Mr. Combs employ a different security company
                  than the one he has used for the past decade or so, we request a week to engage a new security
                  company to comply with this condition.

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                         This combination of conditions will reasonably assure Mr. Combs' appearance in Court
                  and protect the Government's and the Magistrate Judge's stated concerns with respect to the safety
                  of the community. Taken in combination, these conditions present a very substantial,
                  comprehensive bail package for any defendant, much less one who flew to New York to surrender,
                  as this defendant has.

                          The History of This Investigation Shows a Great Degree of Collaboration
                         Between the Government, Mr. Combs and His Counsel Which Should Weigh
                              Heavily in This Court Releasing Him on the Conditions Proposed

                          On March 13, 2024, counsel for Mr. Combs emailed the assigned Assistant United States
                  Attorneys. In this introductory email, counsel identified himself as counsel for Mr. Combs and
                  stated that he wished to speak with the prosecutors and share information about Mr. Combs and
                  the matters under investigation. See Ex. 4. After not hearing back from the AUSAs, counsel again
                  emailed the prosecutors on March 18, 2024. Counsel did not get a response to this second email
                  either.

                           On March 25, 2024, search warrants were executed at Mr. Combs' places of residence in
                  Miami and Los Angeles. In addition, he was removed from his airplane and searched. The searches
                  of the residences were unusually public and particularly heavy-handed. The agents had assault
                  rifles trained on the heads and the chests of his children, who were then handcuffed and brought
                  before news cameras and a press helicopter. On the day of the searches, counsel called the
                  prosecutors, and they spoke for the first time. Counsel indicated that he would accept service of
                  two grand jury subpoenas to Mr. Combs' businesses.

                         1. Counsel Took Possession of Mr. Combs' Passport on April 1, 2024

                         About a week following the searches, on April l, 2024, counsel took possession of
                  Mr. Combs' passport. As noted, on this same day, counsel advised the AUSAs of the fact that
                  counsel had Mr. Combs' passport, that we would not return it to him, and that he would not leave
                  the country during the pendency of the investigation. See Ex. l. We have, in fact, maintained the
                  passports, and Mr. Combs has not, in fact, left the country - despite knowing the investigation was
                  ongoing, despite having a plane at his disposal, despite not being charged with any crime.

                         2. Counsel Agreed to Advise the Government of All Domestic Travel

                         Moreover, counsel advised the Government that if Mr. Combs intended to travel
                  domestically, counsel would so inform the AUSAs. See Ex. l. These two promises have also been
                  kept. For example, on June 9, 2024, counsel advised the AUSAs that Mr. Combs was traveling
                  from Miami to Los Angeles to go on a road trip with his children. See Ex. 5. In addition, we
                  provided the AUSAs with information about when his flight departed and it would land.         On
                  June 29, 2024, counsel emailed the prosecutors that Mr. Combs was flying to Wyoming via a
                  chartered aircraft. See Ex. 6 at 3. On July 5, 2024, counsel emailed the prosecutors that he was
                  traveling back to Los Angeles. 4 Two days later, on July 7, 2024, when he travelled back to


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                  Miami via a chartered aircraft, we again emailed the AUSAs. 4 at 2. In addition, when Mr. Combs
                  planned travel but not take those trips, we notified the prosecutors of that as well. See at l.

                         3. Counsel Advised the Government of Mr. Combs' Efforts to Sell His Airplane

                         On May 21, 2024, counsel advised the AUSAs during a phone call that Mr. Combs had
                  commenced efforts to sell his airplane. We followed up on that conversation the next day, on May
                  22, 2024, with a letter to the AUSAs that efforts were underway to sell the aircraft and reminding
                  the AUSAs that counsel continued to be in possession of his passport. See Ex. 7.

                           Over the past several months, there have been several potential buyers for the airplane and
                  at least two buyers have signed a Letter of Intent to purchase the aircraft. Just this weekend, a
                  buyer for the aircraft and representatives for Mr. Combs executed a Letter of Intent. Due to the
                  nature of this asset, and the amount of inspection and due diligence that is required for a purchase,
                  it is not a simple asset to offload.

                           In advance of the plane being sold - which it eventually will be - we have agreed to keep
                  the airplane in Los Angeles while Mr. Combs resides in his home in Florida, if it is not being
                  chartered. Coincidentally, and t at Mr. Combs' request, yesterday the airplane was chartered on
                  a Part 135 flight8 from Los Angeles to Teterboro, NJ. Mr. Combs had no advance knowledge of
                  the flight, nor did he possess any control over its movement last night. Obviously, Mr. Combs
                  agrees to not go to any state - in this case, New Jersey - in which his airplane is located pending
                  its sale, which is actively being pursued.

                         4. Mr. Combs Voluntarily Relocated to New York in Advance of His Arrest

                          Once it became apparent to counsel that Mr. Combs' arrest was imminent, he promptly
                  relocated to New York City. On September 5, 2024, Mr. Combs arrived in New York, and counsel
                  immediately informed the Government of Mr. Combs' whereabouts. Counsel offered to
                  continually share Mr. Combs' location with the Government. Since arriving in New York on
                  September 6, Mr. Combs has been staying at the Park Hyatt New York. Due to bookings made at
                  the Park Hyatt prior to Mr. Combs' reservation, after September 17, 2024, he would no longer be
                  able to stay at the Park Hyatt. Accordingly, Mr. Combs had a reservation to stay at the Carlyle
                  Hotel starting yesterday. Mr. Combs and counsel have also been looking for a short term rental for
                  Mr. Combs in New York City so that he could reside here until the Government made the
                  determination as to whether they would charge him.




                  8 Pursuant to the Code of Federal Regulations Part 135 ("Part 135"), a private jet may be available
                  to the general public for use. Part 135 pertains to Mr. Combs' airplane, and, therefore, can be
                  chartered by the general public.

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                          5. Counsel Advised the Government That It Was in Possession of the Passports of
                             Members of Mr. Combs' Family

                          On June 13, 2024, counsel informed the Government that we possessed Mr. Combs'
                  mother's passport. See Ex. 8. We also informed the Government that we possessed the passports
                  of his four daughters (all of whom were minors at the time we took possession of the passports).
                  We will have all passports with us in court at today's hearing.

                          6. Counsel's Assistance to the Government Concerning the Subpoenas

                         As stated above, counsel accepted service of two subpoenas directed at several of Combs'
                  businesses in March of 2024. Separate counsel for the entities filed a motion to quash those
                  subpoenas in April of 2024. In May of 2024, upon becoming sole counsel in connection with the
                  criminal investigation of Mr. Combs, we advised the Court that it would withdraw the motion to
                  quash the Grand Jury subpoenas and instead that the parties would meet and confer with the
                  Government to minimize the number of requests on which the parties disagreed. Counsel agreed
                  to begin gathering documents responsive to the subpoena.

                         For the past several months, counsel for Mr. Combs and the AUSAs have had regular
                  discussions about what documents we had, what we did not have and, in regard to the documents
                  we did not have, where the Government may be able to find such documents. We did this for two
                  reasons. First, there was nothing, in counsel's estimation, that would constitute evidence of
                  Mr. Combs being involved in any federal crime. Second, we wanted to be appropriately helpful to
                  the Government in its investigation. To that end, the Combs entities have produced over 144,000
                  pages of documents to the SDNY in compliance with the subpoena.

                          6.      Paying Off the Mortgage at 2 West Star Island in Miami

                         As noted in the discussion about the bail package, on August 20, 2024, Mr. Combs caused
                  the outstanding mortgage to be paid on his primary residence in Miami. This payment of about
                  $18,000,000 was for one reason alone: so that he would have this $48,000,000 residence free and
                  clear of any encumbrances so that it can be used to secure a bond. We submit this is a truly
                  extraordinary measure that shows resoundingly that Mr. Combs is appropriately focused on
                  defending this case on the merits in this Court.

                                                             Legal Standard

                          Because Mr. Combs is presumed to be innocent, the Supreme Court has observed that
                  "liberty is the norm, and detention prior to trial or without trial is the carefully limited exception."
                  United States v. Salerno, 481 U.S. 739, 755 (1987). As the Supreme Court recognizes, "the
                  function of bail is limited." Stack v. Boyle, 342 U.S. l, 4 (1954). The underling goal is securing
                  the presence of the defendant rather than "the sum of bail." United States v. Nebbia, 357 F.2d 303 ,
                  304 (2d Cir. 1966). When deciding an issue of pretrial release, the Second Circuit has noted that
                  "the court should bear in mind that it is only a limited group of offenders who should be denied


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                  bail pending trial." United States V. Shakur, 817 F.2d 189, 195 (2d Cir. 1987). Indeed, the Bail
                  Reform Act requires that the Court impose "the least restrictive ... condition, or combination of
                  conditions, that will ... reasonably assure the appearance of the person as required and the safety
                  of the community." 18 U.S.C. § 3142(0)(1)(B)~

                         While there is a presumption of detention in sex trafficking cases, this presumption is
                  rebuttable. The presumption imposes on the defendant a "burden of production," while the
                  "burden of persuasion" remains with the Government. United States V. Mercedes, 254 F.3d 433,
                  436 (2d Cir. 2001). Although this burden "is not heavy," the defendant must introduce some
                  evidence contrary to the presumed fact. United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir. 1991).
                  A defendant can satisfy this burden by coming forward "with evidence that he does not pose a
                  danger to the community or a risk of flight." Mercedes, 254 F.3d at 436. Even if the defendant
                  presents some evidence satisfying his or her burden, "the presumption favoring detention does not
                  disappear entirely, but remains a factor to be considered among those weighed by the district
                  court." LL In Jessup, the benchmark case defining this burden shift, the court explained:

                         Since the presumption is but one factor among many, its continued consideration
                         by the magistrate does not impose a burden of persuasion upon the defendant. And,
                         since Congress seeks only consideration of the general drug offender/flight
                         problem, the magistrate or judge may still conclude that what is true in general is
                         not true in the particular case before him. He is free to do so, and to release the
                         defendant, as long as the defendant has presented some evidence and the
                         magistrate or some judge has evaluated all of the evidence with Congress's view of
                         the general problem in mind.

                  United States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).

                                                       Section 3142(2) Factors

                          Acknowledging that sex trafficking has a rebuttable presumption of detention, Mr. Combs
                  can rebut such a presumption with evidence that he does not pose a danger to the community and
                  is not a risk of flight. (18 U.S.C. § 3l42(c)(l)(B).) An analysis of the Section 3l42(g) factors
                  weigh in favor of releasing Mr. Combs on these conditions.

                         1. The Nature and Circumstances of the Offense

                         Mr. Combs is charged with a three-count indictment. The first count charges Mr. Combs
                  with a Racketeering Conspiracy in violation of 18 U.S.C. § l962(d) ("Count One"). Count One
                  alleges that Mr. Combs "relied on the employees, resources, and influence of the multi-faceted
                  business empire that he led and controlled-creating a criminal enterprise whose members and
                  associates engaged in, and attempted to engage in, among other crimes, sex trafficking, forced
                  labor, kidnapping, arson, bribery, and obstruction of justice," and that the conspiracy lasted
                  "[f]rom at least in or about 2008, through on or about the filing of this Indictment." Indictment
                  W l, 13. As alleged, the "pattern of racketeering" consisted of: (a) "multiple acts involving


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                  kidnapping" in violation of California law, (b) "multiple acts of arson" in violation of California
                  law, (c) "multiple acts involving bribery" in violation of California law, (d) "multiple acts
                  indictable under" 18 U.S.C. § 1512, "relating to tampering with a witness, victim, or an informant",
                  (e) "multiple acts indictable under "18 U.S.C. §§ 1589 and 2, "relating to forced labor", (f)
                  "multiple acts indictable under" 18 U.S.C. §§ 1591 and 2, "relating to sex trafficking"), (g)
                  "multiple acts indictable under" 18 U.S.C. §§ 2421, 2422, and 2, "relating to transportation and
                  inducement to travel for purposes of prostitution and other illegal sexual activities", and (f)
                  "multiple offenses involving the possession with intent to distribute, or distribution of narcotics
                  and     controlled     substances,    including cocaine,         oxycodone,      alprazolam,   3,4-
                  Methylenedioxymethamphetamine,           4-Brono-2,       5-dimethoxyphenethylamine,         gamma
                  hydroxybutyric acid, and ketamine," in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(c), (b)(1)(E),
                  (b)(2), and 846, "distribution and possession with intent to distribute and conspiracy to commit the
                  same" and 18 U.S.C. § 2, "aiding, abetting, and willfully causing." Indictment 11 13. Count One
                  also includes a "Notice of Special Sentencing Factor" in connection with Mr. Combs' alleged
                  agreement that "means of force, threats of force, fraud, and coercion ... would be used to cause
                  the person to engage in a commercial sex act." at al 15.

                          The second count charges Mr. Combs with Sex Trafficking by Force in violation of 18
                  U.S.C. §§ l59l(a)(l), (b)(l), l954(a), and 2 ("Count Two"). Count Two alleges that, "[f]rom at
                  least in or about 2009, up to an including in or about 2018," Mr. Combs "recruited, enticed,
                  harbored, transported, and maintained a person ('Victim-l '), and attempted, aided and abetted, and
                  willfully caused Victim-l, to engage in commercial sex acts, knowing and in reckless disregard of
                  the fact that Victim-l was engaging in commercial sex acts as a result of force, fraud, and
                  coercion." Indictment 1116.

                          The third count charges Mr. Combs with Transportation to Engage in Prostitution in
                  violation of 18 U.S.C. §§ 242l(a) and 2 ("Count Three"). Count Three alleges that "[f]rom in or
                  about 2009, up to an including in or about 2024," Mr. Combs "transported, aided and abetted, and
                  willfully caused the transportation of female victims and commercial sex workers in interstate and
                  foreign commerce on multiple occasions with the intent that they engage in prostitution."
                  Indictment 1117.

                         2. Defendant's History and Characteristics

                          Mr. Combs' history and characteristics are best demonstrated by the way he has responded
                  to this investigation from the very inception to his most recent decision to travel to New York
                  when his lawyers told him that the case could soon be starting. He has never run from a challenge,
                  and he will not run from this one. Instead, he takes these challenges head on, he moves toward
                  them confidently and with the assurance that right is on his side. These are not merely the words
                  of his lawyer. Rather, the actions of Mr. Combs over the last several months conclusively prove
                  this.

                        Aside from his actions since the inception of the investigation, Mr. Combs' character is
                  shown through his demonstrated contributions to society in several important areas. First, he has


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                  given generously over his entire life to charitable causes. To name only a few examples, since
                  founding Bad Boy Entertainment in 1993, Mr. Combs has actively supported and donated millions
                  to after school programs and organizations like the Boys & Girls Clubs of America. His
                  commitment stems from the positive influence such programs had on his own childhood, inspiring
                  him to give back to similar initiatives. He has also supported organizations including the National
                  Foundation for Teaching Entrepreneurship ("NFTE"), further emphasizing his dedication to
                  creating opportunities for young entrepreneurs.

                          A cornerstone of his philanthropy is education, and he fulfilled a lifelong dream when he,
                  with a partner, opened Capital Preparatory Harlem Capital Charter School in 2016, to provide
                  high-quality education to inner-city youth in New York City. The success of this initiative led to
                  the launch of Capital Preparatory Bronx Charter School in 2020, with Combs donating $1 million
                  to support its development. These schools are part of his broader commitment to education, which
                  includes significant contributions to Historically Black Colleges & Universities, such as $2 million
                  to Howard University and $1 million to Jackson State University in 2023.

                          Mr. Combs has also been proactive in health and disaster relief efforts-having raised over
                  $2 million for New York City public schools and hosting a virtual dance-a-thon that raised more
                  than $4 million to provide personal protective equipment to healthcare workers on the front line
                  of the COVID-19 pandemic. Particularly important in an election year is Mr. Combs' contribution
                  to mobilizing young voters with the "Vote or Die" slogan through Citizen Change, which he
                  founded to significantly increase political awareness and youth voter turnout.

                         Second, few people have done more to advance the cause of black people in the music,
                  entertainment and fashion industries than has Sean Combs. While he has always been
                  controversial, he has also always championed minorities and underrepresented communities. As
                  Chairman of Combs Global, Mr. Combs has used his platform to create "The Excellence Program,"
                  an internship initiative with Endeavor in July 2021, a major initiative designed to provide
                  development opportunities for aspiring executives in entertainment, marketing, music, and fashion
                  from underrepresented communities. Mr. Combs' philanthropic work has earned him numerous
                  accolades throughout his career, including the Triumph Award from the National Action Network
                  in 2016, the Superhero Award from Room to Read in 2017, the Child of America Award from the
                  Carver Foundation in 2018 and in 2023 the Icon Award from the Apollo.

                         Through his multifaceted career, Mr. Combs has not only created thousands of jobs,
                  including valuable internships for young professionals, but has also supported minority and
                  women-owned businesses, leveraging them as key suppliers and vendors for his enterprises.

                         3. Danger to the Community

                          The Government has argued that Mr. Combs is a danger to the community and that "what
                  makes this defendant even more dangerous is his extensive and exhaustive history of obstruction
                  of justice." (See Ex. 9: 9/17/24 Tr. at 12.) They laid out several allegations that do not in fact
                  amount to obstruction at all. The truth is that Mr. Combs has done nothing to obstruct this


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                  investigation, and the Government does not persuasively argue otherwise. Moreover, while over
                  the past six months the defense has been conducting a defense investigation every bit as rigorous
                  as that being conducted by the Government, we have studiously avoided interviewing grand jury
                  witnesses (even though we have the right to interview anyone) and have done everything in our
                  power to be both effective and mindful of the fact that the Government has been conducting an
                  investigation parallel to our own.

                                 a. March 5, 2016

                          The Government proffered "one example" for the Court of Mr. Combs' "exhaustive history
                  of obstruction of justice." (See Ex. 9, 9/17/24 Tr. at 12.) This "obstruction" related to an incident
                  caught on video eight years ago and attached to the Government's letter as Exhibit A. However,
                  the circumstances surrounding this incident, even in the light most favorable to the Government,
                  does not amount to obstruction. Obstruction of justice requires that a person act corruptly and in
                  regard to an official proceeding. Even under the facts proffered by the Government, there was no
                  official proceeding in fact or in the contemplation of Mr. Combs or anyone else. This event from
                  8 years ago simply is not obstruction of justice under Title 18, U.S.C., Sec. 1512.

                          Second, the Government argued that when the female depicted in the video filed a 35-page
                  civil lawsuit in November 2023 against Mr. Combs, and Mr. Combs publicly responded by saying
                  "I did not do any of the awful things alleged," that these denials were "further attempts by him to
                  obstruct justice and prevent the truth of this event from being known." (4 at 14.) To be clear,
                  preventing the truth of an embarrassing event in which Mr. Combs is caught on videotape in an
                  alleged assault is not obstruction of justice.

                         The gravamen of the civil lawsuit was not misdemeanor assault, which is, at most, what is
                  depicted in the recording, but sex trafficking. He denied it then. He denies it now. He will deny it
                  forever.

                                 b. Contacting "Potential Victims and Witnesses"

                           The Government argues that Mr. Combs himself has contacted witnesses, including one
                  who received a grand jury subpoena, and at least one victim. (4 at 16-17.) Again, this is not
                  obstruction of justice, and the Government does not point to any obstructive conduct. Mr. Combs
                  is entitled to gather witnesses to defend himself against the Government's allegations of sex
                  trafficking and racketeering. As part of that defense, he, with counsel's blessing, has called
                  potential defense witnesses to let them know that counsel would reach out to speak with them.
                  Tellingly, the Government does not point to-nor can they-any conversation Mr. Combs has had
                  with a potential witness since he had knowledge of the criminal investigation where he pressured
                  any witness to change their story.

                         Instead, the Government points to Mr. Combs' contact with a female member of a band
                  called Diddy - Dirty Money after the filing of a lawsuit against Mr. Combs by another female



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                  member of that band. (4 at 17.) As counsel stated at yesterday's bail hearing, "this is the furthest
                  thing from witness obstruction I can think of":

                         And so someone with the exact point of view of the civil plaintiff comes forward
                         and says, in essence -- and this is -- I thought it was a soft, respectful statement.
                         And the statement was, I am not taking away her experience. That wasn't mine.
                         That wasn't my experience. She is entitled to her experience. I was there. That's not
                         what I saw. That's not what I saw. That's two witnesses having divergent
                         recollections of similar events. And I expect this trial is going to feature exactly
                         that. So there is nothing wrong with that. That's why we have criminal trials and
                         civil trials.

                  (4 at 41.)

                                 c. The Proposed Package Will Address the Government's Stated Concerns for
                                    Witnesses

                          The Government has further argued that "detailed evidence of [] Freak Offs in the form of
                  travel records, communications, hotel records, witnesses, and videos." (4 at 15.) To be clear, the
                  defendant's companies, through this very counsel, has produced many of these travel records to
                  the Government. To punish the defendant for complying with process (specifically producing
                  travel records) because such travel records have corroborated witnesses stories, is mind boggling.

                          The Government further argues that their "investigation has yielded evidence of numerous
                  assaults against female victims and other individuals." (4 at 14.) The proposed package will
                  address the Government's concern here as Mr. Combs will agree to not have any female non-
                  family visitors to his house, and his security company will keep a record of all incoming and
                  outgoing visitors.

                                 d. To the Extent the Court Is Concerned With Obstruction and Danger, the
                                    Proposed Conditions Address These Concerns Completely

                           Before addressing the proposed conditions that relate to danger and obstruction, it is critical
                  to note that every allegation in the Indictment and every argument in the Government's detention
                  letter is being factually contested in detail. We are not merely making general denials of guilt.
                  Rather, we are advancing detailed, specific facts that undermine the Government's theory at its
                  core. We will provide examples of this.

                         First, there is one alleged sex trafficking victim in the Indictment. One. The Government
                  can say what it wants, but what is actually charged is one victim. Count Two, charging sex
                  trafficking mentions Victim l. There is no Victim 2. That one person was in a ten-year romantic
                  relationship with Sean Combs. That one person was an adult woman who lived alone, who never
                  lived with Sean Combs. She had her own friends, she had her own life, as adults tend to do. Mr.
                  Combs and this person were very much in love for a long time, as the many written

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                  communications between them show. This one person often expressed anger and jealousy because
                  Mr. Combs had another girlfriend, as will be testified to by many witnesses and as the written
                  communications show. At the end of Mr. Combs and this person's relationship, she started a
                  relationship with her trainer, which prompted Mr. Combs and the woman to break up. He did not
                  force her stay, but instead, released her from any obligation to his record label. A month later,
                  when the mother of four of Mr. Combs' children passed away, this person was present at multiple
                  memorial services around the country to support him. This is not sex trafficking.

                          Five years later, this woman hired a lawyer to contact Mr. Combs' lawyer. Mr. Combs'
                  lawyer recorded the conversation., which lasted 8 minutes and 12 seconds. The woman's lawyer
                  said the woman wrote a book, it would be a "tell-all" book that would be embarrassing to Mr.
                  Combs. Her lawyer said that she would be meeting with book publishers to publish the book.
                  However, if Mr. Combs wanted to buy the exclusive rights to the book, then he would own the
                  rights and could prevent the book from ever being published. Her lawyer then said that in order to
                  stop the book from being published, Mr. Combs would have to pay $30,000,000

                          When that clear extortion proved unavailing, the woman took another tack. She hired a
                  lawyer to bring a civil complaint, taking advantage of an expanded statute of limitations for sex
                  cases. Mr. Combs settled the case. This was not because he raped or sex trafficked anyone, but
                  because of the disastrous consequences a lawsuit of this nature would have on him and his business
                  interests.

                         We are now in a position where the only person alleged to be a victim in Count Two
                  extorted Combs (on audio tape) and profited millions of dollars (the precise settlement of the civil
                  suit remains confidential). We have countless written communications that tend to negate any lack
                  of consent and any coercion. The evidence shows a long-term loving relationship that became
                  strained by mutual infidelity and jealously. The evidence of this, and this alone, is overwhelming.
                  There was no sex trafficking, there was no sex crime of any sort, and we will conclusively prove
                  that at a trial. If the presumption of innocence means anything, it means that when a proffered,
                  detailed, factual defense is readily apparent, the Court should reserve judgment, and should wait
                  for the facts and the trial.

                          That all being said, we are willing to agree to significant conditions outlined as though Mr.
                  Combs is a danger, which he is plainly not. As indicated above, we are willing to restrict visitors
                  to his home, we are willing to ensure that he not contact known witnesses and we are willing to
                  have him undergo weekly drug testing, in addition to the other conditions outlined on pages 2 and
                  3 of this letter.

                             A Review of Other Sex Trafficking Cases in the Southern and Eastern
                                           Districts Are Not Similar to This Case

                         At yesterday's bail hearing, the Government argued that this case is in the "heartland of
                  detention cases of this magnitude and this similar [] charged conduct." (Ex. 9 at 19.) This is not
                  accurate:


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                          First, the Government cited to United States V. Jeffrey Epstein, 19 Cr. 490 (RMB), where
                  the defendant was detained pending trial. In Epstein, the defendant was arrested after landing on
                  his private jet at Teterboro airport, having just travelled internationally to France. In contrast, Mr.
                  Combs has not flown internationally since November of 2023, and made a commitment to the
                  prosecutors after the raids on his homes, that he would not travel out of the country during the
                  pendency of the investigation. Additionally, unlike here, where there are no allegations that Mr.
                  Combs trafficked minors, Epstein was alleged "to be a serial sexual predator who preyed on dozens
                  of minor girls over a period of years." (United States v. Epstein, 19 Cr. 490 (RMB) (S.D.N.Y. July
                  12, 2019) (ECE ll-l).

                          Second, the Government cited to United States V. Keith Raniere, 18 Cr. 204 (NGG), a sex
                  trafficking case in the Eastern District in New York, in which the undersigned were counsel. Mr.
                  Raniere was arrested in a town in Mexico, to which the Government alleged he fled when he
                  learned of the Eastern District of New York's investigation into his alleged conduct. Here, unlike
                  in Raniere, Mr. Combs travelled to the District that was investigating him. Moreover, at the time
                  of the bail hearing in Raniere, the Government alleged that he had multiple relationships with
                  minors. Here, there is no such allegation.

                         The Government turned to United States v. Robert Kelly a/k/a R. Kelly, 19 Cr. 286 (AMD)
                  from the Eastern District of New York, which, like the others above, centered around abuse of
                  minors over a prolonged period of time. We do not have those allegations here.

                          Additionally, there are significant distinctions between Mr. Combs' compliance with the
                  Government's investigation and defendant Ghislaine Maxwell in United States V. Maxwell, 20 Cr.
                  330 (AJN), a recent sex trafficking case from this district, where the defendant was not granted
                  bail. There, Judge Nathan denied Maxwell bail where attempted to evade detection by the media
                  and by law enforcement ("the Defendant has demonstrated an extraordinary capacity to evade
                  detection, "[e]ven in the face of what the Defense has acknowledged to be extreme and unusual
                  efforts to locate her." Tr. at 87:4-87:19. Indeed, regardless of whether the Defendant sought to
                  evade the press, rather than law enforcement, in the months leading up to her arrest, her
                  sophistication in evading detection reveals the futility of relying on any conditions, including GPS
                  monitoring, restrictive home confinement, and private security guards, to secure her
                  appearance." United States v. Maxwell, 510 F. Supp. 3d 165, 177 (S.D.N.Y. 2020)). Judge Nathan
                  put significant weight on this factor to support detention. Here, Mr. Combs did the complete
                  opposite. He flew to the district investigating him a week ago. He has been pubicly in New York
                  City, captured on social media and blogs. Indeed, given his notoriety, he would be unable to evade
                  law enforcement.

                          The Proposed Bail Package Addresses Any Issues with Flight and Danger to
                                                     the Community

                          In light of the proposed conditions, the actions Mr. Combs had already taken regarding the
                  investigation, and Mr. Combs' lifetime commitment to live up to his obligations concerning every


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                                                          AGNIFILO
                                                         INTRATER

                  challenge he has ever faced, he should be released to fight this case in court and prove his
                  innocence. It is significant that Mr. Combs' adult sons, his mother, his sister, and two mothers of
                  his children are willing to sign onto such a significant bond. Those closest to him wholeheartedly
                  believe he will return to Court, and this moral suasion is sufficient to ensure compliance with the
                  proposed conditions of release.

                          Sean Combs has never evaded, avoided, eluded or run from a challenge in his life. He will
                  not start now. As he has handled every hardship, he will meet this case head-on, he will work hard
                  to defend himself, and he will prevail.

                         Recognizing that a bail hearing is not the time to defend the merits of a criminal case, it is
                  relevant to bail that the defendant has made a clear commitment to defend an eminently defensible
                  case. This is such a case.

                         Finally, several courts in this District have recognized that the conditions at Metropolitan
                  Detention Center in Brooklyn are not fit for pre-trial detention. Just earlier this summer, an inmate
                  was murdered At least four inmates have died by suicide there in the past three years. 10 Numerous
                  Courts in this district have raised concerns with the horrific conditions of detention there. See
                  United States v. Chavez, No. 22 Cr. 303 (JMF) (S.D.N.Y. Jan. 4, 2024), Dkt. 31 (describing the
                  conditions at MDC as "dreadful" and "longstanding" and noting that the issues with food
                  contamination and hazardous physical conditions were an "ongoing tragedy"), United States v.
                  Morgan, No. 19 Cr. 209 (RMB) (S.D.N.Y. May 5, 2020), Dkt. 90, Tr. 12-15 (describing the MDC
                  as "dirty," "infested with drugs," and plagued by violence), see also United States v. Boyd, No. 21
                  Cr. 486 (SHS) (S.D.N.Y. Feb. 3, 2022), Dkt. 74 (describing overcrowding, staffing issues, and
                  lockdowns at the MDC), United States v. Days, No. 19 Cr. 619 (CM) (S.D.N.Y. Apr. 29, 2021),
                  Dkt. 35, Tr. 19 (describing MDC conditions as "disgusting [and] inhuman as anything I've heard
                  about any Colombian prison, but more so because we're supposed to be better than that").

                          Courts in the Eastern District of New York have shared the same concerns. See United
                  States V. Forbes, No. 22 Cr. 97 (RK) (E.D.N.Y.) (the court noted it was worried about MDC's
                  conditions as one of the reasons for sentencing the defendant to a non-custodial sentence), United
                  States v. Colucci, 23 Cr. 417 (GRB) (E.D.N.Y. Aug 5, 2024) (sentencing a defendant to nine
                  months in prison, but ordering that if BOP designated the defendant to the MDC, the Court would
                  vacate the sentence and resentence to home incarceration.)


                  9 See John Annese, Inmate at Brooklyn's Troubled Metropolitan Detention Center Is Stabbed To
                  Death,      NY       Daily       News       (Jun.     20,       2024)      available       at
                  https2//www.nydailynews.com/2024/06/20/inmate-at-brooklyns-troubled-metropolitan-detention-
                  center-is-stabbed-to-death-sources/
                  10 See Fola Akinnibi & Marie-Rose Sheinerrnan, Beleaguered Brooklyn Jail Blasted by Candidates
                  in Crowded N.Y Congressional Race, Bloomberg (Aug. 16, 2022), available at
                  https://wwwbloomberg.com/news/articles/2022-08- l6/ny- l 0-democratic-candidates-call-on-
                  feds-to-fix-brooklyn-jail.

                                                                   14
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                                                         AGNIFILO
                                                        INTRATER

                                                            Conclusion

                          For the reasons set forth above, we move this Court to release Combs under the conditions
                  set forth above. Thank you for your consideration.

                                                      Respectiillly submitted,



                                                           Marc Agnifilo
                                                          Teny R. Geragos

                  cc:    Counsel for the Government (via ECF)




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                                                EXHIBIT 1
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                                                       Advanced Research & Appraisal



                                                                                                    File No. 22072602




                                                           APPRAISAL OF




                                                            LOCATED AT:
                                                             2 Star Island Dr
                                                          Miami Beach, FL 33139




                                                                CLIENT:
                                                  Tri Star Sports and Entertainment Group
                                                        9255 Sunset Blvd., 2nd Floor
                                                         West Hollywood, CA, 90069




                                                                 ASOF:
                                                              June 28, 2022




                                                                   BY:
                                                               Orna Sarley
                                                             Cert Res RD1541
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                                                                   Advanced Research & Appraisal



                                                                                                                              File No. 22072602




                            08/08/2022




                            Tri Star Sports and Entertainment Group
                            9255 Sunset Blvd., 2nd Floor
                            West Hollywood, CA, 90069


                            File Number: 22072602




                            In accordance with your request, I have appraised the real property at:

                                                                          2 Star Island Dr
                                                                       Miami Beach, FL 33139


                            The purpose of this appraisal is to develop an opinion of the defined value of the subject property, as improved.
                            The property rights appraised are the fee simple interest in the site and improvements.

                            In my opinion, the defined value of the property as of       June 28, 2022                               is:
                                                                             $48,500,000
                                                         Forty-Eight Million Five Hundred Thousand Dollars


                            The attached report contains the description, analysis and supportive data for the conclusions,
                            final opinion of value, descriptive photographs, assignment conditions and appropriate certifications.



                            Respectfully submitted,




                            Orna Sarley
                            Cert Res RD1541


                            Donald J Sarley, ASA, IFA, SRA, Cert Res RD259 - Review Appraiser Did Inspect.
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                                                                                                                                                    A-059

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                                                                                                                            Advanced Research & Appraisal
                                                                                                                     Residential Appraisal Report                                                                                     File No. 22072602
                     The purpose of this appraisal report is 10 provide ine client with a credible opinion of the defined value of the subject property, given one intended use of ine appraisal.

                    I chem Namellntended User Tri Star Sports and Entertainment Group                                                                              E-mailjwoo@team-tristar.com
                      Client Address 9255 Sunset Blvd., 2nd Floor                                                                                                  City W es t Holly wood                                       State CA                  Zip 90069
                    I Additional Intended User(s) 2 West Star Island LLC

                     Intended Use Net Worth Valuation

                    \ Property Address 2 Star Island Dr                                                                                                            city Miami Beach                                             State FL      Zip 33139
                      Ownerol Public Record 2 West Star Island LLC                                                                                                                                                              County Miami-Dade
                    1 Legal Description 4 54 42 p8 31-60 CORRECTED PL OF STAR ISLAND LOT 2 & 10Fr STRIP LOT SIZE 58232 SQ FT OR 18586-4936 04 1999 1 OR 18556-4935 04 1999 1
                     Assessors Parcel # 02-4204-001 -0020                                                                                                          Tax Year 2021                                               R.E. Taxe s $ 4 3 2 , 1 8 0 .5 9
                    1 Neighborhood Name Star Island                                                                                                                Map Reference 54-42-04                                       Census T ract 981000
                      Property Rights Appraised                           X Fee Si mple       la Leasehold                DOther (describe)
                     My research 0 d i d                     X did not reveal any prior sales or transfers of the sublecl property for the three years prior lo the effective dale of this appraisal.
                      PrlorSale/Transfer:                   Da t e 1 1 / 0 1 / 2 0 0 3                             Pr ice $14, 500, 000                            S o urc e ls l D C P A OR Book 2 1 8 7 2 - 3 3 1 3
                     Analysis of prior sale or transfer history of the subject properly (and comparable sales, if applicable)                                            Most recent sale reported above. No other transfers within the
                      past twenty years.




                                                                         MatrixMLS reported no listing activity for the property that is the subject of this
                     Offerings, options and contracts as of the effective date of the appraisal
                     report. No known offerings, options or contracts as of the effective date of the appraisal.

                                          Nelghbnrhondcharacterlsllcs                                                                    One-Unit Housing Trends                                                One-Unit Housing                        Present Land Use%
                     Location [3 Urbarw                          X Subur ban C] Rur al                       Property Values [J Increasing                             X Stable           Qoec unmq             PRICE                AGE          On e Un N                       95 %
                     Bull-Up         X Over75% O 25-75%                             [   ]Under25%            Demand/Supply DShcrtage                                   X In Balance la Over Supp                $(000)               (yrs)        2-4 Unit                              °/o
                     Growth l j h a p i d                        X Stable           DSI Q w                I MatketingTime [1 Under3 mths                              X 3- 6 r ahs       [ 1 Over 6 mths       1,995 Low                     0 Multi - F amlly                         %
                      Neighborhood Boundaries See Attached A d d e n d u m                                                                                                                                   I 75,000 High               'I 00 \ Commer c i al                          °/0
                                                                                                                                                                                                            1 3 0 ,0 0 0 P ro d .            7 2 Ot he r Va c a nt                  5 °/0
                     Neighborhood Description See Attached Addendum




                      Market Conditions (including support for the above conclusions)                                S e e Attached A d d e n d u m




                     Dimensions 37.21'x248.30'x411'x254.48'x410'                                                     Ar ea 58, 232 Sq. Ft .                                      Shape Pie s haped                                    View Biscayne Bay
                     Specific Zoning Classification RS-1                                                             Zoning Description Single Family Low Density (Up to 2 du/per acre)
                      Zoning Compliance                    X Legal            C]Legal Nonconformir\g (Grandfaihered Use)                          C ] n o Zo n i n g         C] Illegal (desc ribe)
                      Is the highest and best use of the subject properly as improved (or as proposed per plans and specifications) the present use?                                                        X Y e s UNL )           If No, describe


                     Uti li ti es              Public            Other ( desc r i be)                                                             Public             Other ( desc r i be)                     Off-sitelmprovements-Type                           Public         Private
                     Electricity                X                   Cl                                             W ater                            X                O                                       Street As phalt pav ed                               C]               X
                     Ga s                 U     X                    Sanitary Sewer  X       U                        A lle y No ne               CI       la
                     Site CommentsSite is level and pie shaped with 254.48 linear feet on Biscayne Bay with seawall, dock and deck. Site sides the entry road
                     to the development with no measurable negative impact on the site. The subject is located on a private island community with a guard
                     stationed at entry restricting access to residents and announced guests. The community has private streets and improvements. Streets
                     and improvements leading to the development are public. Typical utility and maintenance easements exist with no negative impact on
                     si te.
                                          GENERAL DESCRI PTI ON                                                            FOUNDATI ON                                  EXTERIOFI DESCRIPTION                materials               I NTERI OR                     materials
                     Urals C]One X OnewlAcc.unii fi]                                              .D Concrete Slab               X Cr awl Spac e                      _ Foundation W alls         C o nc r e t e P i li ng           Floors               Hardwo o d,T iles
                     # o i S to r i e s    2                                                      . D F u ll B a se me n t      U Parlial Basement                      Exterior W alls           CBS                                W alls                Plaster
                     T ype X Det.                UAH.                 [1 SDet./End Unit            Basement Area                                             sq. tt. Roof Sur lac e               Ti le s                            TrimlFinish           Wood
                      X E xi sti ng         D Pr oposed                    [ 1 Under C onst.       Basement Finish                                             0% Gutters & Downspouts Overhang                                      Bath Floor            Q ue r y T i l e s
                     Design (Style) Traditional                                                    U Outside En\rylExit              C ] S u mp P u mp                  W indow Type              I mp a c t G l a s s               Bath Wainscot Query Tiles
                     Y e a r B u i lt 2 0 0 2                                                      NA                                                                   Storm Sash/Insulated Yes,Yes                                 Car Storage          U None
                      Effective Age (Yrs) 10                                                                                                                            Sc reens                  Yes                                 X D r i veway       #c f Car s       10
                     Attic                                    IoNone                               Heating X F W A \ [ j H W                  I DRadiant Amenities                                   DWoodStove(s)#0                 Driveway Surf ace Brick paved
                      X Dr op Stai r                          IDStairs                            I : I Oth e r                 I Fuel Electric                         X Fireplace(s)# 2             X Fence W all,lron              X Ga r a g e        # of Cars        2
                     I ; I Flc c r                            I n] Sc unle                         Cooling          X Central Air Conditioning                          X Pa\iolDeck Brick            X Por c h Roof ed              C]Car por l           # of Cars       0
                     Q Fi ni shed                             I I I He a te d                      Q I n d i vi d u a l         iI     f \ " \ ° ~ '\ ! f ~ r v=       IW °0 0 l w/J a c uzzi         X O t he r Ba lc o ny           x All.             la Det.           Q Bur n- i n
                     Appliances             X Ref r i ger ator               X Ra n g e / Ove n     X Di shwasher             X D i sposal            X Mi c r o wa ve          X W asher lDr y er     X Other ( desc r ibe)     Numerous appliances
                     Finished areaabove grade contains:        17 Rooms               7Bedrooms            7.2 Bath(s)   1 4 , 7 8 3 S q u ar e Feel 01 Gross Living Area Above Grade
                     Additional Features Water front site with 254.481 linear feet on water on Biscayne Bay offering excellent views and boating amenities.
                     Property is fenced and has an electric gate. B e y o n d the gate is a courtyard with ample parking. There is a swimming pool and Jacuzzi,
                     dock and deck, cabana structure with a bar and cooking facilities and cabana full bathroom and multiple o pe n s ho w e r s .
                     Comments on the Improvements See Attached Addendum




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                                                                                                                                                        Page1of4                                                                      {gPAR'M) General Purpose A81ralsal Re*nor1 3l201Y
                                                                                                                                                                                                                                                                     PARSUM_ f {]32]"2{]1?
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                                                                                                         Advanced Research & Appraisal
                                                                                                    Residential Appraisal Report                                                                              File No. 22072602
                            FEATURE                                  SUBJECT                     COMPARABLE SALE N0.1                                     COMPARABLE SALE no. 2                                   COMPARABLE SALE no. 3
                     2 Star Island Dr                                                     34 Star Island Dr                                     8 Star Island Dr                                       46 Star Island Dr
                     Address Miami Beach, FI 33139                                        Miami Beach, FI 33139                                 Miami Beach, FI 33139                                   Miami Beach, FI 33139
                     Proximity to Subiect                                                 0.18 miles NE                                         0.13 miles NW                                          0.40 miles NE
                     SaiePrice                               $                                                   $       30,000,000                                          $   75,000,000                                          $        38,000,000
                     Sale PricelGross Liv. Area              $             0.00 soft..$ 4,062.84 sg.l1.                                        ..$ 5,072.71 $9.1                                     ..$ 2,458.43 sci
                     Data Scurceisi                                                       MatrixMLS #AXXXXXXXX;DOM 230                          MatrixMLS #AXXXXXXXX;DOM 122                           MatrixMLS #AXXXXXXXX;DOM 764
                     Veriiicaticn Source(s)                                               Tax Rolls/IMAPP                                       Tax Rolls/IMAPP                                        Tax Rolls/IMAPP
                     VALUE ADJUSTMENTS                              DESCRIPTION               DESCRIPTION                 +'[} $ Adjustment          DESCRIPTION                 +{1 $ Adjustment             DESCRIPTION                     +{] $ Adjustment

                     Saie or Financing                                                    ArmLth                                                ArmLth                                                 ArmLth
                     Concessions                                                          Cash,0                                                Cash,0                                                 Cash,0
                     Date 01 Sale/Time                                                    501/22,001/22                    1,200,000 s12/21,012/21                                3,750,000 s03/21,002/21                                       5,700,000
                     Location                                Suburban                    ,Suburban                                             ,Suburban                                              ,Suburban
                     LeaseholdlFee Simple                    Fee Simple                   Fee Simple                                            Fee Simple                                             Fee Simple
                     Site                                    58,232 Sq.Ft.               .40,000 Sq.Ft.                    5,469,600_.80,000 Sq.Ft.                               -6,530,400_.61 ,301 Sq.Ft.                                      -920,700
                     View                                    Biscayne Bay                 Biscayne Bay                                          Biscayne Bay                                 Biscayne Bay
                     Design (Style)                          Modern 2 Sty                 Traditional 2 Sty                                   0 Traditional 2 Sty                          0 Traditional 2 Sty                                                   0
                     Quality of Construction                 Very Good                    Very Good                                             Excellent                         -1,200,000 Very Good
                     Actual Age                              201 Yrs 10 eff               61+/- Yrs 40 eff                 3,000,000 29+/- Yrs 10 eff                                         99+/- Yrs 60 eff                                  5,000,000
                     Condition                               Ve Good                      Average Good                     1,000,000 Excellent                                      -500,000 Average Good                                       1 ,000,000
                     Above Grade                             Total Bdrms     Baths      _Mai Bdims       Baths                                  Total Edrms          Baths                           _To lai Edams           Baths

                     Room Count                               17     7       7.2          18 9           9.1         _       -37,500_17 9     8.3 _                                   -37,500_.20 10 10.2                                          -75,000
                     Gross LMng Area300. 00                           14,783 sq.1I.                7,384 sq.f1.            2,219,700     14,785 sq 11.                                      0      15,457 sq.II.                                  -202,200
                     Basement & Finished                                                  0sf                                                   Osf                                                    0sf
                     Rooms Below Grade                       254.5' FF Water              100' FF Water                    7,725,000 .202' FF Water                               2,625,000 .252' FF Water                                         125,000
                     Functional Utility                      Good                         Good                                                  Good                                                   Good
                     Hea\inglCooling                         Central                      Central                                               Central                                                Central
                     Energy Efficient Items                  Appliances                   Appliances                                   Appliances                                            AppHances
                     GaraqelCarporI                          2 Car Garage                 3 Car Garage                         -50,000 4 Car Garage                                 -100,000 6 Car Garage                                         -200,000
                     Porch/Patio/Deck                        Patio/Deck,Pcrch Patio,Porch,Dock                                                  Patio,Porches,Dock                                     Patio,Porches,Dock
                                                             F/P, Elevator                F/P, Elevator                                         F/P, Elevator                                          F/P, Elevator
                                                             Fence,Pool,Baloony Fence,PooI,Balcony                                              Fence,PoollSpa,Balcony                                 Fence,PoollSpa,Balcony
                                                                                                                                    Fully furnished                              -1,000,000 Detached G.L.A.                                       Size ???
                     NetAdjustment(TotaI)
                     Adjusted Sale Price
                                                                                           X+ U-
                                                                                          NelAd]. 68.4%
                                                                                                        s                20,526,800 [1 + X - is
                                                                                                                                    NetAd1. -40%\
                                                                                                                                                                                  2,992,900             X+           is
                                                                                                                                                                                                       NelAdj. 27.4% 1
                                                                                                                                                                                                                       o                     10,427,100

                     of Comparables                        Gross Adj. 69.0% $ 50,526,800 Gross Adj. 21 .0% $ 72,007,100 GrossAdi. 34.8% $ 48,427,100
                                                   Six closed sales, an active listing and a recently expired listing are included in the appraisal analysis.
                     Summary olSales Comparison Approach
                     See additional comparables attached. See Attached Addendum For Comments.




                     indicated Value by Sales Comparison Approach $48,500,000
                     cosT APPF\OACH TO VALUE
                     Site Value Comments See Attached Addendum



                     ESTIMATED     O REPRODUCTION OR       X REPLACEMENT COST NEW                                                        OPINION OF SITE VALUE ......................................... $                                    36,000,000
                     Source of cost data Marshall Swift & Boeckh Cost Estimator                                                          Dwelling                    14,783 Sq. Ft. @ $             650.00..                         $          9,608,950
                     Quality rating from cost service 5.0                            Effective date of cost data Current                                                     sq. Ft. @s                                              $
                     Comments on Cost Approach (gross living area calculations, depreciation, etc.)                                      pools, spa, porches, cabana, bars                                                                      2,000,000
                     Cost approach has been developed and improvements with                                                              GaragelCarpor1 1,793                    Sq,Ft.@$ 200.00..                                   s            358,600
                     effective age estimated and depreciation with renovations and                                                        Total Estimate of Cost-New                                                                 s        11 ,967,550
                     updates over the years. No measurable external obsolescence is                                                      Less 80               Physical I Functional I         ExtemaI
                     noted due to location next to entry road.                                                                           Depreciation $1,495,943 I               $0       I         $0                               s(        1,495,943)
                                                                                                                                          Depreciated Cost oI Improvements................................                           $        10,471 ,607
                                                                                                                                          "As-Is" Value of Site Improvements................................                         $         2,000,000

                                                                                                                                          INDICATED VALUE BY COST APPROACH......................                                     $        48,471 ,600
                     INCOME APPROACH TO VALUE
                     Estimated Monthly Market Rent$                                        X Gross Rent Multiplier                   =$                               IndIcated Value by Income Approach
                    I Summary of Income Approach (including support for market rent and GRM) Not developed


                     Methodsandtechniquesemployedz [                         Sales Comparison Approach               e CostAppruach re Income Approach [1 other:
                                                                                                   The sales comparison approach is developed best reflects
                     Discussion of methods and techniques employed, including reason for excluding an approach to value:
                     the motives of knowledgable buyers and sellers in an active market. The cost approach has been developed and is given limited
                     reliance as subject is an existing property with physical depreciation. The income approach is not developed as high end properties are
                     not typically used as rentals.
                     Reconciliation comments: Reliance is placed on the sales comparison approach as it best reflects the motives of buyers and sellers in this
                     market. The cost approach has been developed and is a supportive indicator. The income approach has not been developed due to the
                     limited rental data in this mostly owner occupied neighborhood and this approach is not needed for credible valuation results.
                     Based on the scope of work, assumptions, limiting conditions and appraiser's certification, my (our) opinion of the defined value of the real property that is
                     the subject of this report as of 06/28/2022                                ,which is the effective date of this appraisal, is:
                      X Single point $ 4 8 , 5 0 0 , 0 0 0                     O Range$                                      to $                                    [1 Greater than 0 Less than $
                     This appraisal is made              X "as is," 0 subject lo completion per plans and specifications on ine basis of a hypothetical condition that the improvements have been completed,
                     [1 subject to the lollowlng repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed                                 C] subject to the following:


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                                                                                                                         Appraisal Report
                                                                                                                                                                                                              {gPAR'M) General Purpose A81ralsal Re*nor1 3l201Y
                                                                                                                                                                                                                                              PARSUM_ f {]32]"2{]1?
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                                                                                            Advanced Research & Appraisal
                                                                                        Residential Appraisal Report                                                                                    File No. 22072602
                             FEATURE                        SUBJECT                   COMPARABLE SALE NO. 4                                        COMPARABLE SALE no. 5                                    COMPARABLE SALE no. 6
                     2 S tar Island D r                                       13 Star Island Dr                                           1 Star Island Dr                                       276 Bal Bay Dr
                     Address Miami Beach, FI 33139                            Miami Beach, FI 33139                                       Miami Beach, FI 33139                                  Bal Harbour, FI 33154
                     Proximity to Subiect                                     0.21 miles NW                                               0.03 miles SE                                          8.70 miles NE
                     Saie Price                      $                                              $      32,500,000                                             $       35,000,000                                            $       41,500,000
                     Sale PricelGross Liv. Area      $             0.00 soft..$ 2,210.28 sg.l\.                                        ..$ 4,381.57 $9f                ..$ 4,558.44 sql
                     Data Scurceisi                                           MatrixMLS #AXXXXXXXX;DOM 98                                 MatrixMLS #AXXXXXXXX;DOM 238 MatrixMLS #AXXXXXXXX;DOM 181
                     Veriiicaticn Source(s)                                   Tax Rolls/IMAPP                                             Tax Rolls/IMAPP                                        Tax Rolls/IMAPP
                     VALUE ADJUSTMENTS                     DESCRIPTION            DESCRIPTION              +'[} $ Adjustment                     DESCRIPTION              +{1 $ Adjustment             DESCRIPTION                       +{] $ Adjustment

                     Saie or Financing                                        ArmLth                                                      ArmLth                                                 ArmLth
                     Concessions                                              Cash,0                                                      Conv,0                                                 Cash,0
                     Date 01 Sale/Time                                        s08/20,007/20                  7,150,000 s07/21,003/21                                       4,900,000 s06/22,003/22                                            830,000
                     Location                        Suburban                ,Suburban                                                  ,Suburban                                              ,Suburban
                     LeaseholdlFee Simple            Fee Simple               Fee Simple                                                 Fee Simple                                             Fee Simple
                     Site                            58,232 Sq.Ft.           .40,000 Sq.Ft.                  5,469,600_.58,332 Sq.Ft.                                          -30,000.46,279 Sq.Ft.                                       3,585,900
                     View                            Biscayne Bay             Biscayne Bay                                                Biscayne Bay                                           Biscayne Bay
                     Design (Style)                  Modern 2 Sty             Traditional 2 Sty                                           Traditional 2 Sty                                      Traditional 2 Sty
                     Quality of Construction         Very Good                Very Good                                                   Very Good                                              Very Good
                     Actual Age                      201 Yrs 10 eff           19+/- Yrs 10 eff                                     0 82+/- YS 50 eff                       4,000,000 45+/- Yrs 20 eff                                      1 ,000,000
                     Condition                       Ve Good                  Ve Good                                                 Average-Good                         1,000,000 Good                                                     500,000
                     Above Grade                     Total Bdrms     Baths    Total Bdrms   Baths                                         Total Bdrms     Baths                                  Toial BUvvHs          Baths

                     Room Count                      17     7        7.2      18 10        10.2 _.                 -75,000_.17 6                    i 8.2             _        -25,000. . 1 8              9            10          _        -50,000
                     Gross LMng Area300. 00                  14,783 sq.1I.            14,704 Sq.fT.                  23,700                         7,988 sq al.           2,038,500                           9,104 sq, fl.               1,703,700
                     Basement & Finished                                      0sf                                                         Osf                                                    Osf
                     Rooms Below Grade               254.5' FF Water          98' FF Water                   7,825,000 .228.74' FF Water                                   1,288,000 .219' FF Water                                        1,775,000
                     Functional Utility              Good                     Good                                                        Good                                                   Good
                     Hea\inglCooling                 Central                  Central                                                     Central                                                Central
                     Energy Efficient Items          Appliances               Appliances                                                  Appliances                                   AppHances
                     GaraqelCarporI                  2 Car Garage             3 Car Garage                         -50,000 3 Car Garage                                        -50,000 3 Car Garage                                             -50,000
                     Porch/Patio/Deck                Patio/Deck,Pcrch Patio,Porches,Dock                                                . Patio/DecK,Porch                                       Patio, Porches,DocK
                                                     F/P, Elevator            F/P, Elevator                                               F/P, None                              15,000 None, Elevator                                                      0
                                                     Fence,Pool,Baloony Fence,PooI,Balcony                                                Fence,Pool,Balcony                                     Fence,PoollSpa,Balcony


                     Net Adjustment (Total)
                     Adjusted Sate Price
                                                                                X+ D - To
                                                                              naiAd;. 62.6%
                                                                                                           20,343,300                            X+ 0 - 1$ 13,136,500 X+
                                                                                                                                          NetAdl. 375°/ol                                        naiAd;. 22.4%
                                                                                                                                                                                                                 o 1$                      9,294,600

                     of Comparables                                          Gross Adj. 63.4% s 52,843,300 Gross Adj. 38.1% $ 48,136,500 GrossAdi. 22.9% $ 50,794,600
                     Summary of Sates Comparison Approach            Six closed sales and two listings are included in the appraisal analysis. See additional comparables and
                     c omments attac hed.




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(64 of 239), Page 64 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 64 of 239
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                                                  Case 1:24-cr-00542-ALC                             Document 13-1                               Filed 09/18/24                    Page 7 of 31
                                                                                             Advanced Research & Appraisal
                                                                                        Residential Appraisal Report                                                                         File No. 22072602
                             FEATURE                        SUBJECT                  COMPARABLE SALE NO. 7                                   COMPARABLE SALE no. a                               COMPARABLE SALE no. g
                     2 S tar Island D r                         30 Palm Ave                       45 Star Island Dr
                     Address Miami Beach, FI 33139              Miami Beach, FI 33139             Miami Beach, FI 33139
                     Proximity to Subiect                       0.46 miles NW                     0.06 miles SE
                     Saie Price                 $                                  $ 43,000,000                   $ 28,900,000                                                                                     $
                     Sale PricelGross Liv. Area $ 0.00 SQ. ft. .$ 4,479.63 so. II.              ..$ 2,963.19 salt              $                                                                          sq ft.
                     Data Scurceisi                                          MatrixMLS #AXXXXXXXX; DOM 154                        MatrixMLS #AXXXXXXXX;DOM 341
                     Veriiicaticn Source(s)                                  Tax Rolls/IMAPP                                       Tax Rolls/IMAPP
                     VALUE ADJUSTMENTS                     DESCRIPTION            DESCRIPTION               +'[} $ Adjustment           DESCRIPTION             +{1 $ Adjustment            DESCRIPTION                     +{] $ Adjustment

                     Saie or Financing                                       Listing                                     Listing
                     Concessions                                             ,0                                          ,0
                     Date 01 Sale/Time                                       Active                                   0 ,Active                                                    0
                     Location                        Suburban                Suburban                                   ,Suburban
                     LeaseholdlFee Simple            Fee Simple              Fee Simple                                  Fee Simple
                     Site                            58,232 Sq.Ft.           32,000 Sq.Ft.                    7,869,600_.46,429 Sq.Ft.                           3,540,900
                     View                            Biscayne Bay            Biscayne Bay                                Biscayne Bay
                     Design (Style)                  Modern 2 Sty            Modern 2 Sty                    -1,000,000 Traditional 2 Sty
                     Quality of Construction         Very Good               Excellent                       -1,200,000 Very Good
                     Actual Age                      201 Yrs 10 eff          9+/- Yrs 5 off                  -1 ,000,000 41+/- Yrs 50 off                        3,000,000
                     Condition                       Ve Good                 Ve Good                                               Fair                          2,000,000
                     Above Grade                     Total Bdrms   Baths     Total Bdrms     Baths                                 Total Edrms          Baths                          Total Bdrms         Baths
                     Room Count                      17     7      7.2       18     9       8.1        _.       -12,500. . 1 8 9      10.2    _.                   -75,000
                     Gross LMng Area300. 00                  14,783 sq.1I.              9,599 sq.ft.          1555,200            9,753 sq ft.                   1,509,000                                     sq. ft.
                     Basement & Finished                                0sf                                               Osf
                     Rooms Below Grade               254.5' FF Water 100 FF Water                             7,725,000 .190' FF Water                           3,225,000
                     Functional Utility              Good               Good                                               Good
                     Hea\inglCooling                 Central            Central                                            Central
                     Energy Efficient Items          Appliances         Appliances                                         Appliances
                     GaraqelCarporI                  2 Car Garage       4 Car Garage                           -100,000 4 Car Garage                               --00,000
                     Porch/Patio/Deck                Patio/Deck,Pcrch Patio,Porch,Dock                                    Patio,Porch,Dock
                                                     F/P, Elevator      F/P, None                                15,000 1 F/P, None                                   15,000
                                                     Fence,Pool,Baloony Fence,PooI,Balcony                                Fence,Pool,Balcony

                     Net Adjustment (Total)
                     Adjusted Sate Price
                                                                             X + D- To 13,852,300 X + 0 - 1 $
                                                                           naiAd;. 32.2%                     NetAdl. 454°/ol
                                                                                                                                 13,114,900 X +
                                                                                                                                              naiAd;.
                                                                                                                                                             1$
                                                                                                                                                        0.0% 1
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                     of Comparables                                        Gross Adj. 47.6% 8 56,852,300 Gross Adj. 46.6% $ 42,014,900 GrossAdi. 0.0% $                    0
                     Summary of Sates Comparison Approach          Six closed sales and two listings are included in the appraisal analysis. See additional comparables and
                     c omments attac hed.




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                                                                                                                  A-063

                                                     Case 1:24-cr-00542-ALC                          Document 13-1                                Filed 09/18/24              Page 8 of 31
                                                                                              Advanced Research & Appraisal
                                                                                        Residential Appraisal Report                                                                     File No. 22072602

                     Scope of Work, Assumptions and Limiting Conditions
                     Scope of work is defined in the Uniform Standards of Professional Appraisal Practice as " the type and extent of research and analyses in an
                     assignment." In short, scope of work is simply what the appraiser did and did not do during the course of the assignment. It includes, but is not
                     limited to: the extent to which the property is identified and inspected, the type and extent of data researched, the type and extent of analyses applied
                     to arrive at opinions or conclusions.

                     The scope of this appraisal and ensuing discussion in this report are specific to the needs of the client, other identified intended users and to the
                     intended use of the report. This report was prepared for the sole and exclusive use of the client and other identified intended users for the identified
                     intended use and its use by any other parties is prohibited. The appraiser is not responsible tor unauthorized use of the report.

                     The appraiser's certification appearing in this appraisal report is subiecl to the following conditions and to such other specific conditions as are
                     set forth by the appraiser in the report. All extraordinary assumptions and hypothetical conditions are stated in the report and might have affected the
                     assignment results.

                     1. The appraiser assumes no responsibility for matters 01 a legal nature affecting the properly appraised or title thereto, npr does the appraiser render any opinion as to the title, which is
                     assumed to be good and marketable. The property is appraised as though under responsible ownership.

                     2. Any sketch in this report may show approximate dimensions and is included only to assist the reader in visualizing the property. The appraiser has made no survey of the property.

                     3. The appraiser is not required 10 give testimony or appear in court because of having made the appraisal with reference to the property in question, unless arrangements have been
                     previously made thereto.
                     4. Neither all, nor any pan of the content of this report, copy or other media thereof (including conclusions as lo the property value, the identity 01 the appraiser, professional designations,
                     or the firm with which the appraiser is connected), shall be used for any purposes by anyone but the client and other intended users as identified in this report, nor shall it be conveyed by
                     anyone to the public through advertising, public relations, news, sales, or other media, without the written consent of the appraiser.

                     5. The appraiser will not disclose the contents 01 this appraisal report unless required by applicable law or as specified in the Uniform Standards or Prctessicnai Appraisal Practice.

                     6. Information, estimates, and opinions furnished to the appraiser, and contained in the report, were obtained from sources considered reliable and believed to be true and correct.
                     However, no responsibility for accuracy of such items furnished to the appraiser is assumed by the appraiser.

                     7. The appraiser assumes that there are no hidden or unapparent conditions of the properly, subsoil, or structures, which would render it more or less valuable. The appraiser assumes
                     no responsibility for such conditions, or for engineering or testing, which might be required to discover such factors. This appraisal is not an environmental assessment of the property and
                     should not be considered as such.

                     8. The appraiser specializes in the valuation of real property and is not a home inspector, building contractor, structural engineer, Cr similar "expert", unless otherwise noted. The appraiser
                     did not conduct the intensive type of field observations of the kind intended to seek and discover property defects. The viewing of the property and any improvements is for purposes of
                     developing an opinion pl the defined value of the property. given the intended use 01 this assignment. Statements regarding condition are based on surface observations only. The
                     appraiser claims no special expertise regarding issues including, but not limited to: loundation settlement, basement moisture problems, wooddestroying (or other) insects, pest infestation,
                     radon gas, lead based paint, mold or environmental issues. Unless otherwise indicated, mechanical systems were not activated or tested.

                     Tnis appraisal report should nut be used to dlscIose the condition of the property as it relates to the presence/absence of defects. The client is invited and encouraged to employ qualified
                     experts to inspect and address areas Ni concern. If negative conditions are discovered, the opinion of value may be affected.

                     Unless otherwise noted, the appraiser assumes the components that constitute the subject property improvement(s) are fundamentally sound and in
                     working order.
                     Any viewing of the property by the appraiser was limited to readily observable areas. Unless cthenwise noted, allies and crawl space areas were not accessed. The appraiser did not move
                     lumière, flour coverings or other items that may restrict the viewing of the property.

                     9. Appraisals involving hypothetical conditions related to completion of new construction, repairs or alteration are based on the assumption that such completion, alteration or repairs will
                     be competently performed.
                     10. Unless the intended use of this appraisal specifically includes issues of property insurance coverage, this appraisal should not be used for such purposes. Reproduction or
                     Replacement cost figures used in the cost approach are for valuation purposes only, given the intended use of the assignment. The Definition of Value used in this assignment is unlikely
                     10 be consistent with the definition of Insurable Value for property insurance coverageluse.

                     11. The ACI General Purpose Appraisal Report (GPART"') is not intended for use in transactions that require a Fannie Mae 1004/Freddie Mac 70 form,
                     also known as the Uniform Residential Appraisal Report (URAR).

                     Additional Comments Related To Scope Of Work, Assumptions andLimiting Conditions
                     A limited inspection of the interior was made by the appraisers and no interior photos were permitted. The appraisers viewed some of
                     the common rooms and were restricted from private and other interior and exterior areas. Assumptions are made pertaining to the
                     floor plan and room layout as the appraisers relied on information provided by the staff members and is assumed to be accurate.




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(66 of 239), Page 66 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 66 of 239
                                                                                                                   A-064

                                               Case 1:24-cr-00542-ALC                                 Document 13-1                                 Filed 09/18/24                Page 9 of 31
                                                                                                Advanced Research & Appraisal
                                                                                        Residential Appraisal Report                                                                         File No. 22072602

                     Appraiser's Certification
                     The appraiser(s) cerliiies that, to the best of the appraiser's knowledge and belief:
                     1. The statements of fact contained in this report are true and correct.

                     2. The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are the appraiser's personal, impartial, and unbiased
                     professional analyses, opinions, and conclusions.

                     3. Unless otherwise stated, the appraiser has no present or prospective interest in the property that is the subject of this report and has no personal interest with respect to the parties
                     Involved.
                     4. The appraiser has no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.

                     5. The appraiser's engagement in this assignment was not contingent upon developing or reporting predetermined results.

                     6. The appraiser's compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that f avers the cause of
                     the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.

                     7. The appraiser's analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice.

                     8. Unless othenvise noted, the appraiser has made a personal inspection of the property that is the subject of this report.

                     9. Unless noted below, no one provided significant real property appraisal assistance to the appraiser signing this certification. Significant real property appraisal assistance provided by:




                     Additional Certifications:




                     Definition of Value:   X Markel Value    C]olherValue:
                     Source of Definition: Source of the Market Value Definition is FNMA and or FHLMC.
                     Market value is the most probable price which a property should bring in a competitive and open market under all conditions requisite
                     to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by undue stimulus.




                     ADDRESS OF THE PROPERTY APPRAISED :
                     2 S tar Island D r
                     Miami Beach, FL 33139
                     EFFECTIVE DATE OF THE APPRAISAL: 06/28/2022
                     APPRAISED VALUE0F THE SUBJECT PROPERTY s 48,500,000


                     APPRAISER                                                                                                     SUPERVISORY APPRAISER



                     Signature: _ ____
                     Name: Orna Sarley                          -\[»¢                 8-                                           Signature: r                  l0
                                                                                                                                   Name: Donald J Sarley, ASK, MEA, SRA   /
                     Company Name: Advanced Research & Appraisal                                                                   Company Name: Advanced Research & Appraisal
                     Company Address: 9240 S Cypress Circle                                                                        Company Address: 9240 S Cypress Circle
                     Miramar, FL 33025                                                                                             Miramar, FL 33025
                     Telephone Number: 954-465-4432                                                                                Telephone Number: 954-557-3300
                     EmaiIAddress: osarley@gmail.com                                                                               Email Address: dsarley@bellsouth.net
                     State Cerliiication # Cert Res RD1541                                                                         State Certification# Cen Res RD259
                     or License #                                                                                                  or License #
                      or Other (describe):                          State #:                                                       State: FL
                     Slate: FL                                                                                                     Expiration Date of Certification or License: 11/30/2022
                     Expiration Date ui Ceniiicaiion or License: 11/30/2022                                                        Date of Signature:      08/09/2022
                     Date of Signature and Report: 08/09/2022                                                                      Date of Property Viewing: June 28, 2022
                     Date of Properly Viewing:     June 28, 2022                                                                   Degree of properly viewing:
                     Degree of property viewing                                                                                        X Interior and Exterior   C] Exterior Only               D Did not personally view
                      X Inieriorand Exterior            C] Exterior Only        U Did not personally view
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(67 of 239), Page 67 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 67 of 239
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                                        Case 1:24-cr-00542-ALC                Docu    r. \ @   I Eh1Btjm    Filed 09/18/24       Page 10 of 31

                     Client: Tri Star Sports and Entertainment Group                                                     File No.: 22072602
                     PropertvAddress: 2 Star Island Dr                                                                   Case No.:
                     City: Miami Beach                                                                       State: FL                    Zip: 33139




                            Neighborhood Boundaries
                            The subject is accessible via the Macarthur Causeway to the South and is an island community that is surrounded by
                            Biscayne Bay. The island of Miami Beach is located to the East and mainland Miami-Dade County is to the West. The Port
                            of Miami is to the South. Area boundaries are considered to be Macarthur Causeway an E/W artery, the Venetian
                            Causeway to the North an E/lN artery, Biscayne Bay provides additional access with water crafts.

                            Neighborhood Description
                            The subject is a neighborhood in the city of Miami Beach on a man-made island in Biscayne Bay, Florida. Star Island is
                            famous for the residents it attracts including, celebrities, movie stars, sports stars, artists, entertainers and other wealthy
                            individuals seeking luxury and privacy. This is a private community with 33 private residential site off the southern coast of
                            Miami Beach. The subject is convenient to all desired amenities. The location offers convenient access to Downtown Miami,
                             South Beach and the Atlantic Beaches. Downtown Miami Business and Banking district is accessible via the Macarthur
                            Causeway. South Beach is located to the east offering access to recreational amenities, hotels, spas, restaurants and night
                            life. Schools, shops, banks, medical facilities and recreational amenities are within easy access. Star Island is also a part of
                            the Biscayne Bay Aquatic Preserve with estates situated directly on Biscayne Bay with boating amenities for water sports.

                            Neighborhood Market Conditions
                            Market was affected by COVID-19 and experienced increased demand affecting both pricing and marketing time. Due to the
                            economic conditions interest rates recently increased in an effort to slow down inflation. This affected marketing time as
                            inventory increased. Market is currently considered stable with supply and demand in balance with marketing time of 90 to
                            180 days. Based on the Federal Housing Finance Agency area values increased 22% between the first quarter of 2021 and
                            the first quarter of 2022. Market values increased up through May 2022 and are currently considered stable.

                            Quality and Condition of Property
                            The main house is a two story Modern design estate with 5 Bedrooms, 4 full bathrooms and 2 half baths, a piano room, large
                            kitchen with excellent quality appliances including a 10 burner gas stove top with industrial fan hood, multiple ovens
                            including a pizza oven and multiple refrigeration units, informal dining, formal living and dining rooms and family area.
                            Exterior features include balconies, porches, patios, multiple swimming pools and spa, pool house with cabanas. The guest
                            house has 2 Bedrooms and 3 full bathrooms, kitchen, living and dining area. The main house was built 1940 and the guest
                            house with additions to the main house were made in 1995. The estate is fenced with electric gates and has 254.51 linear
                            feet on water with ability to store water crafts and easily navigate to open waters. The overall condition of the improvements
                            is considered good with adequate maintenance over the years. Physical depreciation is due to age with normal wear and
                            tear and the elements due to proximity to salt water. The appraisers made a limited inspection of the exterior and interior, the
                            common areas were available for viewing and no interior photos were permitted. Assumptions are made as to the room
                            count, finishes and condition of the areas that were not available for viewing. The floor plan that has been generated with
                            interior room layout is partly based on the staff description and assumptions are made that the layout on the sketch is
                            accurate.

                            Comments on Sales Comparison
                            Six closed sales, one active listing and one recently expired listing were included in the appraisal analysis.

                            Sale 1 is the most recent sale on Star Island that is a smaller estate home with a smaller site and less water front, home is
                            older and in inferior condition. High individual, net and gross adjustments are due to the smaller site with inferior water front.

                            Sale 2 is a recent sale on Star Island of a slightly older estate home that is similar in size and situated on a larger site with
                            less water front. This property is superior in quality and condition and was sold fully furnished turnkey including personal
                            property.

                            Sale 3 is a slightly more dated sale of an estate home that is similar in size and quality, property is older and inferior in
                            condition and is situated on a similar site with similar water front. High individual and gross adjustments to sale 3 are due to
                            the time of sale and age difference.

                            Sale 4 is a dated sale on Star Island that is similar in size and age, situated on a smaller site with less water front. Sale has
                            high individual, net and gross adjustments due to time of sale and smaller site with less water front.

                            Sale 5 is a dated sale situated next to the subject and is older, smaller and inferior in condition with similar site size and
                            slightly less water frontage. The high individual and net adjustments are due to the time of sale, age and GLA size
                            differences.

                            Sale 6 is a recent sale from a greater than desired distance on Bal Harbour Island a gated secured community of water front
                            estate homes that is smaller and has slightly smaller site with less water front. This sale is located at a greater distance and
                            is included as it offers many amenities that are similar to Star Island and is equally desirable.

                            Listing 7 is located on a secured island and is a larger newer home on smaller site with less water front. This sale is included
                            due to the lack of active offerings on Star Island.

                            Listing 8 is an expired listing on Star Island that was listed for sale as improved and as a vacant site. Property is situated on
                            a smaller site with less water front. This expired listing is included as it was active on the effective date of the appraisal and
                            has since expired. This property was originally listed 06/13/2021 priced $34,000, relisted 08/19/2021 priced $33,900,000,
                            listing expired 08/07/2022.

                            Most reliance is placed on Sale 3 as it has the most similar site size and 4 being the most similar in size and age. Sale 2 is a
                            recent sale that was sold with personal property and sales 1, 5 are smaller homes and sale 6 is smaller and more distant.
                            Sales 1, 2 and 5 are given secondary reliance and considered supportive indicators. Sale 6 is included due to being a recent
                            sale and considered a supportive indicator. Listing comparables 7 and 8 are included to show current offerings and given
                            reliance as they are not closed transactions. Expired listing 8 is considered supportive of subject site value.

                            Sales are adjusted for time of sale at 1% per month up thru May 2022 as the market stabilized there after.




                                                                                     Addendum Page 1 of 2
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                     Client: Tri Star Sports and Entertainment Group                                                     File No.: 22072602
                     PropertvAddress: 2 Star Island Dr                                                                   Case No.:
                     City: Miami Beach                                                                       State: FL                    Zip: 33139




                            Sales are adjusted for site size differences at $300 per square foot.
                            Sales are adjusted for water front feet at $50,000 per linear foot.
                            Sales are adjusted for age based on estimated effective age at $100,000 per year.
                            Sales are adjusted for condition at $500,000 and $1 ,000,000 increments.
                            Sales are adjusted for bathrooms at $25,000 per full bath and $12,500 per half bath.
                            Sales are adjusted for GLA size at $300 per sf.
                            Sales are adjusted for garage space at $50,000.
                            Sales are adjusted for having an Elevator $15,000.
                            Sales that were sold furnished, turnkey with personal property adjusted $1,000,000.
                            Quality difference adjusted at $1 ,200,000.
                            No adjustments made for bedroom utility as the size differences of the comparables account for the room count differences.
                            The applied adjustments are for contributory value not actual cost that may be greater. Condition differences and effective
                            age are supported by MLS comments and photos.

                            The use of dated sales, sales with higher than desired adjustments and sales that are more distant than desired is
                            unavoidable. The comparables selected are the best and most similar sales to have transpired within the past two years. No
                            other more similar, more current or more proximate sales were found for comparison.

                            Support for the Opinion of Site Value
                            Vacant Site Sales:

                            28 Star Island Drive - 40,000 sf site with 100 linear feet - sold 12/15/2020 $13,300,000 . x 1.17 Time = $15,561,000
                            Plus $5,469,600 (size) + $7,725,000 (waterfront) = $28,755,600

                            11 Star Island Drive - 80,000 sf site with 200 linear feet - sold 08/19/2020 $37,000,000 X 1.21 Time = $44,770,000
                            Minus $6,530,400 (size) + Plus $2,725,000 (waterfront) = $40,964,600

                            10 Star Island Drive - 40,000 sf site with 100 linear feet - sold 11/20/2020 $25,000,000 . x 1.18 Time = $29,500,000
                            Plus $5,469,600 (size) + $7,725,000 (waterfront) = = $42,599,600

                            2 Indian Creek Island Rd - 80,000 sf site with 200 linear feet sold 04/09/2021 $37,000,000 . x 1.13 Time = $41,810,000
                            Minus $6,530,400 (size) + Plus $2,100,000 (waterfront) = $37,379,600

                            37 Indian Creek Island Rd - 53,696 sf site with 134 linear feet - sold 07/02/2021 $23,750,000 X 1.10 Time = $26,125,000
                            Plus $1 ,360,800 (size) + Plus $6,250,000 (waterfront) = $33,735,800

                            7 Indian Creek Island Rd - 80,000 sf site with 200 linear feet - sold 11/20/2020 $30,000,000 - 1.18 Time = $35,400,000
                            Minus $6,530,400 (size) + Plus $2,100,000 (waterfront) = $30,969,000

                            4 Indian Creek Island Rd - 80,000 sf site with 200 linear feet - sold 12/27/2020 $32,179,413 - x 1.17 Time = $37,649,000
                            Minus $6,530,400 (size) + Plus $2,100,000 (waterfront) = $33,219,913

                            All of the site sales are similar in location and amenities on secured islands with security for residents looking for privacy with
                            water front sites offering boating facilities for large yachts.

                            Time of sale difference applied at 1% per month up through May 2022 when market stabilized.
                            Site size differences adjusted at $300 per sf.
                            Linear feet on water adjusted at $50,000.

                            The above site sales provide an adjusted indicated value range from a low end of $28,755,600 to high end of $42,599,600

                            The most recent sales support an indicated value of $36,000,000 for the vacant site.




                                                                                     Addendum Page 2 of 2
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                                                                      A-067

                                       Case 1:24-cr-00548u9JECT         nzaoxo nuwloaansn8/24      Page 12 of 31
                    Client: Tri Star Sports and Entertainment Group                      File No.: 22072602
                    Property Address: 2 Star Island Dr                                     Case No.:
                    City: Miami Beach                                          State: FL                 Zip: 33139




                                                                                            FRONTVIEWOF
                                                                                            SUBJECT PROPERTY

                                                                                            Appraised Date: June 28, 2022
                                                                                            Appraised Value: $48,500,000




                                                                                            REAR VIEW OF
                                                                                            SUBJECT PROPERTY




                                                                                            STREETSCENE
(70 of 239), Page 70 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 70 of 239
                                                                                          A-068

                                        Case 1:24-cr-00542-ALC              Doauhmnfngqs                                Filed 09/18/24         Page 13 of 31
                    Client: Tri Star Sports and Entertainment Group                                                                    File No.: 22072602
                    Property Address: 2 Star Island Dr                                                                                 Case No.:
                    City: Miami Beach                                                                                  State: FL                         Zip: 33139




                    Main residence front view                                                            Main residence rear view




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                    Main residence side view                                                             Front guest house




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                    Front guest house side view with stairs                                              Front guest house first floor entry

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(71 of 239), Page 71 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 71 of 239
                                                                                          A-069

                                        Case 1:24-cr-00542-ALC              Doauhmnfngqs                                Filed 09/18/24      Page 14 of 31
                    Client: Tri Star Sports and Entertainment Group                                                                 File No.: 22072602
                    Property Address: 2 Star Island Dr                                                                              Case No.:
                    City: Miami Beach                                                                                  State: FL                  Zip: 33139




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                    Covered areas                                                                        Natural roofs on exterior buildings




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                    Natural roofs on exterior buildings                                                  Side view guest house and lush landscaping




                    W adding pool                                                                        Large pool

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(72 of 239), Page 72 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 72 of 239
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                                         Case 1:24-cr-00542-ALC                        Doauhmnfngqs                                 Filed 09/18/24     Page 15 of 31
                    Client: Tri Star Sports and Entertainment Group                                                                            File No.: 22072602
                    Property Address: 2 Star Island Dr                                                                                         Case No.:
                    City: Miami Beach                                                                                              State: FL                 Zip: 33139




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                    Site and amenities                                                                               Natural roofs on exterior buildings




                    Rear of main house with pools and amenities                                                      Dock, deck, seawall




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                    View                                                                                             Dock, deck, seawall

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(73 of 239), Page 73 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 73 of 239
                                                                      A-071

                                        Case 1:24-cr-00BMIRAHABIJB        8oTa¥n@in>Bsnl:nwQ4 Page 16 of 31
                    Client: Tri Star Sports and Entertainment Group                       File No.: 22072602
                    Property Address: 2 Star Island Dr                                    Case No.:
                    City: Miami Beach                                         State: FL                  Zip: 33139




                                                                                           COMPARABLE SALE #1


                                                                                           34 Star Island Dr
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: s01/22,001/22
                                                                                           Sale Price: $ 30,000,000




                                                                                           COMPARABLE SALE #2


                                                                                           8 Star Island Dr
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: s12/21,012/21
                                                                                           Sale Price: $ 75,000,000




                                                                                           COMPARABLE SALE #3


                                                                                           46 Star Island Dr
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: s03/21 ,c02/21
                                                                                           Sale Price: $4 38,000,000
(74 of 239), Page 74 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 74 of 239
                                                                      A-072

                                        Case 1:24-cr-00BMIRAHABIJB        8oTa¥n@in>Bsnl:nwQ4 Page 17 of 31
                    Client: Tri Star Sports and Entertainment Group                       File No.: 22072602
                    Property Address: 2 Star Island Dr                                    Case No.:
                    City: Miami Beach                                         State: FL                  Zip: 33139




                                                                                           COMPARABLE SALE #4


                                                                                           13 Star Island Dr
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: s08/20,007/20
                                                                                           Sale Price: $ 32,500,000




                                                                                           COMPARABLE SALE #5


                                                                                           1 Star Island Dr
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: s07/21 ,c03/21
                                                                                           Sale Price: $ 35,000,000




                                                                                           COMPARABLE SALE #6


                                                                                           276 Bal Bay Dr
                                                                                           Bal Harbour, FI 33154
                                                                                           Sale Date: 506/22,603/22
                                                                                           Sale Price: $41 ,500,000
(75 of 239), Page 75 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 75 of 239
                                                                      A-073

                                        Case 1:24-cr-00BMIRAHABIJB        8oTa¥n@in>Bsnl:nwQ4 Page 18 of 31
                    Client: Tri Star Sports and Entertainment Group                       File No.: 22072602
                    Property Address: 2 Star Island Dr                                    Case No.:
                    City: Miami Beach                                         State: FL                    Zip: 33139




                                                                                           COMPARABLE SALE #7


                                                                                           30 Palm Ave
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: Active
                                                                                           Sale Price: $43,000,000




                                                                                           COMPARABLE SALE #8


                                                                                           45 Star Island Dr
                                                                                           Miami Beach, FI 33139
                                                                                           Sale Date: Active
                                                                                           Sale Price: S 28,900,000




                                                                                           COMPARABLE SALE #9




                                                                                           Sale Date:
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(76 of 239), Page 76 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 76 of 239
                                                                                                                    A-074

                                     Case 1:24-cr-00542-ALC                                           Document 13-1                         Filed 09/18/24                               Page 19 of 31
                                                                                                        FLOORPLAN SKETCH
                     Client: Tri Star Sports and Entertainment Group                                                                                                 File No.: 22072602
                     Property Address: 2 Star Island Dr                                                                                                              Case No.:
                     City: Miami Beach                                                                                                       State: FL                              Zip: 33139




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(77 of 239), Page 77 of 239 Case: 24-2606, 10/08/2024, DktEntry: 16.2, Page 77 of 239
                                                                                                  A-075

                                     Case 1:24-cr-00542-ALC                        Document 13-1                                  Filed 09/18/24            Page 20 of 31
                                                                                 DIMENSION LISTADDENDUM
                     Client: Tri Star Sports and Entertainment Group                                                                                File No.: 22072602
                     Property Address: 2 Star Island Dr                                                                                             Case No.:
                     City: Miami Beach                                                                                              State: FL                      Zip: 33139              V

                                                                 GROSS BUILDING AREA (G BA)                                                     14,783
                                                                 GROSS LIVING AREA (GLA)                                                        14,783
                                                                 Area(s)                                Area                     %ofelLA %oIGBA
                                                                 Living                                     14,783                           100.00
                                                                 Level 1                                     8,540                  57.77       57.77
                                                                 Level 2                                     6,243                  42.23       42.23
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                                                                 Other                                           0                   0.00        0.00
                                                                                  GBA
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                                                                 Garage           O                           1,793
                                                                 Other            o                           1,341



                                                      Area Measurements                                                                      Area Type
                                      Measurements                    Factor             Total                Level1 LeveI2 Level3 Other                     Bsmt. Garage

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                                          3.00    X     24.00     X       1.00            72.00                   O                X         O          0     O       O
                                          1.00    X     51 .00    X       1.00            51 .00                  O                X         O          0     0       0
                                         17.80    X     49.60     X       1,00           882.89                   0                X         0          0     0       0
                                         27.10    X     86.00     X       1.00           33061                    0                X         O          O     O       O
                                         11.00    x      9.70     X       1.00           106.70                   O                X         O          O     O       O
                                         51 .70   X     44.00     X       1.00         2,274.81                   O                X         O          0     O       0
                                         49.80    X     23.30     X       0.44           512.60                   0                X         O          0     O       0
                                         14.10    X     12.50     X       1.00           176.25                   X               Q          0          0     0       0
                                          1.50    x     13.90     X       1.00            20.85                   X               O          O          0     O       O
                                         17.80    x     55.80     X       1.00           993.24                   X               O          O          O     O       O
                                          2.60    x     25.90     X       1.00            67.34                   X               O          O          O     O       O
                                         27.10    X     89.60     X       1.00         2,428.16                   X               Q          O          0     O       0
                                         14.60    x     18.70     X       1.00           273.02                   X               Q          O          0     0       0
                                         51 .70   X     44.00     X       1.00         2274.83                    X               O          O          0     0       0
                                         49.80    X     23.30     X       0.44           512.60                   X               O          O          O     O       0
                                          4.90    X      5.60     X       1.00            27.30                   O               O          O          O     O       X
                                         20.50    X     15.00     X       1.00           307.07                   O               Q          O          0     O       X
                                         40.00    x     19.70     X       1.00           786.84                   0               Q          O          0     O       X
                                         13.40    x      7.10     X       1.00            94.75                   0               Q          O          0     O       X
                                          9.80    X      4.60     X       0.50            22.32                   C1              O          O          O     O       X
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                                         15.40    X     26.40     X       0.33           134.90                   O               O          O          0     O       X
                                         33.90    X     39.20     X       0.25           333.71                   0               Q          O          0     O       X
                                          7.10    x     10.00     X       0.35            25.00                   3               0          O          0     O       X
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                                         20.50    X     15.00     X       1.00           307.07                    X              O          O          O     O       O
                                         40.00    X     10.70     X       1.00           786.84                    X              O          O          O     O       0
                                         13.40    X      7.10     X       1.00            94.75                    X              O          O          0     O       0
                                          9.80    x      4.60     X       0.50            22.32                    X              O          O          0     O       0
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                                                                             A-076

                                     Case 1:24-cr-00542-ALC              Document 13-1   Filed 09/18/24     Page 21 of 31
                                                                              PLAT MAP
                     Client: Tri Star Sports and Entertainment Group                                  File No.: 22072602
                     Property Address: 2 Star Island Dr                                               Case No.:
                     City: Miami Beach                                                    State: FL                  Zip: 33139




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                                                                                    A-078

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                                                                                 LOCATION MAP
                     Client: Tri Star Sports and Entertainment Group                                                  File No.: 22072602
                     Property Address: 2 Star Island Dr                                                               Case No.:
                     City: Miami Beach                                                                  State: FL                    Zip: 33139


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                                                            North Miami



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                                                                                     46 Star Island Dr
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                               30 Palm Ave                                                                     8.13 miles NW

                               0.46 mile; NW


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                                                                                                             Imiami Beach FL33139
                                                                                                              =0.18 miles NE
                                   2 Star Island Dr
                                   Miami Beach FL33139




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                                                                           A-079

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                                                                           AERIAL MAP
                     Client: Tri Star Sports and Entertainment Group                                 File No.: 22072602
                     Property Address: 2 Star Island Dr                                              Case No.:
                     City: Miami Beach                                                   State: FL                  Zip: 33139
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                                                                     Market Conditions Addendum to the Appraisal Report                                                                            File No. 22072602
                          The purpose of this addendum is to provide the lender/client with a clear and accurate understanding of the market trends and conditions prevalent in the subject neighborhood. This is a required
                          addendum for all appraisal reports with an effective date on or alter April 1, 2009.
                      l Property Address 2 Star Island Dr                                                                         City Miami Beach                                             State FL          Zip Code 33139
                          Borrower 2 West Star Island LLC
                   II     Instructions: The appraiser must use the information required on this form as the basis for his/her conclusions, and must provide support for those conclusions, regarding housing trends and


                    II
                          overall market conditions as reported in the Neighborhood section of the appraisal report form, The appraiser must fill in all the information to the extent it is available and reliable and must provide
                          analysis as indicated below. It any required data is unavailable or is considered unreliable, the appraiser must provide an explanation. It is recognized that not all data sources will be able to


                     II
                          provide data for the shaded areas below: if it is available, however, the appraiser must include the data in the analysis. If data sources provide the required information as an average instead of the
                          median, the appraiser should report the available figure and identify it as an average. Sales and listings must be properties that compete with the sublect property, determined by applying the criteria
                          that would be used by a Drostbective buyer of the subject Drobert f. The appraiser must explain any anomalies in the data, such as seasonal markets, new construction, foreclosures, etc.
                          Inventory Analysis                                                    Prior 712 Months         Prlor4-6 Months             Current - 3 Months                             Overall Trend
                      | Total # of Comparable Sales (Settled)                                         43                          to                            is        O increasing          IO S t a b l e           lx      Declining
                      | Absutptlon Rate (Total SaleslMunths)                                        7. 17                       5.33                       4.33           O increasing          IO S t a b l e           lx      Declining
                      | Total # of Comparable Active Listings                                         39                         41                             45               Declining            Stable             lx      Increasing
                          Months of Housing Supply (Total Listings/Ab.Rate)
                          Median Sale & List Price, DOM, Sale/List %
                                                                                                    5.44
                                                                                                Prior 712 Months
                                                                                                                                7.69
                                                                                                                         Prlor4-6 Months
                                                                                                                                                          10.39
                                                                                                                                                     Current - 3 Months
                                                                                                                                                                          8      Declining      18 Stable
                                                                                                                                                                                                    Overall Trend
                                                                                                                                                                                                                         lx      Increasing


                      l Median Comparable Sale Price                                            12,250,000               10,425,000                   13,600,000                 Increasing     | X Stable                       Declining
                      l Median Comparable Sales Days on Market                                      71                           67                             68               Declining      | X Stable               =8 Increasing
                   T Median Comparable List Price                                               21,500,000               16,999,000                   16,500,000          D IncreasIng          10 Stable                | X Declining

                   1,_4 Median Comparable Listings Days on Market
                        Median Sale Price as % of List Price
                                                                                                     203
                                                                                                   91 .42%
                                                                                                                                155
                                                                                                                             93.71 %
                                                                                                                                                            116
                                                                                                                                                         97.14%
                                                                                                                                                                              X Declining
                                                                                                                                                                              X Increasing
                                                                                                                                                                                                O Stable
                                                                                                                                                                                                11] Stable
                                                                                                                                                                                                                         O In c r e a s i n g
                                                                                                                                                                                                                         H] Declining
                   3 Seller-(developer, builder, etc )paid financial assistance prevalent°         O Yes          X No                                                    la Declining          | X Stable               n o In c r e a s i n g
                   l
                   II
                   '.` Explain in detail the seller concessions trends for the past 12 months (e.g., setlet contributions increased from 3% to 5%, increasing use 01 buydowns, closing costs, condo fees, options, etc).
                      MatrixMLS reported 3 sales had closed in the past year from the defined market with seller contributions that were last than 1%. Based
                   g on data seller contributions are not common or needed in this market.
                   E
                   or
                   g

                          Are foreclosure sales (REO sales) elector in the market?     [ 1 Ve s      X No          If yes, explain (including the trends in listings and sales 01 foreclosed properties).
                          MatrixMLS reported NO REO or SHORT SALES had closed in the past year from the defined market and NO ACTIVE REO or SHORT
                          SALE LISTINGS reported as of the effective date of the appraisal report.




                          Cite data sources ior above intormation. MatrixMLS was used for current and historic sales and listings data of residential properties located in
                      nMiami-Beach on Bay Front Sites.

                          Summarize the above information as support for your conclusions in the Neighborhood section of the appraisal report form. If you used any additional information, such as an analysis of
                          pending sales and/or expired and withdrawn listings, to formulate your conclusions, provide both an explanation and support for your conclusions.
                          For the purpose of this report analysis a trend is defined as two or more consecutive quarters of statistical movement in the same
                          direction. Area values were increasing up thru May 2022 as interest rates increased. Market is currently stabilizing. The total number of
                          settled sales and the absorption rate declined. The total number o9f active listings and months of housing supply increased. The
                          median sales price fluctuated and is reported as stable. The median listing price declined slightly. The days on market for well priced

                   3      listings has been within 90 days or less but can take longer for the higher priced properties. The list to sale ratio increased. Overall this
                          market appears to be stabilizing and current supply is considered to be in balance with current demand.


                          It the subject is a unit in a condominium or cooperative proiecl , complete the following :                                                                   Project Name:
                          Subject project Data                                              | Prior 712 Months I         Prior 46 Montns I Current - 3 Months             I                        Overall Trend
                          Total # of Comparable Sales (Settled)                             |                        |                                                    O Increasing          No Stable                O Declining
                          Absorption Rate (Total SaleslMontns)                              |                        |                           =                        IO increasing         O Stable                 O Declining
                          Total # of Aotive Comparable Listings                             |                        |                           I                        l[j Declining         O Stable                 IC] Increasing
                          Months of Unit Supply (Total Listings/Ab, Rate)                   |                        |                                                    O Declining           O Stable                 11] Increasing
                          Are foreclosure sales (REO sales) a factor in the protect?    l a Ve s     Q No          If yes, indicate the number 01 REO listings and explain the trends in listings and sales of foreclosed properties.




                          Summarize the above trends and address the impact on the subject unit and project.




                             AP P RAIS E R                                                                                                SUPERVISORY APPRAISER (ONLY IF REQUIRED)


                             Signature    _/4 A
                             Name Orna Sariey
                                                                        I                                                                 Signature             @< 0
                                                                                                                                          Name Donald J Sarley, ASA(1F
                             Company Name Advanced Research & Appraisal                                                                   Company Name Advanced Research & Appraisal
                             Company Address 9240 S Cypress Circle                                                                        Company Address 9240 S Cypress Circle
                             Miramar, FL 33025                                                                                            Miramar, FL 33025
                             State License/Certification #Cert Res RD1541                              State FL                           State License/Certification #Cert Res RD259                                   State FL
                             Email Address osarley@qmail.com                                                                              Email Address dsarley@bellsouth.net
                   Freddle Mac Form 71 March 2009                                                      Produced using ACI software 800234 8?2? www aciweb com                                                    Fannie Mae Form 1004MC March 2009
                                                                                                                            Page 1 of 1                                                                                          1004MC_2009090909
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                     aiait Triaurspaluunaenauaimenauun                                                              Hue No.: 22072602
                     Pluuel!vAd&ess: 2Sarhland Dr                                                                   Case No.:
                                                                                                        SUb: FL                     Zp: 33139




                          Market Analysis Comments
                         The number of sales considered to be 'comparable' to the subject that are located within the subjects market area may be
                         too small to be statistically sigrnrcanr and no reliable trends may be identified from limited data. To profess to identify trends
                         based on small data pool can lead to misleading interpretation, analysis and conclusions a violation of me Conduct Section
                         of the Ethics Rule of USPAP, Al times the defined area has to be expanded to provide an adequate number d area sales
                         and may exceed the defined neighborhood area boundaries. Based on Fannie Mae's FAQ's when tore is limited data that
                         is statistically meaningful no weight should be attributed to the Overall Trend boxes checked on the 1D04MC or to the
                         conclusion of Me market trends reported on page 1 of the URAR. Additionally, the number of 'comparable sales and Iistfrgs'
                         reported on page 2 of tire URAR may mt always be the same as the numbers reported on the t004MC and is most likely
                         due to the different criteria used in garerating me statistical reports, The reported number of competing listings reported on
                         page 2 may not always equal the total number of listings reported on the 1004MC as this data also inckldes sales that have
                         closed, expired, were cancelled, etc., while the number of listings reported on page 2 d the URAR includes only prppenies
                         that are 'comparable' aM available as of the effective date of the appraisal.

                          Local area values experienced a decline in towards the end of 2006 and early 2007; the decline continued thru 2010.
                          Between 2011 mm the current date market conditions stabilized and various periods of stability with some small increased
                          were observed, wrrentty market conditions appear stable and are projected to remain stable, Cunentty there is a 10.4+-
                          month's supply of housing iiventory. Sellers are receiving approximately 97% of list prim as of the most recent quartaty
                          data. Seller concessions although not prevalart or needed in this market. Sales of tlese type properties are usualy al cash
                          transactions and current increase ii interest rates wil not have an affect on the high and market.

                          The World Health Organization declared the Novel Corunavius (COVID-19) a global pandemic Mardi 11, 2020. The
                          influence COVID-19 has, md wHI have, on capital markets, real estate in general, and the asset I subject property beiig
                          analyzed is currently unknown and will largely depend on the scale and duration of me outbreak. Under these current
                          conditions, it is particularly difficult to quantify and assess the influence on market value(s) Importantly, the appraisal is
                          based on the information available as of the current efledwe date of valuation. Changes n the physical status of the subject
                          properly, income and expenses, investment criteria, availability of finmci\g. and overall market conditions may change
                          rapidly and materially for the foreseeable future, and pemaps much longer.
                          • The uncertainties around the effects of the COVlD»19 pandemic on Real Estate created very dynamic and changeable
                          market conditions that may vary between markets. Market uncertainty may well have an efled on property values and
                          property use, utility, occupancy, marketability, income-producing capacity and marketing times going forward. The client may
                          consider having the properly re-appraised once market conditions have stabilized and the curTer levels of uncertainty have
                          abated,

                          Federal Housing Finance Agent/ ieports alea values increased 22% between the First quarter of 2021 and the first quartet
                          of 2022. wim the iecent interest rate increase the market appears to stabiize after May 2022.




                                                                                 l dII!\l i mFEq!l dl
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                                                                                                                                                                                 File No. 22072602
                                                                                            USPAP ADDENDUM
                     Borrower: 2 West Star Island LLC
                     Property Address: 2 Star Island Dr
                     City:     Miami Beach                         County: Miami-Dade                                                                         State: FL         Zip Code: 33139
                     Lender/Client:Tri Star Sports and Entertainment Group


                     APPRAISALAND REPORT IDENTIFICATION
                     This appraisal report is one of the following types:
                       X Appraisal Report                       This report was prepared in accordance with the requirements of the Appraisal Report option of USPAP Standards Rule 2-2[a).
                      [I Restricted Appraisal Report            This report was prepared in accordance with the requirements of the Restricted Appraisal Report option of USPAP Standards Rule 2-2(b).
                                                               The intended user of this report is limited to the identified client. This is a Restricted Appraisal Report and the rationale tor how the
                                                               appraiser arrived at the opinions and conclusiohs set forth in the report may not be understood properly without the additional
                                                                information in the appraiser's worklile.




                     ADDITIONAL CERTIFICATIONS
                     I certify that, to the best of my knowledge and belief:
                        - The statements of fact contained in this report are true and correct.
                          The report analyses, opinions, and conclusions are limited only by the reported assumptions and are my personal, impartial, and unbiased professional
                          analyses, opinions, and conclusions.
                        - I have no (or the specified) present or prospective interest in the property that is the subject of this report and no (or specified) personal interest with respect to
                        the parties involved.
                       - I have n0 bias with respect to the property or the parties involved with this assignment.
                       - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
                       - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors
                         the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the
                         intended use of this appraisal.
                       - My analyses, opinions, and conclusions were developed and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal
                        Practice.
                       - This appraisal report was prepared in accordance with the requirements of Title Xl of FIRREA and any implementing regulations.


                     PRIOR SERVICES
                      X I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year period
                         immediately preceding acceptance of this assignment.
                      QI HAVE performed services, as an appraiser or in another capacity, regarding the property that is subject of this report within the three-year period
                         immediately preceding acceptance of this assignment. Those services are described in the comments below.


                     PROPERTY INSPECTION
                      [I I have NOT made a personal inspection of the property that is the subject of this report.
                       X I HAVE made a personal inspection of the property that is the subject of this report.


                     APPRAISAL ASSISTANCE
                     Unless otherwise noted, no one provided significant real property appraisal assistance to the person signing this certification. If anyone did provide significant
                     assistance, they are hereby identified along with a summary of the extent of the assistance provided in the report.
                    None




                     ADDITIONAL COMMENTS
                     Additional USPAP related issues requiring disclosure and/or any state mandated requirements:
                    See Attached Addendum




                     MARKETING TIME AND EXPOSURE TIME FORTHE SUBJECT PROPERTY
                       X A reasonable marketing time for the subject property is 180-365+                     day(s) utilizing market conditions pertinent to the appraisal assignment.
                       X A reasonable exposure time for the subject property is 180-365+                      day(s).


                      APPRAISER                                                                                             SUPERVISORY APPRAISER (only if required):



                      Signature:    O
                      Name: Orna Sarley
                      Date Signed: 08/09/2022
                                                           -                                                                Signature: L

                                                                                                                            Date Signed: 08/09/2022
                                                                                                                                                    9)mJ 0.
                                                                                                                            Name: Donald J Sarley, Asp( IFi4 SRA                         I

                      State Certification #: Cert Res RD1541                                                                State Certification #: Cert Res RD259
                      or State License #:                                                                                   or State License #:
                      or Other (describe):                         State #3                                                 State: FL
                      State: FL                                                                                             Expiration Date of Certification or License: 11/30/2022
                      Expiration Date of Certification or License: 11/30/2022                                               Supervisory Appraiser inspection of Subject Property:
                      Effective Date of Appraisal: June 28, 2022                                                            0 Did Not                    D Exterior-only from street   X Interior and Exterior

                                                                                           Produced using ACI software, 800 234 8?2? w w w aclw eb com                                                USPAP 14GP05042020
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                     Client: Tri Star Sports and Entertainment Group                                                   File No.: 22072602
                     PropertvAddress: 2 Star Island Dr                                                                 Case No.:
                     City: Miami Beach                                                                     State: FL                    Zip: 33139




                            Additional Comments
                            Clarification of Intended Use and Intended User:

                            The Intended User of this appraisal report is the Named Clients 'Tri Star Sports and Entertainment Group and 2 West Star
                            Island LLC'. The Intended Use is to evaluate the property that is the subject of this appraisal for Net Worth Valuation, subject
                            to the stated Scope of Work, purpose of the appraisal, reporting requirements of this appraisal report form, and Definition of
                            Market Value. No additional Intended Users are identified by the appraiser.

                            Source of the Market Value Definition is FNMA and or FHLMC.
                            Highest and Best Use is determined based on the legal use per zoning and referenced to surrounding uses on similar sites.
                            Highest and best use is based on area surrounding like uses in this zoning classification in this neighborhood.
                            Highest and best use is defined as "the reasonably probable and legal use of vacant land or an improved property, which is
                            physically possible, appropriately supported, financially feasible, and that results in the highest value."*
                            *The Dictionary of Real Estate Appraisal, 4th Edition, pg. 93

                            A limited inspection of the interior was made by the appraisers and no interior photos were permitted. The appraisers viewed
                            some of the common rooms and were restricted from private and other interior and exterior areas. Assumptions are made
                            pertaining to the floor plan and room layout as the appraisers relied on information provided by the staff members and is
                            assumed to be accurate.




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                                                              Appraiser Independence Certification                                                    File No.: 22072602

                    Borrower:       2 West Star Island LLC
                    Property Address: 2 Star Island Dr
                    City:           Miami Beach                    County: Miami-Dade                                                   State: FL     Zip Code: 33139
                    LenderlClient:  Tri Star Sports and Entertainment Group


                     I do hereby certify, I have followed the appraiser independence safeguards in compliance with Appraisal Independence and any applicable
                     state laws I may be required to comply with. This includes but is not limited 10 the following:

                         |:   I am currently licensed and/or certified by the state in which the property to be appraised is located. My license is the appropriate
                              license for the appraisal assign ment(s) and is reflected on the appraisal report.

                         m    I certify that there have been no sanctions against me for any reason that would impair my ability to perform appraisals pursuant to
                              the required guidelines.


                     I assert that no employee, director, officer, or agent of the LenderlClient, or any other third party acting as joint venture partner, independent
                     contractor, appraisal company, appraisal management company, or partner on behalf of the LenderlClient, influenced or attempted to
                     influence the development, reporting, result, or review of the appraisal through coercion, extortion, collusion, compensation, inducement,
                     intimidation, bribery, or in any other manner.

                     I further assert that the Lender/Client has never participated in any of the following prohibited behavior in our business relationship:

                         1. Withholding or threatening to withhold timely payment or partial payment for the appraisal report,

                         2. Withholding or threatening to withhold future business, or demoting or terminating, or threatening to demote or terminate my services,

                         3. Expressly or implicitly promising future business, promotions, or increased compensation for my services,

                         4. Conditioning the ordering of the appraisal report or the payment of the appraisal fee or salary or bonus on my opinion, conclusion or
                              valuation reached, or on a preliminary value estimate requested,

                         5. Requesting an estimated, predetermined, or desired valuation in the appraisal report, prior to the completion of the appraisal report,
                              or requesting estimated values or comparable sales at any time prior to the completion of the appraisal report,

                         6. Providing an anticipated, estimated, encouraged or desired value for the subject property, or a proposed or target amount to be loaned
                              to the Borrower, except that a copy of the sales contract may have been provided if the assignment was for a purchase transaction,

                         7. Providing stock or other financial or non-financial benefits to me or any entity or person related to me, my appraisal or appraisal
                              management company, if applicable,

                         8. Any other act or practice that impairs or attempts to impair my independence, objectivity or impartiality, or violates law or regulation,
                              including but not limited to, the Truth in Lending Act (TILA) and Regulation Z, or the Uniform Standards of Professional Appraisal
                              Practice (USPAP).


                     Additional Comments:




                     APPRAISERI                                                                             SUPERVISORY APPRAISER (only if required):


                     Signature:
                     Name:
                                       _   _ . -__
                                    Orna Sarley
                     Date Signed: 08/09/2022
                                                       4                  NU_                               Signature:
                                                                                                            Name:
                                                                                                                                          c         W4
                                                                                                                           Donald J Sarley, ASA, IFA, SR
                                                                                                            Date Signed: 08/09/2022
                     State Certification #3 Cert Res RD1541                                                 State Certification #: Cert Res RD259
                     or State License #:                                                                    or State License #:
                     or Other (describe):                   State #:                                        State:         FL
                     State:         FL                                                                      Expiration Date of Certification or License: 11/30/2022
                     Expiration Date of Certification or License: 11/30/2022


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                                                                                           Appraisal Report
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                                       Ron DeSantis, Governor                                                           Halsey Beshears,5e4:retary     H- n d a



                                                        STATE OF FLORIDA
                                                                                                                                                     dE>l®r
                                       DEPARTMENT OF BUSINESS AND PROFESSIONAL REGULATION

                                                           FLORIDA REAL ESTATE APPRAISAL BD
                                         THE CERTIFIED RESIDENTIAL APPRAISER HEREIN IS CERTIFIED UNDER THE
                                                      PROVISIONS OF CHAPTER 475 FLQRIDA STATUTES




                                                                              SARLEY,
                                                                         979 MIRAMAR pzr§wAy sulTE,.1;J
                                                                             MIRAMAR
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                                                                                                  FL 33023
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                                     Ron [JeSantk.. Govemur                                                         Halsey Eieshears, Secretary
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                                                     STATE OF FLGRIDA
                                    DEPARTMENT OF BUSINESSAND PROFESSIONAL REGUL4TlON

                                                         FLORIDA REAL ESTATE APPRAISAL BD
                                        THE CERTIFFED RESIDENTIAL APPRATSER HEREIN iS CERTIFIED UNDER THE
                                                    PRQVIS3ONS i)F CHAPTER 4754 FLORID£.§ATUIES



                                                                8/-8                 :,

                                                                        SARLEY
                                                                       ?79 NHRAMAR PARKWAY SUITE I
                                                                          HRAMAR       FL 33023
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                                                         I                 LICENSE NUMBER: RD253
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                                                                 EXPIRATION DATE: NOVEMBER ao, 2022
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                                                EXHIBIT 2
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                                                                                          CFN; 202408573   BOOK 34383 PAGE 1101
                                                                                          DATE108f28¢'2024 11:53:47 AM
                                                                                          JUAN FERNANDEZBARQUW
                                                                                          CLERK OF THE COURT & COMPTROLLER
                                                                                          MIAMI-DADE COUNTY, FL
                   Prepared by and after recording
                   please return to:

                   Nathan M. Eisler, Esq.
                   Greenberg Traurig, LLP
                   l North Lexington Avenue, Suite 800
                   White Plains, NY 1060 l




                                                           {Spac:e Above for Recorde1"s Use)

                                                     SATISFACTION OF MORTGAGE
                                                                          _                         49
                        THIS SATISFACTION OF MORTGAGE IS executed as of the 22»6f August, 2024, by
                   BANK OF AMERICA, N.A., national bauLking association (the "I.cndcr").

                          WTIEREAS, the Lender is the owner and holder of that ccitain Mortgage dated May ?,
                   2021 (the "Mortgage"), made by 2 West Star Island LLC, a ]~`lorida limited liability company (the
                   "Borrowcl'"), in Favor of the Lender, securing that certain Adj ustablc Rate Note dated May 7, 202 l
                   (the "Nole"), made by the Borrower in favor of the Lender in the original principal amount of
                   $18,850,000.00, which Mortgage was recorded on June l, 202] at File No. 20210387335 in
                   Official Records Book 32538, Page 4782 of the Public Records of the Clerk of Court for Miami-
                   Dade County, Florida, enculnbering ce11ai11 properly situated in Miami-Dade County Florida as
                   more particularly described on Exhibit A attached hereto and made a part hereof (the "Propol'ty"].

                          NOW THEREFORE, in consideration of the foregoing premises and for other good and
                   valuable consideration, the receipt and sufficiency of which arc hereby acknowledged, the Lender
                   hereby agrees as follows :

                           I        Truth of Recitals, The foregoing recitals are true and correct and are incorporated
                                    heroin by this 1'efe1'ence, as though recited in full herein.

                           2.       Satisfaction of Note and Termination of Mortgage. The indebtedness under the
                                    Note in the principal amount of $18,850,0{]().(}{} scoured by the Moltgagc has been
                                    fully satisfied as of the date hereof, and the Note and the Mortgage shall hereafter
                                    be of no further force or effect. The Lender hereby directs the Clerk of the Circuit
                                    Court in and [Br Miami-Dade County, Florida to cancel the Mortgage o[ll7eco1'd .

                                           [THIS SPACE IS [NTENTIQN/\{.I,Y LEFT BLANK]




                   ACTIVE 7010]4432V1
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                           IN WITNESS WHEREOF, the Lender has caused this instrument to be executed as of the
                   date first above written.


                                                                                     LEnD133=

                                                                                     BANK OF AMERICA, NA.,
                                                                                     a 11a}»lional banking as§9Qiatic}=r



                                                                                     By:    ..
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                   STATE OF                   l Mba .]:<=°, Ki VI L            )
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                   COUNTY OF                     't_>\11'1 f§' I/\ ¢`. "   '
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                           The foregoing iiisuumcnt was acknowledged before me, .by means of U physical presence
                                                                      .

                   of [_] online notarization, this r:=. Q day of August, 2024, by I ) l.ll. la,... f I.l> l>~cff r 'i
                   4              ..     "|
                                                                                                                            ,as
                    »~    i \
                        "of   M l L» ,
                                  111.
                                       .<3 -51 go of Bank of Amcrica,   N.A., a national banking     association,   on behalf of
                   such parties. fH§:i'She personally appeared before me and isrpersonally knowrto me or produced
                                                       as identification.                             ""
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                                                                                                               l                                 |     4
                                                                                                                         Jr..                   .1 _   Q                 .
                                                                                                 Notary: l ...      j i',4" . .
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                              [NQTARIAL SEAL]                                                    Print Name : 4 FJ' J in           -.I)rI¢"1       F 49 -.H
                                                                                                 Notary Public
                                                                                                 My Commission Expires: /                            /4, Q L' ,of
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                                                                                                               nOTARY PUBLIC
                                                                                                           STATE OF FIHODE ISLAND
                                                                                                   NW QQMMIQSIQn EXPIRES APRIL 06. 2025




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                                                                 A-090

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                                                                                       CFN: 20240657305 OOK 34383 PAGE 1103




                                                               §;XH_I8IT A.

                                                             Legal Description


                      The Land miknud to herein below is situazod in the may it' Miarni Beach, County of MIAMI-
                      DADE, Stare of Florida, am! is described as fukrws:

                      Lat 1, ccmlwr.T£n FLAT STAR lr4l.,Ann, according In the plat thennnf, as iwecncded in Plat
                      Bunk 3 I . an Page 69, of the Public Records of Miami-bade County. Florida, as allcral in the
                      Cil'¢:ull Caun of the Eleventh judicial Circuit, in and for Dad: County, Flunldn, at Law Nu.
                      601. I 986, Final ludgalcnt, Renwick vs. Franscila, mon: particularly described as fallows:




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                      to the right an arc distance of 3?.2l feel, through a :enual angle of 2] °l9' I0" and a chord




                      curve having a radius of SONF                                                         2


                                                                                                     udly along the atc of



                                                                                                        or of said Lot 2-




                                                                                                  I fonlm in said Final
                      Judgment a distance of 248.30 Fed to the Pain: of Beginning.

                      Together with the exclusive right no occupy and appropriate a 10.00 fan: strip of land contiguous
                      with loc Suuihwealcliy jin: of #1: C'DRRE=C'¥'ED FLAT STAR l8l.ANI:), lying Suulhweslcrly
                      thereufl the tiedicalion of said strip of land rewarded in Dead Book 1858, at Page 3?.?, of the
                      Pubtk! Records of Miami»lJad¢ County, 8l9n¢a.




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                                                           AGNIFILO
                                                          INTRATER

                                                            April 1, 2024

                  VIA EMAIL
                  AUSA Emily Johnson
                  AUSA Mitzi Steiner
                  AUSA Madison Smyser
                  United States Attorney's Office
                  Southern District of New York
                  1 St. Andrews Plaza
                  New York, NY 10007

                         Re:     Investigation of Sean Combs

                  Dear AUSAs Johnson, Steiner and Smyser:

                          As you know, we represent Mr. Sean Combs with respect to the ongoing investigation by
                  your Office into violations of Title 18, United States Code, Sections l962(d), 1589, 1591, 1594,
                  2421 through 2422, 1512, and 2, and Title 21, United States Code, Section 846. We write to inform
                  you that Teny Geragos, partner at this law firm, has taken physical custody of Mr. Combs' passport
                  and will retain the passport. Mr. Combs will not secure any other travel documents and will remain
                  in the United States during the pendency of this investigation.

                         In terms of domestic travel, we will advise you in advance of any travel within the
                  continental United States. Thank you.


                                                          Very Truly Yours,




                                                           Marc Agnifilo




                    MARC AGNIFILO                      ZACH INTRATER                      TENY GERAGOS
                    marc@agilawgroup.com                zach@agilawgroup.com              teny@agilawgroup.F>om

                   445 PARK AVE, TTH FLOOR I NEW YORK, NY 10022 I WWW.AGILAWGROUP.COM
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                                                EXHIBIT 4
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                                                          Tuesday, September 17, 2024 at 00:36:56 Eastern Daylight Time

                Subject: Re: Sean Combs
                Date:    Monday, March 18, 2024 at 1:35:36 PM Eastern Daylight Time
                From: Marc Agnifilo
                To:       emily.johnson@usdoj.gov, mitzi.steiner@usdoj.gov
                CC:       Zach Intimater, Teny Geragos


                Hello AUSAs Johnson and Steiner -

                Just following up on the email from last Wednesday. If you have a few minutes to touch base, I
                would really appreciate it. There is a situation that I would like to bring to your attention. Thank
                you. Marc

                Marc Agnifilo
                Agnifilo Intimater LLP
                445 Park Avenue, 7th FI.
                New York, NY 10022
                MY fc@_3gil3wg@p.com
                www.agilawgroup.com




                From: Marc Agnifilo <marc@_agilawgroup.com>
                Date: Wednesday, March 13, 2024 at 4:33 PM
                To: emil;4johnson@usdoj_.g           <emily_.johnson@usdoj_.g<>, mitzi.steiner@usdoj_.g
                <mitzi.steiner@usdoj_.g>
                Subject: Sean Combs

                Good afternoon AUSAS Johnson, Steiner and Smyser (I apologize AUSA Smyser, I could not find your
                email address)

                My name is Marc Agnifilo and I represent Sean Combs in connection with your investigation. I know
                we have never met, but I would like to speak with you and provide you with information that has
                come to my attention over the last couple of weeks. My cell phone is 917.399.9742. Thank you. I
                look forward to meeting you.

                Marc




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                                                EXHIBIT 5
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                                                           Tuesday, September 17. 2024 at 00:43:32 Eastern Daylight Time

                Subject: RE: Combs Travel
                Date:     Monday, June 10, 2024 at 10:48:20 PM Eastern Daylight Time
                From:     Steiner, Mitzi (USANYS)
                To:       Tony Geragos, Johnson, Emily (USANYS)2, Smyser, Madison (USANYS), Foster, Meredith (USANYS)
                CC:       Marc Agnifilo


                CAUTION: This email originated from outside of die organization. Do not click links or open
                attachments unless you recognize the sender and know the content is safe                .
                Received, thanks Teny.


                From: Teny Geragos <teny_@_agilawgroup.com>
                Sent: Monday, June 10, 2024 10:35 PM
                To: Johnson, Emily (USANYS) 2 <EJohnson2@usa.dojg>; Steiner, Mitzi (USANYS)
                <MSteiner@usa.dojg>; Smyser, Madison (USANYS) <MSmyser ysa.dojg>> Foster, Meredith
                (USANYS) <MFoster@usa.dojgg>
                Cc: Marc Agnifilo <marc@_agilawg p.com>
                Subject: [EXTERNAL] Re: Combs Travel

                Good evening - Mr. Combs departed OPF at 10:24pm EDT and is expected to land at VNY at
                12:17am PDT.

                Teny R. Geragos
                Agnifilo Intimater LLP
                445 Park Avenue, 7th FI.
                New York, NY 10022
                o: (646) 205 - 4350
                c: (213) 440 - 4401
                   y_@3gilawg      p.com
                www-a8ila1m8£Ql1n&Qm

                *admitted in NY & CA

                From: Johnson, Emily (USANYS) 2 <EmilyJohnson@usdoj gg_/>
                Date: Sunday, June 9, 2024 at 8:15 PM
                To: Teny Geragos < ;L@3gilawgroup.com>, Steiner, Mitzi (USANYS)
                <Mitzi.steiner@usdQjgm>, Smyser, Madison (USANYS) <MadisQn.Smyser@usdQL8@>.
                Foster, Meredith (USANYS) <Meredith.Foster@usdoj_.g<y>
                Cc: Marc Agnifilo <marc agilawg;<p.cQm>
                Subject: Re: Combs Travel

                CAUTION: This email originated from outside of the organization. Do not click links or
                open attachments unless you recognize the sender and know the content is safe.
                Thanks for letting us know.

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                Emily A. Johnson
                Assistant United States Attorney
                United States Attorney's Office
                Southern District of New York
                One Saint Andrew's Plaza
                New York, NY 10007
                212.637.2409
                emil34johnson@usdoj_.g

                From: Teny Geragos < y_@_agilawg p.com>
                Sent: Sunday, June 9, 2024 7:54:30 PM
                                                                  >; Steiner, Mitzi (USANYS)
                To: Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj_.g
                <MSteiner@usa.doj_.go, Smyser, Madison (USANYS) <MSmyser@usa.doj_.g >, Foster, Meredith
                (USANYS) <MFoster@usa.doj_.g>
                Cc: Marc Agnif'ilo <marc@_agilawg p.com>
                Subject: [EXTERNAL] Combs Travel

                Dearall-

                Mr. Combs will be departing from Miami at 6pm tomorrow on his plane for Los Angeles.
                Tuesday, he and his family will depart on their road trip. They will go to Sedona, the Grand
                Canyon, Lake Powell, Zion, and Death Valley. We will be in touch with his flight information back
                to Miami. We hope you all had a nice weekend.

                Best,
                Tony

                Teny R. Geragos
                Agnifilo Intimater LLP
                445 Park Avenue, 7th FI.
                New York, NY 10022
                o: (646) 205 - 4350
                c: (213) 440 4401
                t6Hy_@_3gil3wg@p.com
                WWW.3gil3Wg@P.COM

                *admitted in NY & CA
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                                                EXHIBIT 6
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                                                           Tuesday, September 17, 2024 at 00:44:55 Eastern Daylight Time

                Subject: Re: Mr. Combs Travel
                Date:    Wednesday, August 21, 2024 at 10:51 :45 AM Eastern Daylight Time
                From: Teny Geragos
                To:       Steiner, Mitzi (USANYS), Smyser, Madison (USANYS), Johnson, Emily (USANYS) 2, Foster, Meredith (USANYS)
                CC:       Marc Agnifilo


                Good morning, Mr. Combs is no longer traveling to New York this week.

                Tony R. Geragos
                Agnifilo Intimater LLP
                www.agilawgroup.com

                sent from my iPhone

               From: Teny Geragos <      y_@_agilawg p.com>
               Sent: Friday, August 16, 2024 11:18:55 AM
               To: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj_.g >, Smyser, Madison (USANYS)
               <Madison.Smyser@usdojg >, Johnson, Emily (USANYS) 2 <Emily.Johnson@usdoj_.g                     >, Foster,
               Meredith (USANYS) <Meredith.Foster@usdo]_.g >
               Cc: Marc Agnifilo <marc@_agilawg       p.com>
               Subject: Re: Mr. Combs Travel

                Good morning, all:


                Mr. Combs will not be flying this week, instead, he will be flying to New York on August 21st and leaving
                on August 25th.

               Thanks,
               Teny


                From: Teny Geragos <teny@_agilawgroup.com>
                Date: Thursday, August 8, 2024 at 3:04 PM
                To: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj_.g >, Smyser, Madison (USANYS)
                <Madison.Smyser@usdoj_.g >, Johnson, Emily (USANYS) 2 <EmilyJohnson@usdoj_.g >,
                Foster, Meredith (USANYS) <Meredith.Foster@usdoj_.gc>
                Cc: Marc Agnifilo <marc@_agilawgroup.com>
                Subject: Re: Mr. Combs Travel

                Good evening, all - Mr. Combs will be traveling to New York next week. l will let you know the
                exact date when I have it.

                Teny



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                From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdQj,gQy>
                Date: Monday, July8, 2024 at 3:50 AM
               To: Teny Geragos <t3;L@_agilawg p.com>, Smyser, Madison (USANYS)
               <Madison.Smyser@usdoj_.g/>, Johnson, Emily (USANYS) 2 <EmilyJohnson@usdoj_.gQ_/>,
               Foster, Meredith (USANYS) <Meredith.Foster@usdoj_.g/>
               Cc: Marc Agnifilo <marc@_ag ngrQup.cQm>
               Subject: RE: Mr. Combs Travel

                CAUTION: This email originated from outside of the organization. Do not click links or
                open attachments unless you recognize the sender and know the content is safe.
                Received, thanks.

                From: Teny Geragos < y_@_ag        g  p.com>
                Sent: Sunday, July 7, 2024 9:22 PM
                To: Steiner, Mitzi (USANYS) <MSteiner@usa.doj_.g<>, Smyser, Madison (USANYS)
                <MSmyser@usa.dojg<>, Johnson, Emily (USANYS) 2 <EJohnson2@usa.dojg(>, Foster, Meredith
                (USANYS) <MFoster@usa.dojg >
                Cc: Marc Agnifilo <marc@_agilawg p.com>
                Subject: [EXTERNAL] Re: Mr. Combs Travel


                Good evening all - Mr. Combs will be traveling back to Miami tomorrow via a charter plane.

               Tony R. Geragos
               Agnifilo Intimater LLP
               445 Park Avenue, 7th Fl.
               New York, NY 10022
               o: (646) 205 4350
               c: (213) 440 4401
                Ief\y@48   g@p~corf1
                www.agilawgroup.com

                *admitted in NY & CA

               From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdoj l2,Qv>
               Date: Friday, July 5, 2024 at 6:15 PM
               To: Teny Geragos <teny@_@gilawg@p.com>, Smyser, Madison (USANYS)
               <Madison.Smyser@usdoj_.g/>, Johnson, Emily (USANYS) 2 <EmilyJohnson@usdoj_.g;/>,
               Foster, Meredith (USANYS) <Meredith.Foster@usdQj_.g9y>
               Cc: Marc Agnifilo <marc@_ag vgroup.com>
               Subject: Re: Mr. Combs Travel

                CAUTION: This email originated from outside of the organization. Do not click links or
                open attachments unless you recognize the sender and know the content is safe.
                Thanks Teny.

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                From: Teny Geragos <teny_@_agilawgroup.com>
                Sent: Friday, July 5, 2024 4:55:08 PM
               To: Steiner, Mitzi (USANYS) <MSteiner@ usa.doj_.g<>, Smyser, Madison (USANYS)
               <MSmyser@usa.doj,g >; Johnson, Emily (USANYS) 2 <EJohnson2@usa.doj,gc>, Foster, Meredith
               (USANYS) <MFoster@usa.doj,g >
               Cc: Marc Agnifilo <marc@_ag /g p.com>
                Subject: [EXTERNAL] Re: Mr. Combs Travel


                Good evening - Mr. Combs will be traveling back to LAtoday.

                Teny R. Geragos
                Agnifilo Intimater LLP
                WWW.aQilaWQMP.COM

                sent from my iPhone

               From: Steiner, Mitzi (USANYS) <Mitzi.Steiner@usdojgc>
               Sent: Monday, July 1, 2024 1:08:05 AM
               To: Teny Geragos <teny_@_agilawg p.com>, Smyser, Madison (USANYS) <Madison.Smyser usdoj_.gc>,
               Johnson, Emily (USANYS) 2 <EmilyJohnson@usdoj_.go, Foster, Meredith (USANYS)
               <Meredith.Foster@usdojg >
               Cc: Marc Agnifilo <mar_c@_ag ng     p.com>
               Subject: RE: Mr. Combs Travel


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                Received, thanks Teny.


                From: Teny Geragos <teny_@_agilawgroup.com>
               Sent: Saturday, June 29, 2024 2:10 PM
               To: Steiner, Mitzi (USANYS) <MSteiner@usa.dojg >, Smyser, Madison (USANYS)
               <MSmyser@usa.dojg >, Johnson, Emily (USANYS) 2 <EJohnson2@usa.dojg>, Foster, Meredith
               (USANYS) <MFoster@usa.dojg>
               Cc: Marc Agnifilo <marc@_agilawg   p.com>
                Subject: [EXTERNAL] Mr. Combs Travel

                Good afternoon all,

                Mr. Combs is flying via a charter plane to Jackson Hole, Wyoming today until Wednesday. We'll
                let you know when he flies back.

                Thanks,
                Teny

               Tony R. Geragos


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                Agnifilo Intimater LLP
                445 Park Avenue, 7th FI.
                New York, NY 10022
                o: (646) 205 - 4350
                c: (213) 440 4401
                t6Hy_@_3gil3wg@p.com
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                                                          AGNIFILO
                                                         INTRATER

                                                            May 22, 2024

                  VIA EMAIL
                  AUSA Emily Johnson
                  AUSA Mitzi Steiner
                  AUSA Madison Smyser
                  AUSA Meredith Foster
                  United States Attorney's Office
                  Southern District of New York
                  26 Federal Plaza, 37th1 Floor
                  New York, NY 10278

                         Re:     Investigation of Sean Combs

                  Dear AUSAs Johnson, Steiner, Smyser and Foster:

                          As we discussed last week, Mr. Combs will be traveling from Miami to Los Angeles on
                  May 27, 2024, to attend his daughter's high school graduation. He will be traveling to Los Angeles
                  in his private airplane. On this point, we write to follow up on our phone call yesterday, where we
                  advised you that efforts have begun to sell this airplane, which is owned by a single member LLC
                  called Love Air. Because selling a plane takes some time, we will keep you updated as to the
                  progress of this sale. As we advised you in early April 2024, this firm took possession of; and
                  continues to have possession of Mr. Combs's passport.

                         Please let us know if you have any further questions.

                                                            Res_ ectfull_



                                                            Marc Agnifilo
                                                            Teny Geragos




                    MARC AGNIFILO                      ZACH INTRATER                       TENY GERAGOS
                    maro@agilawgroup.com                zach@agilawgroup.com               teny@agilawgroup.com

                   445 PARK AVE, 7TH FLOOR I NEW YORK. NY 10022 I WWW.AGILAWGROUP.COM
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                                                        AGNIFILO
                                                        INTRATER

                                                           June 13, 2024

                  VIA EMAIL
                  AUSA Emily Johnson
                  AUSA Mitzi Steiner
                  AUSA Madison Smyser
                  AUSA Meredith Foster
                  United States Attorney's Office
                  Southern District of New York
                  26 Federal Plaza, 37th Floor
                  New York, NY 10278

                         Re:    Investigation of Sean Combs

                  Dear AUSAs Johnson, Steiner, Smyser and Foster:

                         This letter is to follow up on our letters advising you of Mr. Combs' travel and our
                  possession of his passport. We write to inform you that we have also taken possession of several
                  of his family members' passports. These include his mother Janice Combs, his daughter Chance
                  Combs, and his daughter Love Combs. His twin daughters, Jessie and D'Lila's passports have been
                  sent into the Department of State for renewal. When they are renewed, we will take possession of
                  those passports and let you know when we have them. We will update you as we receive more.

                         Please let us know if you have any questions.

                                                           Respectfully,


                                                           111E-G4
                                                           Marc Agnifilo
                                                           Tony Geragos




                    MARC AGNIFILO                     ZACH INTRATER                      TENY GERAGOS
                    marc@agilawgroup.com               zach@agilawgroup.¢om              teny@agilawgroup.com

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                                                                        U.S. Department of Justice

                                                                        lbrited States Attornqv
                                                                        Southern District ofNeu' York

                                                                        26 Fedaul Plaza, 37°" Floor
                                                                        New YOU New York10278


                                                                        September 18. 2024

                  BY ECF
                  The Honorable Andrew L. Carter Jr.
                  United States Distn'ct Judge
                  Southern District of New York
                  40 Foley Square
                  New York, NY 10007

                         Re:     United States v. Sean Combs, a/Wa "Pug Daddy," a//Va "P. Diddy," a/k/a
                                 "Dismay," a/k/a "PD, n :UMM "Love," 24 Cr. 542 (ALC)

                  Dear Judge Caner:

                         The Government respectfully submits this letter in advance of tlle bail appeal by defendant
                  SeanCombs, a/k/a "Puff Daddy," a/k/a "P. Diddy," a/k/a "Diddy." a/k/a "PD." a/k/a "Love." For
                  the reasons set forth below, and in the Govenllnent's September 17. 2024 detention letter (Dkt. 5
                  (the "September 17 Letter")) and argument before the Magistrate Court (Dkt. 13-9 ("Tr.") at 11-
                  23, 48-50). the defendant presents a danger-to victims and others, both through physical violence
                  and through obstructive conduct-a11d a lisk of flight. He must be detained.

                         I.      Additional Background

                           The relevant factual background is set forth in detail in the September 17 Letter and
                  incorporated by reference herein. (September 17 Letter at 1-6). The defendant was arrested OI]
                  September' 16, 2024, and alraigrled on September 17, 2024 before the Honorable Robyn F.
                  Tamofsky, United States Magistrate Judge. Following arraignment, the Government sought the
                  defendant's detention on three grounds: dangerousness. obstnlction. and risk of flight. (Tr. 9-10).
                  Pretrial Services similarly recommended detention for the defendant.

                           After an extended bail argument. the Court found that the defendant had failed to rebut the
                  preslunption of detention i11 this case. (Tr. 54). Judge Tamofsky noted that the crime of sex
                  trafficking is "a crime that happells behind closed doors" and expressed concern that such conduct
                  could not be monitored by Pretrial Services. (Tr. 54). The Court fiuther found that detention was
                  warranted based OI1 the defendant's history and cllaracteristics:

                         There are also indications in your history and characteristics that I think are a reason
                         why the presumption i11 favor of detention has not been rebutted; prior substance
                         abuse and the fact that the alleged violence seems to occlu' hand in hand with times
                         whe11 you are not necessarily i11 control of you' actions because of that substance
                         abuse. Your lawyer asked in to trust you and to trust him. and I don't know that I
                         think you can trust yourself. and I don't believe that coullsel has the ability to
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                         control you, given the very significant concerns I have, particularly because of
                         substance abuse and what seem like anger issues.

                  (Tr. 54-55). In addition, the Court noted that the "weight of the evidence is significant given that
                  the government has proffered that there are multiple witnesses who are saying that they have
                  witnessed significant serious violence." (Tr. 55). Finally, the Court concluded that the danger
                  posed by the defendant was "quite serious," due to the defendant's access to weapons, use of
                  violence, and the coercion of witnesses. (Tr. 55).

                         This Court should reach the same conclusions. Judge Tarnofsky's findings are well
                  supported by the record before the Court today and demonstrate why the presumption of detention
                  is not rebutted in this case. Moreover, defense counsel's most recent letter fails to seriously
                  contend with the findings, most glaringly related to the defendant's unpredictable dangerousness
                  and inability to be monitored or controlled.

                         11.     The Defendant Poses a Significant and Ongoing Danger

                          Despite public statements by counsel minimizing the defendant's conduct, both to Judge
                  Tarnofsky and the media,1 the defendant has committed incredibly serious crimes. As alleged in
                  Counts One and Two of the Indictment, among other crimes, the defendant used violence, threats
                  of violence, and coercion to cause women to engage in commercial sex acts. In other words, the
                  defendant committed sex trafficking a crime so serious that Congress has determined that there
                  is presumptively no condition or combination of conditions that will reasonably assure the safety
                  of the community and the defendant's appearance in court. 18 U.S.C. § 3 l42(e)(3)(D). The
                  defendant's crimes have spanned over a decade and continued through this year, putting others
                  around him, including both victims and witnesses, at risk.

                          The nature of the offenses and the defendant's history and characteristics demonstrate the
                  danger he poses and weigh heavily in favor of detention. 18 U.S.C. § 3l42(g)(l), (3). The
                  defendant's repeated acts of domestic violence, which are recurrent and, as noted by Judge
                  Tarnofsky, often occur behind closed doors, are not disconnected to the offense conduct-they are
                  an element of it. The physical force and coercion the defendant repeatedly used, during and apart
                  from the Freak Offs, caused victims to engage in the sexual activity. That is sex trafficking. These
                  acts of physical force-of violence-are corroborated not only through victim testimony, but also
                  through, among other things, victim communications with the defendant spanning years of the
                  charged time period, witness testimony, including witnesses who were present during and after
                  Freak Offs, video footage, photographs capturing victim injuries, and law enforcement records,
                  among other things. The same is true of the defendant's coercion. The communications between
                  the defendant and multiple victims, which include communications sent as recently as this year,
                  capture victim resistance to engaging in Freak Offs even in light of the defendant's abusive tactics.
                  The defendant's years-long use of force and coercion speaks directly to dangerousness.


                  1See, kg., CNN, Sean 'Diddy' Combs' Attorney on Whether The Star Was Surprised By His
                  Arrest, YouTube (Sept. 18, 2024), https://www.youtubecom/watch?v=0s75LAia5RA
                  (characterizing the March 5, 2016 incident a "misdemeanor assault").
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                           To be clear, despite the Indictment naming one victim in Count Two, this case is not about
                  just one victim. The Government's evidence to date-including the defendant's own
                  communications-demonstrates that the defendant has used force and coercion against multiple
                  victims. In addition to these women, the defendant has assaulted a host of other individuals,
                  including his employees and witnesses to his violence. For example, the defendant directed his
                  rage toward his employees and those close to Victim-l who had seen him physically abuse Victim-
                  l, including by throwing these witnesses against walls and onto the ground, choking them, and
                  throwing objects at them, among other things, particularly when they attempted to protect Victim-
                  l. In doing so, the defendant has demonstrated that he is not only a danger to victims and witnesses
                  but is also obstructive and willing to engage whatever is necessary including physical violence-
                  to instill fear in witnesses to keep them silent. All of this violence, against victims, witnesses, and
                  others, factors into the analysis of the defendant's dangerousness.

                         111.     The Defendant Has Consistently Obstructed Justice

                          Equally, as outlined in the Government's September 17 Letter, the defendant poses a
                  significant risk of obstruction. (September 17 Letter at 9-11). The defendant's argument that his
                  recent contacts with witnesses to the charged conduct should not be considered "obstruction"
                  because he was unaware of the Government's investigation simply cannot be credited.2 The
                  defendant has been aware of the Government's investigation of this case since at least in or about
                  January 2024. And even earlier, directly following the filing of a civil lawsuit in November 2023 ,
                  the defendant was aware of the potential for criminal charges. Nevertheless, since that time, the
                  defendant has continued his long-standing pattern of engaging in obstructive conduct.

                          Defense counsel acknowledges that the defendant has contacted witnesses in this
                  investigation apparently with "counsel's blessing" but claims that the defense has "studiously
                  avoided" interviewing grand jury witnesses. (Dkt. 13 at 10). The fact is, the defendant has
                  personally and repeatedly contacted multiple witnesses, including at least one he himself knew was
                  a grand jury witness. The defendant contacted these witnesses, including at least one whom he
                  had not been in contact with for years, after they were served and leading up to the date they were
                  required to appear before the grand jury. The defendant's behavior illustrates Judge Tamofsky's
                  point that counsel cannot control their client. (Tr. 54).

                         Moreover, contrary to counsel's protestations to the contrary, there is ample evidence from
                  which to infer that the defendant's contacts are not innocuous. Indeed, the Government has
                  multiple examples of the content of such communications between the defendant and/or his
                  intermediaries and victims and witnesses. These communications include feeding victims and
                  witnesses false narratives of events that they observed and/or personally experienced. (See

                  2 The defendant's arguments with respect to his obstructive intent are equally unavailing.
                  Specifically, the defendant claims that his actions on March 5, 2016 do not amount to obstruction
                  because there was "no official proceeding in fact or in the contemplation of Mr. Combs or anyone
                  else." (Def. Ltr. at 10). First, there need not be an official proceeding at the time of the obstructive
                  acts to satisfy 18 U.S.C. § 1512. See United States v. Reich, 479 F.3d 179, 185-86 (2d Cir. 2007).
                  Second, there is no "official proceeding" requirement with respect to obstruction under 18 U.S.C.
                  § 1591(d) (obstruction of justice in connection with a sex trafficking matter).
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                  September 17 Letter at 10). And they include communications were even made in the aftermath
                  of the November 2023 civil lawsuit, during which the defendant was clearly concerned about the
                  possibility of potential law enforcement scrutiny, as during several calls, the defendant expressed
                  his concern that his communications may be monitored. (See, et., "You know I can't really talk
                  on this phone. You feel me.", "I'm not even supposed to be talking on the phone.", "I can't be on
                  these phones and shit like that ... you feel me.", "I-I can't even talk on the phone. Like, please
                  don't send no texts or d-do nothing. People misread and shit.").

                           Finally, it bears noting that within the first 24 hours of this case's unsealing, there are
                  already new concerns about witness interference as well as interference with a fair trial based on
                  the defendant and his counsel's attempts to publicly discredit one of the victims. As Judge
                  Tamofsky noted in her ruling, one of the pertinent concerns here is the "power imbalance" in the
                  case. (Tr. 54). The defendant, as alleged in the indictment and publicly known, is a man of
                  immense power and influence. Consequently, his ability to coerce victims and to influence
                  witnesses is outsized. Just yesterday, during the bail argument and a subsequent appearance on
                  CNN, defense counsel impugned the allegations made by a statutory victim challenging the
                  motivation and timing of her claims. In addition to being factually inaccurate, this sort of attack
                  comes close the limits set forth in L. Crim. R. 23.1. It also can be expected to intimidate other
                  witnesses who may feel tremendous pressure not to go up against the defendant. The Government
                  therefore requests that the Court caution the defendant and counsel not to violate L. Crim. R. 23.1,
                  including by publicly challenging the credibility of prospective witnesses or by publicizing
                  information counsel knows to be likely inadmissible at trial. Moreover, the Government submits
                  that this is yet another example of the defendant's ability to obstruct these proceedings, even
                  though the media. Cf United States v. Bandsman-Fried, No. 22 Cr. 673 (LAK) (S.D.N.Y. Aug. II,
                  2023) (Dkt. 224) (remanding defendant who disseminated materials to the media in an effort to
                  discredit and intimidate a trial witness).

                     Iv.     The Defendant Poses a Risk of Flight

                          Both at argument yesterday and in the press, the defendant has emphasized his supposed
                  "cooperation" with the Government, including his willingness to surrender. The Court should take
                  that argument for what it truly is: attorney-crafted theatre designed to convince this Court that the
                  defendant can be trusted and is not a risk of flight. Make no mistake-the defendant's recent
                  behavior shows that he cannot be trusted or controlled, particularly now that he is facing serious
                  charges that can*y significant penalties. As Judge Tarnofsky observed, "Your lawyer asked me to
                  trust you and to trust him, and I don't know that I think you can trust yourself, and I don't believe
                  that counsel has the ability to control you." (Tr. 54). Indeed, since at least in or about January
                  2024-when the defendant was unquestionably aware of the criminal investigation-the evidence
                  shows that he has engaged in multiple Freak Offs (some involving the interstate transportation of
                  individuals to participate), has continued to use narcotics, and has contacted multiple witnesses.
                  Some of this conduct has even taken place since the defendant arrived in New York City, allegedly
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                  to "sit it out" and wait to be arrested. (Tr. 25). The defendant's conduct is demonstrably not
                  cooperative, and indeed, highlights his inability to abide by the law or counsel's directives.

                     v.      The Defendant's Detention Is Consistent with Case Law

                         The defendant's attempts to distinguish recent sex trafficking cases in which defendants
                  were detained pending trial are unavailing. A review of the case law confirms that pre-trial
                  detention in this case is consistent with the rulings in other similar cases-particularly cases in
                  which obstruction was a concern. For instance, in Epstein, Judge Berman ordered the defendant
                  detained on dangerousness, obstruction, and risk of flight grounds, despite the fact that the charged
                  conduct as well as the bulk of the obstructive conduct took place approximately one decade
                  prior. See United States v. Epstein, No. 19 Cr. 490 (RMB) (S.D.N.Y. July 18, 2019) (Dkt. 32).
                  Specifically, Judge Berman found that the defendant's pattern of sexual misconduct, as well as his
                  long history of attempting to intimidate, harass, and buy off potential victims and witnesses, made
                  him a danger to the community. See id. Similarly, in United States v. Kelly, No. 19 Cr. 286 (AMD)
                  (E.D.N.Y.), the defendant was detained on dangerousness, obstruction, and risk of flight grounds.
                  There, the court found the defendant's dangerousness based on the seriousness of the charges,
                  which dated back more than a decade, and included sexual and physical abuse of minors and adults
                  alike, such as hitting, slapping, punching, and spanking. Id., Dkt. 40 at 7. The court also found
                  that the defendant's obstructive conduct and witness tampering, which related to the matters
                  charged, were grounds for detention. See id. at 31-32. Judge Garaufis denied the defendant bail
                  in United States v. Raniere, No. 18 Cr. 204 (NGG) (E.D.N.Y.), noting that the defendant posed a
                  danger to the community due to the nature and circumstances of the charged sex trafficking
                  conduct (which did not, at the time of the bail determination, include allegations involving minors)
                  and crediting the Government's representations that NXIVM critics and defectors faced
                  harassment. See id., Dkt. 222 at 13-14, see also United States v. Ray, No. 20 Cr. 110 (LJL)
                  (S.D.N.Y. Mar. 2, 2020) (Dkt. 17-1) (detaining defendant in one-victim sex trafficking case after
                  Government argued, among other things, that the defendant intimidated and threatened witnesses) .
                  Far from supporting the defendant's position, these cases instead stand for the proposition that sex
                  trafficking defendants-regardless of the age of their victims-are routinely detained pre-trial,
                  especially when they have engaged in repeated obstructive conduct.

                     VI.     The New Proposed Bail Conditions Fail to Adequately Address the Risk of Danger
                             or Obstruction

                          Finally, the new conditions proposed by the defendant fail to adequately protect the
                  community against his dangerousness and ability to interfere with witnesses. Indeed, these
                  conditions do not speak at all to the defendant's risk of obstruction. Further, considering that the
                  defendant's proposed conditions still contemplate him having staff and visitors, they cannot
                  adequately protect against dangerousness. The Government's evidence, as described above and
                  in the Indictment, includes numerous instances of assaults on his employees, as well as the
                  involvement of his high-ranking supervisors, personal assistants, security, and household staff-
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                  all of whom frequently work in his homes-in offense conduct. Accordingly, the defendant has
                  failed to rebut the presumption in favor of detention.

                        VII.   Conclusion

                           For the reasons set forth above, there are no conditions of bail, or combination of
                  conditions, that would reasonably assure the defendant's appearance and compliance, or the safety
                  of the community. Accordingly, the defendant's application for bail should be denied.

                                                                Respectfully submitted,

                                                                DAMIAN WILLIAMS
                                                                United States Attorney

                                                             By:   /s
                                                                Meredith Foster
                                                                Emily A. Johnson
                                                                Madison Reddick Smyser
                                                                Christy Slavik
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                                                                (212) 637-2310/-2409/-2381/-1113/-2284

                  cc:      Marc Agnifilo, Esq. (by email)
                           Tony Geragos, Esq. (by email)
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           1     UNITED STATES DTSTRTCT COURT
                 SOUTHERN DTSTRTCT OF NEW YORK
           2                                            'X

           3     UNITED STATES OF AMERICA,

           4                    v.                                   24 Cr. 542 (RET)

           5     SEAN COMBS,

           6         a/k/a "Puff Daddy,      Iv



                     a/k/a "p, Diddy,"
           7         a/k/a "Diddy,"
                     a/k/a "PD,"
           8         a/k/a "Love,"

           9                         Defendant.
                                                                     Presentment
         10                                            'X

         11                                                          New York, N.Y.
                                                                     September 17, 2024
         12                                                          2:30 p.m.

         13      Before

         14                                HON. ROBYN F. TARNOFSKY,

         15                                                          U.S. Magistrate Judge

         16                                        APPEARANCES

         17      DAMIAN WILLIAMS
                      United States Attorney for the
         18           Southern District of New York
                 BY   EMILY JOHNSON,
         19           CHRISTINE sLAviK,
                      MADISON SMYSER,
         20           MITZI STEINER
                      MEREDITH FOSTER
         21           Assistant United States Attorneys

         22      AGNIFILO INTRATER LLP
                      Attorneys for Defendant
         23      BY   MARC AGNIFILO
                      TENY GERAGOS
         24
                 Also Present: Sean Quinn, Homeland Security Investigations
         25


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           1                 (Case called)

           2                 MS. JOHNSON       Good afternoon, your Honor               Emily

           3     Johnson, Christine Slavik, Madison Smyser, Mitzi Steiner, and

           4     Meredith Foster for the government.             We are joined at counsel

           5     table by Special Agent Sean Quinn of Homeland Security

           6     Investigations

           7                 THE COURT       Good afternoon, everyone

           8                 MR. AGNIFILO       Good afternoon, your Honor               My name is

           9     Marc Agnifilo        I am with Teny Gera gos, and we represent Sean

         10      Love Combs, the defendant who is before the Court today.                       Good

         11      afternoon, your Honor

         12                  THE COURT       Good afternoon, everyone           Thank you for

         13      being here today.

         14                  My name is Magistrate Judge Tarnofsky, and Mr. Combs,

         15      you are here because you have been charged with certain crimes

         16      in an indictment         The purpose of today's proceeding is to

         17      advise you of certain rights that you have, to inform you of

         18      the charges against you, and to decide under what conditions,

         19      if any, you should be released pending trial

         20                  I am going to explain certain constitutional rights

         21      that you have        You have the right to remain silent                 You are

         22      not required to make any statements               Even if you have already

         23      made statements to the authorities, you don't need to make any

         24      more statements         Any statements you make can be used against

         25      you.


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           1                 You have the right to be released, either

           2     conditionally or unconditionally, pending trial, unless I find

           3     there are no conditions that would reasonably assure your

           4     presence at future court appearances, and the safety of the

           5     community.

           6                 If you are not a U.S. citizen, you have a right to

           7     request that a colsular officer from your country of origin be

           8     notified of your arrest.          In some cases a treaty or other

           9     agreement may require the U.S. Government to give that notice,

         10      whether you request it or not              And I am required by law to

         11      tell you this even if you are a U.S. citizen and it doesn't

         12      apply to you.

         13                  You have the right to be presented by a lawyer during

         14      all court proceedings, including this one, and during all

         15      questioning by the authorities              You have the right to hire

         16      your own attorney, but if you can't afford one, I would appoint

         17      one to represent you.

         18                  I have in front of me an indictment containing the

         19      charges against you, and it has three counts                     You are charged

         20      with racketeering conspiracy, conspiring to create a criminal

         21      enterprise whose members and associates engaged in and

         22      attempted to engage in, among other crimes, sex trafficking,

         23      forced labor, kidnapping, arson, bribery, and obstruction of

         24      justice

         25                  In addition, you are charged with sex trafficking by


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           1     force, fraud, or coercion.           And the charge is that from at

           2     least in or about 2009 through in or about 2018, in this

           3     district and elsewhere, of recruiting, enticing, harboring,

           4     transporting, and maintaining a person, Victim 1, and

           5     attempting, aiding and abetting, and willfully causing Victim l

           6     to engage in commercial sex acts, knowing and in reckless

           7     disregard of the f act that Victim 1 was engaging in commercial

           8     sex acts as a result of force, fraud, and coercion.

           9                 And Count Three         From at least 2009 through and

         10      including around 2024, in this district and elsewhere, of

         11      knowingly transporting an individual in interstate and foreign

         12      commerce with the intent that the individual engage in

         13      prostitution, and attempting, aiding and abetting, and

         14      willfully causing the same, that is, transporting, aiding and

         15      abetting, willfully causing the transportation of female

         16      victims and commercial sex workers in interstate and foreign

         17      commerce on multiple occasions with the intent that they engage

         18      in prostitution.

         19                  Counsel, have you received a copy of the indictment?

         20                  MR. AGNIFILO        I have, your Honor

         21                  THE COURT       Okay.    And have you reviewed it with your

         22      client?

         23                  MR. AGNIFILO        I have, your Honor

         24                  THE COURT       Okay.    So do you waive the public reading

         25      of the charges?


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           1                 MR. AGNIFILO          I do, your Honor

           2                 THE COURT       Okay.     And Mr. Combs, are you prepared to

           3     enter into a plea to the indictment at this time?

           4                 THE DEFENDANT          Not guilty.

           5                 THE COURT       Okay.     A plea of not guilty will be

           6     entered, and the record should reflect that the defendant is

           7     now arraigned.

           8                 For the government, in accordance with Federal Rule of

           9     Criminal Procedure 5(f)       I    I remind the prosecution of your

         10      obligation under Brady V. Maryland and its progeny to disclose

         11      to the defense all information, whether you believe it or not,

         12      whether it's admissible or not, that's f avorable to the

         13      defendant, material either to guilt or to punishment, and known

         14      to the prosecution.         Possible consequences for noncompliance

         15      may include dismissal of individual charges or of the entire

         16      case, exclusion of evidence, and professional discipline or

         17      court sanctions on the responsible attorneys

         18                  I will be entering a written order that more fully

         19      describes the obligation and the possible consequences of

         20      f ailing to meet it, and I direct the prosecution to review and

         21      comply with that order

         22                  Does the prosecution confirm that it understands its

         23      obligations and will fulfill them?

         24                  MS. JOHNSON       Yes, your Honor         The government

         25      confirms that it understands our obligations in this vein and


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           1     will abide by them.

           2                 THE COURT:      Okay.    Has Judge Carter set a conference

           3     date?

           4                 MS. JOHNSON       Yes, he has, your Honor           It is next

           5     Tuesday, September 24, at 11:00 a.m.              10:00 a.m.     I'm sorry,

           6     your Honor

           7                 THE COURT:      At 10:00 a.m.      Okay .

           8                 Is there a request to exclude time?

           9                 MS. JOHNSON       Yes, your Honor         The government would

          10     move to exclude time between today and the conference date of

          11     next Tuesday.       Such an exclusion of time would be in the

          12     interest of justice because it would allow the parties to begin

          13     discussing initial discovery steps like entering a protective

          14     order, and the like, before we see the district court that day.

          15                 THE COURT:      Okay.    And does the defendant consent?

          16                 MR. AGNIFILO       We do, your Honor

          17                 THE COURT:      Okay.    So with the agreement of the

          18     p a r t i e s , I will exclude time through and including

          19     September 24, 2024          I find that the ends of justice served by

         20      taking this action outweigh the interest of the public and the

         21      defendant in a speedy trial

         22                  I take it there is no agreement regarding release

         23      pending trial        Is that correct?

         24                  MS. JOHNSON       That's correct, your Honor

         25                  THE COURT:      Okay.    Then we will have a detention


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           1     hearing

           2                 On what basis is the government seeking detention?

           3                 MS. JOHNSON       The government is seeking detention on

           4     multiple bases        The indictment alleges a violation of 18,

           5     United States Code, Section 1591, and that's a basis under 18,

           6     United States Code 3l42(f)(l)(A)              The indictment also charges

           7     a crime for which the maximum sentence is life imprisonment or

           8     death      That is 18, United States Code 3l42(f)(l)(B)                The

           9     government is also moving under 18, United States Code

          10     3l42(f)(2)(A) I that is, the serious risk of flight; and 18,

          11     United States Code 3l42(f) (2) (B), which is a serious risk that

          12     the person will obstruct or attempt to obstruct justice, or

          13     threaten, injure, or intimidate or attempt to threaten, injure,

          14     or intimidate a prospective witness or juror

          15                 THE COURT       Okay.    And is this a presumption case?

          16                 MS. JOHNSON       It is, your Honor

          17                 THE COURT       Okay.    And why is that?

          18                 MS. JOHNSON       Detention is presumed under the Bail

          19     Reform Act because the defendant is charged with sex

         20      trafficking, which is an offense under Chapter 77 of Title 18,

         21      and the cite for that is 18, United States Code 3l42(e) (3) (D)

         22                  THE COURT       Okay.    Thank you, counsel

         23                  So I am required under the law to release you, either

         24      with or without conditions imposed, unless I determine that

         25      there are no conditions that will reasonably assure your


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           1     appearance in court as required, and the safety of the

           2     community.      In this case, the government has asked that you be

           3     detained without bail, and they are entitled to make that

           4     request because the government contends that you present a

           5     serious risk of flight and obstruction of justice, and because

           6     of the nature of the charges against you, which include sex

           7     trafficking, and a crime for which the maximum sentence is life

           8     imprisonment or death

           9                 So we are having a bail hearing, and I have to

         10      determine whether there are any conditions, any combination of

         11      conditions of release that will protect the safety of the

         12      community and reasonably assure your appearance at trial                In

         13      making this determination, I am required to consider several

         14      f actors, including the nature and circumstances of the charged

         15      offense, including whether there are crimes of violence

         16      charged, crimes involving firearms, controlled substances, the

         17      weight of the evidence, and your history and characteristics,

         18      which include character, physical and mental condition, f family

         19      ties, employment, financial resources, length of residence in

         20      the community, community ties, past conduct, history of

         21      substance abuse, criminal history, and record concerning

         22      appearances at prior court proceedings                I have also have to

         23      consider the nature and seriousness of any danger to any person

         24      in the community that would be posed by release

         25                  Because this is a presumption ease, because you are


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           1     accused of one of several specified crimes, there is a

           2     presumption that no conditions of release will reasonably

           3     ensure the safety of the community, but -- and because if there

           4     is probable cause to believe that you have committed certain

           5     enumerated offenses, including sex offenses, there is a

           6     presumption that no conditions of release will reasonably

           7     ensure your appearance and the safety of the community                    But

           8     the presumption is rebuttable, and the government bears the

           9     burden of establishing by clear and convincing evidence that

         10      you are a danger to the community or establishing by a

         11      preponderance of the evidence that you are a risk of flight.

         12                  I will now hear from counsel            First I would like to

         13      hear from the government as to why it believes that detention

         14      is warranted.

         15                  MS. JOHNSON       Your Honor, the defendant, Sean Combs,

         16      physically and sexually abused victims for decades                     He used

         17      the vast resources of his company to f acilitate his abuse and

         18      to cover up his crimes           Simply put, he is a serial abuser and

         19      a serial obstructer

         20                  As I just mentioned to your Honor, the government is

         21      seeking detention, which I note is also the conclusion that

         22      pretrial services has reached in its report after interviewing

         23      the defendant.       The government submits that the defendant

         24      should be detained pending trial because he is an extreme

         25      danger to the community.          He poses a serious risk of


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           1     obstruction of justice, which also makes him a danger to the

           2     community, and he poses a serious risk of flight because now

           3     he's f acing significant charges, some with mandatory prison

           4     time

           5                 As your Honor mentioned, detention is presumed here

           6     under the Bail Reform Act.           It'S the starting point, and it's

           7     the defendant's burden to rebut that presumption, which the

           8     government, respectfully, submits that the defendant cannot do

           9     here     The government is going to respectfully request that the

         10      Court enter an order of detention.

         11                  As the Court knows, the government submitted a

         12      detailed letter to your Honor this morning outlining the f acts

         13      and bases for detention, so I will highlight some of those

         14      here     The f acts are set forth in detail in the letter, but in

         15      short, the defendant used force, threats of force, and coercion

         16      to cause female victims to engage in sexual activity with male

         17      commercial sex workers that he termed Freak Offs               9       These were

         18      elaborate sex performances that the defendant arranged,

         19      directed, masturbated during, and of ten electronically

         20      recorded.      They began at least in and around 2009              I   lasted

         21      through at least this year, 2024, and of ten took place over

         22      multiple days, and involved more than one commercial sex

         23      worker

         24                  These Freak Offs were enabled and arranged with

         25      members and associates of his enterprise who set up the hotel


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           1     rooms, stocked them with supplies, arranged travel for victims

           2     and sex workers, and delivered bulk cash and narcotics to the

           3     hotel rooms, among other tasks             And those narcotics that were

           4     delivered or stocked in the room were used at least in part so

           5     that female victims could continue to participate in Freak Offs

           6     despite exhaustion and f fatigue from these events happening for

           7     sometimes multiple days           The defendant was violent with women

           8     both inside Freak Offs and outside Freak Offs                  At least a

           9     dozen witnesses who we have spoken to will confirm that they

          10     personally observed the defendant's violence towards women or

         11      injuries sustained by female victims as a result of his

         12      violence

         13                  In addition to this violence directed toward women,

         14      the defendant committed a host of other violent acts                       He

         15      committed other physical assaults against other individuals,

         16      and with the assistance of members and associates of his

         17      enterprise, he committed kidnapping and he committed arson.

         18                  The defendant also surrounded himself with and used

         19      firearms       Those include the three def aced AR-155 that the

         20      government seized from his residences in March of 2024                 9        One of

         21      those was found in his residence in Los Angeles, and two were

         22      found in his bedroom closet, disassembled, in Miami                    In Miami,

         23      the magazines were loaded with ammunition.                And in Los Angeles,

         24      we also seized a high-capacity drum magazine what was loaded

         25      with 60 rounds of ammunition.            And all of those AR-15s I just


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           1     mentioned had the serial number bored through, so they were

           2     def aced .

           3                  And as if that were not enough, your Honor, what sets

           4     this case apart from so many others and what makes this

           5     defendant even more dangerous is the defendant's extensive and

           6     exhaustive history of obstruction of justice                  The indictment

           7     charges acts of bribery and witness tampering as predicate

           8     offenses for the charged racketeering conspiracy.                  And just

           9     like the violence I just outlined, the defendant and his

         10      coconspirators have engaged in years-long efforts to cover up

         11      the defendant's crimes and to tamper with witnesses

         12                   So to get a sense of what I am talking about, I want

         13      to use one example to the Court, and that example is March 5,

         14      2016 at the InterContinental Hotel in Los Angeles                      The

         15      government attached to its submission this morning a video clip

         16      that had previously been publicly disclosed by the media in or

         17      about May of this year           This incident is critical to

         18      understanding both the physical danger of the defendant and the

         19      obstruction efforts that he goes to               It is a recorded example

         20      of his use of force in connection with a Freak Off.                    And when

         21      we get to the end of this example, the defendant was eventually

         22      forced to acknowledge that he, in f act, is the individual

         23      featured in that video, despite multiple previous denials that

         24      this incident occurred.

         25                   So, in short, the evidence would show this                 Following


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           1     a Freak Off at the InterContinental Hotel, the defendant

           2     violently assaulted the victim who was trying to leave the

           3     hotel room and was walking down the hall to the elevators                       He

           4     punched her, he threw her to the ground, he kicked her                 •
                                                                                            He

           5     attempted to drag her back to the hotel room, and then later he

           6     threw a vase at her          And it's of ter this assault that the

           7     coverup started.

           8                 After the victim managed to leave the hotel, or

           9     pardon me       When hotel security was helping the victim leave

         10      the hotel, the defendant attempted to bribe a hotel security

         11      officer with a handful of cash in exchange for that officer's

         12      silence      That security guard, however, refused to be bought.

         13                  Next, the defendant directed his staff to contact the

         14      hotel security staff in an apparent effort to obtain the

         15      surveillance video that recorded every moment of that assault

         16      that I just described, and as your Honor can see on Exhibit A

         17      to our letter from this morning              These same employees of the

         18      defendant were in contact with the victim at the same time to

         19      ensure that she would stay quiet and she wouldn't say anything

         20      And within days of that March 5, 2016 violent attack that was

         21      caught on video, the surveillance video disappeared from the

         22      hotel server        That's just not a coincidence             That is a result

         23      of the defendant's effort to obtain it through his staff

         24      members      And the coverup of that incident continued for nearly

         25      another eight years -- seven years               I apologize, your Honor


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           1                 A civil suit was filed in mid November 2023 that,

           2     among other allegations, detailed this assault at the

           3     InterContinental         The defendant issued a public response to

           4     that lawsuit, which I will quote                Quote, " I did not do any of

           5     the awful things alleged.        Iv
                                                        Through counsel, the defendant

           6     released an even more strident response where he denied, quote,

           7     "offensive and outrageous allegations" and described the

           8     lawsuit as, quote, "riddled with baseless and outrageous lies                9
                                                                                                  11




           9                 These are unequivocal denials of the defendant's

         10      participation in this incident.               This happened in November of

         11      2023      And these denials are also further attempts by him to

         12      obstruct justice and prevent the truth of this event from being

         13      known •

         14                  So we f ast forward to May of 2024 when this

         15      surveillance video is obtained by the media and publicized.                  It

         16      is only then, only when there is indisputable proof caught on

         17      video and published to the world that the defendant admitted

         18      that he was involved in this assault.               The sequence of events

         19      makes crystal clear that you cannot take the defendant at his

         20      word .    You cannot believe him when he denies his criminal

         21      conduct •    He lies to cover things up.

         22                  And make no mistake, March 5, 2016, is just one

         23      incident of violence and obstruction that we have investigated

         24      and would prove         This investigation has yielded evidence of

         25      numerous assaults against female victims and other individuals


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           1     These assaults include choking, hitting, kicking, and dragging

           2     victims, of ten by their hair            The investigation has yielded,

           3     which I will talk in a little bit more detail later, detailed

           4     evidence of these Freak Offs in the form of travel records,

           5     communications, hotel records, witnesses, and videos

           6                 So this is the kind of conduct I am talking about when

           7     I argue that the defendant is a danger to the community.                    This

           8     Freak Off activity is core to this case                It'S a way of

           9     controlling female victims' lives, method of using physical

         10      force against them, all to compel them to engage in sex acts

         11      that the defendant wants           And this decades-long history of

         12      violent conduct makes clear that even the most stringent bail

         13      conditions will not suffice to ensure the safety of this

         14      community.

         15                  The danger inquiry is focused on danger to any real

         16      person, and the evidence shows that the risk of danger in this

         17      case is acute        The risk of danger is acute towards victims,

         18      towards some of the defendant's staff, towards other -- and

         19      towards other witnesses           His past assaults have caused

         20      significant injuries and required periods of physical recovery

         21      for individuals who have been injured.              And what's more, this

         22      conduct takes place behind closed doors typically                      It

         23      typically takes place in settings that are not easily monitored

         24      by even stringent conditions of release                And the investigation

         25      has further showed that this defendant's violence was both


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           1     premeditated, but of ten spontaneous, and the spontaneity

           2     exacerbates the difficulty of crafting conditions of release

           3     It's very difficult to ensure the safety of any person when the

           4     defendant has the propensity to become violent at the slightest

           5     provocation.      No bail conditions can address that.

           6                 It's this longstanding pattern of abuse that is really

           7     critical here, your Honor            This pattern has been entirely

           8     undeterred by over a decade, by threats of public exposure, and

           9     by law enforcement intervention, and it's incredibly probative

          10     of whether the defendant will continue to act the way he has

          11     done for the past few decades

          12                 And the risk of obstruction is also incredibly

          13     significant.       The defendant's power gives him a unique ability

          14     to influence and intimidate witnesses and victims                      Witnesses

          15     we have interviewed have universally expressed their fear of

          16     the defendant.       His influence makes it extremely difficult to

          17     convince people that they will be safe from his actions                     And

          18     evidence like the March 5, 2016 incident that I just outlined

          19     makes it clear that the defendant is willing to deflect, to

         20      minimize, and to lie about his conduct.

         21                  And March 5 is not the only incident of obstruction in

         22      this case       Following the November civil suit that I mentioned,

         23      the defendant and his coconspirators continued their efforts by

         24      reaching out to potential victims and witnesses                  This outreach

         25      has included several different types of contact.                 The defendant


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           1     himself has contacted witnesses, including those who received

           2     grand jury subpoenas from the government in this case, and that

           3     contact has occurred prior to dates of testimony or meetings

           4     with the government, and in one case with an individual who

           5     hadn't spoken to the defendant in years prior to this readout.

           6     The defendant also directly contacted at least one victim,

           7     which I will circle back to momentarily.

           8                 This constant contact with witnesses is important to

           9     understand, and so just one example from this past week is

         10      illustrative        On September 10, which is one week ago, Dawn

         11      Richard filed a civil complaint detailing abuse she experienced

         12      and observed from the defendant.             And the allegations in

         13      MS. Richard's complaint overlap in time period with the events

         14      charged in this criminal case              Several days later, on

         15      September 13    I   another member of a band that MS. Richard had

         16      been in with the defendant, an individual named Kalenna Harper,

         17      released a statement that, in sum and substance, denied that

         18      she saw some of the same things that Richard's complaint

         19      alleges      And so where does the defendant's contact come in?

         20                  Well, in between September 10, the date of the filing

         21      of the lawsuit, and September 14, the day of ter the public

         22      statement by Ms. Harper, the defendant and MS. Harper had 128

         23      total phone contacts       •   The defendant called or texted

         24      MS. Harper 58 times in four days              There hasn't been any

         25      contact since September 14            This incident is just one way of


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           1     making clear that this defendant has the ongoing ability to

           2     keep witnesses, even witnesses who might have been around for

           3     very distant-in-time abuse, in his pocket and at his disposal

           4                 Some of the ways in which the defendant contacts

           5     victims and witnesses are also chosen deliberately to avoid

           6     detection.      Occasionally intermediaries are used to reach out

           7     to individuals        And in one case, the call, the reach-out to

           8     the victim I mentioned earlier, that communication was recorded

           9     on another individual's cell phone               It's ways like this that

         10      make this obstruction incredibly difficult to detect.                  And from

         11      our investigation, we know what's happened on some of these

         12      calls      We know that at least one purpose is to spread f else

         13      narratives and to get witnesses on his side, and by telling

         14      them -- sometimes gas lighting them into making them think that

         15      something happened that didn't happen.

         16                  So in the calls with the victim that I mentioned,

         17      there are two calls      9     This victim is financially supported by

         18      the defendant, and two calls are recorded.                The defendant asked

         19      for the victim's support and friendship, and attempts to

         20      convince the victim that she had willingly engaged in sex acts

         21      with him.      In this call, the defendant ensures the victim that

         22      if she continues to be on his side and provide support and

         23      friendship, that she doesn't have to worry about anything else,

         24      which is just a thinly-veiled reference to continuing that

         25      financial support.           And that call happened, I believe, three


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           1     days -- sorry, those two calls happened three days of ter the

           2     filing of that November lawsuit.

           3                 So in sum, this long history of obstruction and

           4     violence demonstrates that the defendant simply cannot overcome

           5     the presumption that no condition or combination of conditions

           6     can ensure the safety of the community.

           7                 And I will note that, at least with respect to

           8     obstruction specifically, courts have denied or revoked bail in

           9     similar situations in this circuit              For example, United States

         10      V. Lafontaine, 210 F. 3d 125 (2nd Cir. 2000) at page 134,

         11      that's where bail was revoked when the defendant contacted a

         12      potential witness and attempted to feed that witness a f else

         13      narrative with the hope that that witness would adopt it as her

         14      own testimony.

         15                  And this case is truly in the hear tland of detention

         16      cases of this magnitude and this similar -- similar charged

         17      conduct •    I will just briefly review some similar cases                  R.

         18      Kelly in the Eastern District of New York was also charged with

         19      racketeering and sex trafficking              He was detained on all three

         20      grounds      Danger, obstruction, and risk of flight.                  Like this

         21      case, there was a pattern of obstruction that had occurred, and

         22      like this case, the sexual abuse that was alleged was violent

         23      and repeated.

         24                  Jeffrey Epstein from this district was charged with

         25      sex trafficking, and detained on dangerousness, obstruction,


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           1     and risk of flight grounds            In that case, the charged conduct

           2     was much less recent, and so was the obstruction, yet,

           3     nevertheless, Jeffrey Epstein was detained on those grounds as

           4     well

           5                 Keith Rafi ere in the Eastern District as well, also

           6     charged with racketeering and trafficking, again, detained on

           7     all three grounds         While the violence in that case was

           8     serious, it was not personally committed by Rafi ere, but the

           9     Court still found that the defendant was a danger to the

         10      community.

         11                  And finally I will turn to risk of flight.                 The

         12      defendant's incentives to flee changed substantially when he

         13      was arrested last night.          Those incentives are markedly

         14      different today than they were yesterday, and his risk of

         15      flight is much more significant and much more pronounced.                    He

         16      is now charged with serious offenses carrying significant, in

         17      some cases mandatory terms of imprisonment.                And as I will get

         18      to next, the evidence is strong and the possibility of a

         19      substantial sentence is one f actor to be weighed in assessing

         20      risk of flight.

         21                  He'S also charged with crimes that are highly

         22      sensitive and that risk serious reputational harm to him, and

         23      it's the same things that he has spent the last decade trying

         24      to sweep under the rug and trying to cover up.                 The defendant

         25      is a wealthy man.        You can see that in the pretrial services


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           1     report •     It'S also widely known.         That wealth allows him the

           2     ability to flee quickly and without detection should he SO

           3     choose       His counsel have taken steps during this investigation

           4     to minimize flight risk.          They have taken his passport,

           5     attempted to sell his jet, and reported his locations and

           6     travel to the government.          All of those things have been to set

           7     them up for the argument here today, to be able to say today

           8     that he is not a risk of flight.             Those things were done when

           9     his incentives were entirely different.

         10                   And as I expect you will hear from defense counsel,

         11      the defendant did fly to New York two weeks ago at his

         12      counsel's advice, and has been living in a hotel in the city

         13      for the past two weeks, waiting, potentially, for his arrest.

         14      So instead of fleeing from the district, he came to the

         15      district •    But while he is sitting in a hotel, waiting to be

         16      arrested on federal charges, at a time when he should be on his

         17      very, very best behavior, he had what appears to be narcotics

         18      at his hotel room that was found after his arrest last night.

         19      The test results have not yet -- are not yet conclusive, so I

         20      don't want to suggest that we have conclusive test results, but

         21      they are bags of pink powder that are visually similar to bags

         22      of pink powder that we have seized before from the defendant

         23      that have tested positive for ecstasy and other drugs                  9




         24                   So just one quick note on the defendant's proposed

         25      bail package        My focus in the argument now is on detention


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           1     because, as I mentioned, this really is a hear tland detention

           2     case     I am happy if the Court has questions to address my

           3     concerns in more detail, but from the government's perspective,

           4     the defendant's bail package is woefully inadequate                    Its focus

           5     is on risk of flight alone, and there is not a proposed

           6     condition that addresses many of the concerns of danger and

           7     obstruction.       And, in f act, the government submits that there

           8     is no way to successfully curtail the type of obstruction that

           9     the defendant has been engaging in here

         10                  So finally, just a note on the strength of the

         11      government's evidence, which is another f actor that the Court

         12      may consider in its decision.            The government has spoken to

         13      over 50 witnesses, many of whom have personally witnessed the

         14      defendant's abuse or seen signs of it.              The government has

         15      sworn out multiple search warrants for cloud accounts, for

         16      electronic devices, and for the defendant's person and

         17      premises       The government has received voluntary productions of

         18      electronic evidence from coconspirators, victims, and

         19      witnesses       Some of these searches have yielded an incredible

         20      amount of electronic evidence, over 90 cell phones, laptops,

         21      and cloud storage accounts, as well as 30 other electronic and

         22      storage devices, such as hard drives, thumb drives, cameras,

         23      and a surveillance system.           We seized physical evidence from

         24      the defendant's residences, the guns, the ammunition, and the

         25      extended magazine I mentioned, and other evidence that


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           1     corroborates the victim's account of the Freak Offs                    We also

           2     obtained documentary evidence from over 300 grand jury

           3     subpoenas that have been issued, and other voluntary

           4     productions

           5                 Altogether, this evidence, the electronic evidence,

           6     the documentary evidence, and the witness testimony, it is

           7     going to be used to prove exactly what we charged in our

           8     indictment.      And for Freak Offs specifically, we have

           9     communications about setting up the room, communications with

         10      male escorts about getting to the rooms, about traveling to the

         11      rooms      We have the supplies that were used in the Freak Offs

         12      We have hotel records, of ten showing extensive damages, and

         13      frequently showing reservations made in the names of his

         14      employees, and we have videos sometimes of the acts themselves

         15      This is the evidence we will use to prove this case, and it

         16      confirms that the defendant is a danger to the community and

         17      poses a serious risk to the integrity of these proceedings

         18      through his continued efforts at obstruction.

         19                  Your Honor, for the reasons I have stated here and in

         20      our letter, the government respectfully submits that the

         21      defendant should be detained pending trial

         22                  THE COURT       Thank you, counsel

         23                  Mr. Agnifilo

         24                  MR. AGNIFILO        Yes    May I use the podium, your Honor?

         25                  THE COURT       of course


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           1                 MR. AGNIFILO       Thank you, your Honor           I am going to

           2     address the government's letter and some of the arguments they

           3     made in a second, but I want to go through first some things

           4     that I think are very important.            And the first is this

           5     Something very significant in this case, and for the purposes

           6     of what we are all here today to decide, happened on

           7     September 5 of this year, about 12 days ago                 And as my

           8     colleague with the United States alluded to, that's the day

           9     that Mr. Combs flew from where he was living in Miami to

         10      New York.

         11                  We had told the government before he left Miami that

         12      we -- let me back up for a second.             It became apparent to us,

         13      because this isn't our first rodeo, that we were getting close

         14      to an indictment         We met with the prosecutors and their

         15      chiefs, and we left that meeting realizing that an indictment

         16      was probably coming down soon         9    We didn't know if it was a week

         17      away, two months away, but it was going to be in the f all

         18      That's what it seemed to us

         19                  I spoke to my client.          I said, My recommendation is

         20      that you come New York           I think less than 20 hours later, he

         21      flew to New York.        He landed in New York.         I told my colleagues

         22      with the government, Just so you know, Mr. Combs is in

         23      New York, and I would like the opportunity for him to turn

         24      himself in.      He has come to New York to turn himself in.

         25      That's why he is here, and if he doesn't turn himself in, just


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           1     let me know if you want to know where he is -- he wasn't

           2     hiding; he was in a hotel -- and I will tell you, and the case

           3     will start.      Twelve days later, the case has now started.

           4                 So we were here because he did the exact opposite of

           5     what we see defendants do when they are presenting problems to

           6     the Court by any means, whether it be risk of flight or danger

           7     He actually came to the district voluntarily.                  At the time, I

           8     don't know if there was an indictment returned or not.                   It'S

           9     none of our business, but we didn't know whether there was                       He

         10      came here to sit it out, to wait              If he had to wait six

         11      months, he would have waited six months                  He only had to wait

         12      12 days, as it turns out.          But that is a very significant step,

         13      and it's only the last of many, many steps

         14                  We got involved in this case -- MS. Geragos and I got

         15      involved in this case in March of 2024             9    And I want to go

         16      through -- the government, I thought, did a very full job going

         17      through parts of their investigation.                  We have been doing an

         18      investigation also          And on March 13    I   I reached out to my

         19      colleagues at the U.S. Attorney's Office                  I never met any of

         20      them .   I don't think they met me            I introduced myself, and I

         21      said I wanted to talk to them about certain aspects of the case

         22      because I had an idea even then where this was going                   And I

         23      had an idea        And we will take a step back even further               And

         24      this is all in the public record by now.

         25                  A lawsuit was unsealed in November of 2023                 It was


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           1     unsealed for a very short period of time before it was settled,

           2     but it involves one -- it involves -- I don't want to get into

           3     it because no one is being named -- but someone who seems to

           4     play a prominent role in the indictment.               And so what seemed to

           5     me -- and I think I was absolutely right -- is that this -- the

           6     unsealing of this lawsuit and the settling of that case

           7     garnered a tremendous amount of public attention.                  And I

           8     concluded that my colleagues with the government read the same

           9     newspapers I did, saw that there was talk of sex trafficking in

          10     this civil complaint, which was settled, and started an

          11     investigation.       And by the time we really got wind of it a f e w

          12     months later, the investigation seemed to be in high gear

          13                 So I contacted my colleagues with the U.S. Attorney's

          14     Office before the searches            The searches were on March 25 of

          15     2024, and the searches consisted of searches of the residence

          16     in Florida, the residence in California                And Mr. Combs was

          17     flying with certain members of his f amity in his plane                    They

          18     searched him.       They got cell phones          They got a lot of phones

          19     from the different houses            They got a lot of different items

         20      from the different houses, and I will talk about some of that

         21      in a second.       And that was the day that I first spoke to the

         22      prosecutors in that case           And it was apparent to me -- because

         23      I got the search warrants on that day, and the search warrants

         24      had the identical charges, most of the serious ones, that we

         25      have in the indictment today.


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           1                 So when my colleague says that the world changed

           2     yesterday, the world really didn't change yesterday very much

           3     because we knew on March 25 where all this was headed, because

           4     what was apparent to us, based on our conversations with the

           5     prosecutors, on our review of the search warrant, is this was

           6     an investigation into racketeering conspiracy, into sex

           7     trafficking, and into violations the Mann Act, among other

           8     things      Three of those things are now in the indictment.               So

           9     there's been no dramatic change in circumstances

         10                  About a week of ter the search, MS. Geragos and I flew

         11      down to Florida         We met with Mr. Combs for a period of time,

         12      and MS. Geragos and I took his passport.               We took physical

         13      possession of his passport on April 1, 2024                 I called my

         14      colleagues with the United States Attorney's Office                    I said, I

         15      want you to know MS. Geragos and I have Mr. Combs' passport.

         16      We sent them an e-mail, and we said, We are going to have his

         17      passport for the duration of this investigation.                 He is not

         18      going to fly internationally.            You won't have to worry about

         19      that .   You are going to know that he is in the United States

         20      because we have his passport.            And not only that; if he travels

         21      domestically during the course of this investigation, we will

         22      tell you.      And we did, without f ail

         23                  He went to a graduation of some of his children in

         24      California       We said, He is traveling from Florida to

         25      California       We sent them an e-mail           He went on a whitewater


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           1     rafting trip at one point, and we sent them an e-mail                  Anytime

           2     he traveled domestically in the United States during the entire

           3     course of this investigation, we told the government where he

           4     was going       I have been doing this 35 years             I don't know that

           5     I know the last time that that happened, much less us taking

           6     his passport.

           7                 We then took the passports of several of his f family

           8     members      I have in my hands Mr. Combs' passport plus five, and

           9     we have had these for months, and we told them that we have had

          10     these for months         And this isn't a show.         This isn't, Oh, they

          11     are just doing this so they can do better at a detention

         12      hearing one day.        This is because we took this investigation

          13     absolutely seriously, as serious as one can take an

         14      investigation, from the earliest stages                And we made what we

          15     think to be prudent decisions with Mr. Combs                 We don't do

         16      these things without him.          We are a team here          And we made

         17      these decisions together to show the government, to try to earn

          18     the government's trust, truthfully; to try to earn the

         19      government's trust, to say, Hey, you know what, we know it's

         20      coming -- back in March we knew it was coming -- we know it's

         21      coming, and when that day comes, we are going to want you to do

         22      two things       They haven't done either of them, but we wanted

         23      them to do two things           We want you to let him surrender -- and

         24      let me just back up for one second.

         25                  And I am not here to find f cult with anything or to


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           1     say anything controversial            The searches that were done on

           2     March 25 were very scary for people who had no involvement in

           3     this investigation whatsoever              Semiautomatic rifles were

           4     pulled on completely innocent people               You can see videos of

           5     the orange lasers on the chest of one of his children.                 You

           6     could see what seems to be an AR-15 at the head of another one

           7     of his children.        And the kids were marched out, and other

           8     people were marched out, not through the back of the house

           9     where there wasn't dozens of reporters and a news helicopter,

          10     but the front of the house so that these young, completely

          11     innocent people could be seen on the international news with

         12      handcuffed for two hours           Handcuffed for two hours

          13     Completely innocent, not involved in the investigation at all

         14      And we did not want that to happen again.               We took great pains

          15     so that that would not happen again

         16                  And that is one of the reasons he flew to New York.

         17      You want me        I know you want me         Here I am.     Here I am.   And

          18     he came to New York and we told them so that nobody else would

         19      be afraid, so that, God forbid, God forbid, there be no tragedy

         20      by accident.       The agents in this case are fine people             I have

         21      gotten to know many of them.           They took good care of Mr. Combs

         22      last night       I want to say that.         Things happen when people are

         23      afraid, and I didn't want anyone to be afraid.                 He didn't want

         24      anyone to be afraid.         The case is about him, and here he is

         25      because he came here to f ace it.


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           1                 We were worried that he had an airplane because, of

           2     course, we are        I can't remember when it started, but

           3     MS. Geragos and I said, You know what, we have to sell that

           4     plane      We have to sell that plane           And we started efforts

           5     there is essentially a financial management company that deals

           6     with a lot of these sorts of issues               I barely own a car          I

           7     certainly don't own a plane            But it's hard to sell a plane,

           8     apparently.      And we have been trying to sell the plane for

           9     about four or five months            We currently have a letter of

         10      intent, which I am told is a good thing when you are trying to

         11      sell a plane, so maybe we will actually sell it this time                     But

         12      we are trying to sell the plane              Why are we trying to sell the

         13      plane?     Because it's not our first rodeo, and we know it's

         14      better if he doesn't have access to a plane

         15                  So what's the deal with the plane at the moment?                 Luck

         16      would have it, it's being chartered               So I guess what happens

         17      with these planes is if you are not going to fly on the plane a

         18      lot yourself, a plane needs to be active or else it f alls into

         19      disrepair, SO folks charter it, and that's what's happening

         20      here     So some unrelated party is flying in the plane from

         21      Los Angeles to Teterboro Airport, I think landing in Teterboro

         22      Airport tonight.        That's really a headache I need.               The plane

         23      that I am trying to keep on the West Coast is flying to

         24      Teterboro, but we have nothing to do with it.

         25                  And the government, to their credit, hasn't made a big


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           1     deal out of the plane because they see we are trying to sell

           2     the plane       But that's a significant act, I think, of goodwill

           3     and trustworthiness that we are trying to sell the plane                      I

           4     wouldn't have the -- I don't know if temerity is the right

           5     word .    I wouldn't be foolish enough, I think, to come before

           6     your Honor one day -- I didn't know it would be your Honor; I

           7     didn't know when this day would come -- with us having this

           8     airplane, with us not collecting all these passports, without

           9     Mr. Combs coming to New York and saying, Hey, Judge let him go

          10     Well, why would I do that, Mr. Agnifilo?               What have you shown

          11     me?    What trust, what trust have you earned in the eyes of the

         12      Court?     And the answer would be, None            But we have          And trust

          13     is earned, and we have earned it.

         14                  And my colleagues with the government, we couldn't win

          15     them over       We tried, and we couldn't win them over                  We

         16      couldn't agree on a very substantial bail package                      We couldn't

         17      get them to turn himself in, and I get it.                That's their right.

          18     But, you know, we have your Honor              So we have been trying to

         19      sell the plane

         20                  But coming back to the New York situation just for a

         21      second.     One of the things that I notice from the indictment

         22      is, there is one victim in Count Two, in the sex trafficking

         23      charge      There is one victim.         One of the things that's

         24      happened -- and I will take my third step back.                 When the

         25      complaint of the civil case was unsealed around Thanksgiving


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           1     last year, November of last year, there was a flurry of other

           2     civil cases, many, many of them.             I think 12   I   15   We don't do

           3     the civil stuff, MS. Geragos and I, but there is another lawyer

           4     who does       We were getting a new civil case every week,

           5     sometimes two a week.         And what it seemed to us -- and I am not

           6     disparaging anything -- is people were jumping on a bandwagon

           7     of sor is      I think someone noticed, Wow, Mr. Combs wrote a

           8     the settlement is confidential, so I am not going to say what

           9     it was, but it was large           Mr. Combs wrote a very large check

         10      to someone who he was in a relationship with for ten years, who

         11      is the person in Count Two            And I will get to that in a

         12      second.     Ten-year relationship          If he is writing checks, I

         13      want my check, and everyone lined up to get their checks                      And

         14      we were getting an endless supply of civil lawsuits

         15                  So I had no idea when this indictment came down, I had

         16      no idea, are we going to have one victim or are we going to

         17      have 12 victims         I didn't know.       I was ready for 12 victims           9




         18      I was happy to see there was only one               So it is not as though

         19      this indictment is somehow worse than we imagined                      It'S, if

         20      anything, better than we imagined, and eminently manageable,

         21      from our perspective

         22                  I won't belabor the point.           I notice in the pretrial

         23      services report, I think they say that Mr. Combs should be

         24      detained because he has a criminal history.                   I don't know that

         25      that's right.       He went to trial in a New York state court in


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           1     2001 and was acquitted, fully acquitted.               And one thing that I

           2     think is noteworthy, and I would be derelict in my duties if I

           3     didn't bring it up, is that was quite a serious case, and he

           4     went to every court appearance             He went to every court

           5     appearance for the year or so that that case was pending, and

           6     he went to every court appearance              And then a jury of 12

           7     New Yorkers, just like a jury of 12 New Yorkers one day will

           8     hear this case, acquitted him.             So he knows what that's like

           9     He knows what that involves            And it looks like he is going to

         10      have to do that again.          And he is ready to do it again, and he

         11      came here to do it again.          So I don't think he does have a

         12      criminal history in terms of felony convictions                  I don't think

         13      he has any felony convictions              I think there might be a

         14      misdemeanor that goes back some period of time, but I think

         15      that's it.

         16                  One of the other things that's in the pretrial

         17      services report that I just want to mention briefly -- and this

         18      is mostly a confidential matter, so I don't want to get too

         19      much into it.       One of the things that Mr. Combs is doing in

         20      New York is getting treatment and therapy for things that, most

         21      respectfully, he needs treatment and therapy for                   And I say

         22      that as his lawyer           And he is getting that.        And I notice that

         23      in the pretrial services report they had that as a reason to

         24      detain him.      I don't see the world that way at all                 I think

         25      everybody has flaws      9    I think that some of what the


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           1     government's presentation this afternoon relates to is that

           2     Mr. Combs is not a perfect person.             There's been drug use

           3     There's been toxic relationships that I think were mutual in

           4     their toxicity, as these things tend to be                 And if he has seen

           5     fit at the ripe old age of 54 to really take things into his

           6     own hands and try to be better for the rest of his days, I

           7     think that is only a positive, only a good thing                   I don't see

           8     anything negative in that.           And I think if there is one thing

           9     that we have seen as a country and as a justice system, is if

         10      someone wants to stand up for themselves to try to get the help

         11      that they need, we stand with them.             We stand with them.         We

         12      don't say, Wow, you are trying to get the help that you need;

         13      we think you should be in jail now because you are trying to

         14      get the help you need.          So I appreciate the efforts of pretrial

         15      services and their observations and the hard work that they do

         16      and always do, but I very much disagree with that aspect of the

         17      report •

         18                  I want to talk a little bit about the government's

         19      sentencing letter         I think many of the things that my

         20      colleague talked about in terms of obstructing justice is not

         21      actually obstructing justice             And let me name a few.        They

         22      talk about -- my colleague talks about March of 2016                   And this

         23      is an unfortunately f fairly well-known event because somehow

         24      we will never know how exactly -- this hotel footage found its

         25      way to CNN and found its way to the rest of the world.                  I


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           1     wonder how that happened.          We didn't have it.         The government

           2     had it.     It got to CNN on a day that Donald Trump wasn't having

           3     any court proceedings, on a day that was sort of a slow news

           4     day.     The news picked it up because CNN got this videotape

           5     And we all saw it and I saw it.            Mr. Combs saw it.           Mr. Combs

           6     issued an apology.        Is that a wise thing?         Was that not a wise

           7     thing?     I don't know.      He wanted to do it.        It meant something

           8     to him, and he apologized.           And that's what he did.

           9                 Now, one thing that's important about the video -- and

         10      since the government talked about some of the evidence, we have

         11      to talk about some of the evidence              What I think the evidence

         12      is going to show about the events leading up to this video

         13      being made is that two people are in a hotel room, Mr. Combs

         14      and Victim Number 1 from Count Number Two                 Having looked

         15      through more text messages and e-mails than I care to, and I

          16     think the government would agree, one of the major issues in

         17      that couple's relationship at that point, and at many other

         18      points, is that Mr. Combs had more than one girlfriend, okay.

         19      And Victim Number 1 was looking through Mr. Combs' telephone

         20      when Mr. Combs was asleep, found evidence that Mr. Combs had

         21      more than one girlfriend.          She was not the only one              She hit

         22      him in the head, while he was sleeping, with his own cell phone

         23      and then took his clothes            She has two bags as she runs into

         24      the hallway.       In one of those bags is Mr. Combs' clothing                 All

         25      of it.     She has left him in a hotel with no clothes, having hit


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           1     him in the head in his sleep with a cell phone, which is why he

           2     comes out into the hallway in a towel

           3                 N o w , I am not going to comment on the video because my

           4     client commented on the video         I   and we all know what we saw, b u t

           5     to the extent that the government says that this is somehow

           6     evidence of sex trafficking, it's evidence of Mr. Combs having

           7     more than one girlfriend and getting caught.                And that will be

           8     shown resoundingly not just by my words, but by the written

           9     communications between those two people                And let me talk about

          10     that for a second.

          11                 This is a ten-year relationship.            This sex trafficking

          12     is a ten-year relationship.           These two people were in love

          13     That will be made abundantly clear by the way they speak to

          14     each other, by the way other witnesses described their time

          15     together, and by the circumstances of how they broke up.                    They

          16     were in love, but Mr. Combs wasn't always f aithful                    There was

          17     someone else    9   One person, maybe more than one person.               This

          18     was a source of great hurt to Victim Number 1                  At the end of

          19     the day, there was mutual philandering, and Victim Number 1

         20      ended up marrying the trainer that Mr. Combs got for her, and

         21      had two children         That signaled the end of the relationship.

         22      They had been cheating on each other for years, but now she had

         23      two kids with the trainer, and that was the bridge too f ar that

         24      led to their relationship coming apart.

         25                  Years and years and years later, when I submit Victim


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           1     Number 1 realizes she had a pretty good thing for ten years

           2     with Mr. Combs -- they were in love, it was exciting, she was a

           3     recording artist, he had a recording studio, things -- I don't

           4     want to comment on her present life               I have no idea what it's

           5     like     Maybe things with the trainer weren't quite the same as

           6     they were with Mr. Combs, and she does something that is very

           7     significant, if we are going to talk about the evidence in this

           8     case      She has her lawyer call Mr. Combs' lawyer, and in a

           9     recorded conversation for eight minutes and 12 seconds, where

         10      her lawyer says, My client has written a book.                 It'S about your

         11      relationship.       She is not talking about sex trafficking and she

         12      is not talking about sex crimes             My client has written a book,

         13      and she is going to publish it, but if you want to buy the

         14      rights, then you will have the exclusive rights, and she won't

         15      be able to publish it.          And you know what, you can buy the

         16      rights for $30 million.          A recorded conversation •         The

         17      government has it.        We have it.

         18                    That conversation, I guess, didn't go so well for her

         19      and the lawyer        So the next thing we know, it's now November

         20      of 2023   I   and she has a different lawyer           This lawyer is not SO

         21      interested in intellectual property for $30 million.                     This

         22      lawyer is saying, I am going to bring a civil sex case because

         23      the statute of limitations allow me to do that, because there's

         24      been a change in the statute of limitations that allows me to

         25      do that, and that's what I am going to do                 So I am not really


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           1     here to embarrass you anymore to the tune of $30 million; I am

           2     going to bring this civil sex claim against you.

           3                 It'S negotiated.       MS. Geragos and I are not involved

           4     in the case yet because there is no criminal component to it,

           5     and that's significant to what I am about to get to in a

           6     second.     The case settles for an undisclosed and large amount

           7     of money, and then we have the torrent of other civil claims

           8                 Now, one of the things the government talked about,

           9     and they talked about obstruction of justice, is things that

          10     seem to have happened around the time that this lawsuit settled

          11     and other lawsuits were coming in.             Certainly, Mr. Combs did

         12      not know about any Southern District investigation at this time

          13     period.     I mean, absolutely nothing

         14                  And one of the important -- my colleagues mentioned

          15     this case called Lafontaine, and they cited it to you.                  And I

          16     read Lafontaine just before we came today, and the difference

         17      in Lafontaine is Lafontaine was charged.               Lafontaine was in

          18     jail     Lafontaine was released, and he was told, Don't contact

         19      any of the witnesses in this case              So what does Lafontaine do?

         20      He gets released and he starts calling witnesses               9   So that is a

         21      drastically different situation than we have here, where

         22      Mr. Combs doesn't even know that there is a criminal case                  No

         23      one knew there was a criminal case afoot.               So I called the

         24      prosecutors in March          My colleagues were saying these things

         25      happened in November of 2023             There is no criminal lawyer


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           1     involved.      I am not involved.        Mr. Combs has no idea that there

           2     is a criminal case going on.            So I don't see any of these

           3     things as obstruction of justice

           4                 What I do see, looking at things in the light most

           5     f favorable to the government, is there is a tremendously

           6     embarrassing event for Mr. Combs; not something he thinks is

           7     criminal, not something that's under investigation.                    What

           8     happened on March 5, 2016        I   I know of no DA investigation, no

           9     police investigation, no federal investigation surrounding this

         10      video that we all saw from March of 2016                The problem isn't

         11      that .   The problem is, it's embarrassing              And this is a man

         12      that's involved in very significant business deals and in very

         13      significant business transactions, and he can't afford, quite

         14      frankly, to be seen in a towel hitting a girlfriend.                    He is not

         15      trying to stop a criminal investigation.               There is no criminal

         16      investigation.       He and this person had a mutually toxic

         17      relationship for quite awhile

         18                  Shortly of ter the events that are depicted on the

         19      videotape that we all saw, Mr. Combs checks himself into a

         20      rehab f facility because he is doing too many drugs, and he has

         21      an unhealthy relationship, and he knew it, and he had the

         22      wherewithal to try to go get help              And this person -- other

         23      person, I believe, got help around the same time                   So this is

         24      not a one-sided thing          Now, why would it be depicted as a

         25      one-sided thing?        There's 30 million reasons           There ' S


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           1     30 million reasons for this to be depicted as a one-sided

           2     thing; one for each dollar that he was being sued for                  These

           3     people didn't go to the cops             These people didn't go to law

           4     enforcement.       This woman didn't say, My goodness, I am the

           5     victim of sex trafficking; I am going to go tell law

           6     enforcement.       The first thing she did is say, I am going to

           7     write a book, but for $30 million, you can buy the rights

           8     That's the first thing she did.            And the second thing she did

           9     is she brought a civil suit.

         10                  So when they talk about the evidence in this case

         11      being strong, I respectfully descent.              The evidence in this

         12      case is deeply problematic         9   Now, this is not the time to

         13      litigate a very complicated criminal case, but the strength of

         14      the evidence is one of the f actors that we are told we have to

         15      think about, SO that's why I am talking about it.

         16                  In terms of what happened recently with this Dawn

         17      Richard lawsuit and someone named Kaleena Harper coming out and

         18      saying what her experience was, this is the furthest thing from

         19      witness obstruction I can think of.             A person brings a civil

         20      lawsuit.     Another person from the same band that the person who

         21      brought the civil lawsuit was in -- and the civil lawsuit is

         22      all about, Combs was hard on us, he drove us, he made us work

         23      all the time, you know, he did a couple of inappropriate

         24      things      And so someone with the exact point of view of the

         25      civil plaintiff comes forward and says, in essence -- and this


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           1     is -- I thought it was a soft, respectful statement.                    And the

           2     statement was, I am not taking away her experience                     That

           3     wasn't mine         That wasn't my experience          She is entitled to

           4     her experience         I was there       That's not what I saw.          That ' S

           5     not what I saw.       That's two witnesses having divergent

           6     recollections of similar events          9    And I expect this trial is

           7     going to feature exactly that                So there is nothing wrong with

           8     that .   That's why we have criminal trials and civil trials

           9                 I take the obstruction of justice seriously,

          10     obviously.      And one thing I note -- and my colleague said that

         11      there is nothing your Honor can do to stop Mr. Combs from

          12     obstructing justice          One thing that I think is noteworthy

          13     and my colleagues have investigated this case exhaustively for

         14      several months, and I give them credit for that -- is that the

         15      only thing they can say since the time MS. Geragos and I have

          16     been involved in this case is that another witness said

         17      something different than a first witness                And I am not even

          18     sure Dawn Richard is a witness in this case                 I am not asking,

         19      but I don't really see how she would play a role                   So I have to

         20      say, quite frankly, your Honor doesn't have to do anything to

         21      make sure that he doesn't obstruct justice because he hasn't

         22      done a darn thing since we have been involved in this case

         23      And even taking everything that the government says as true,

         24      that's true

         25                  Okay.     There is a section in the government's letter


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           1     called Sex Trafficking and Abuse, and I want to talk about that

           2     because sex trafficking is a very serious crime and I want to

           3     address it head on.         One victim, ten-year relationship.          It

           4     seems like what their theory is, is that as part of the way

           5     that these two adults wanted to be intimate together is that on

           6     occasion, a third person, a male, would come into their

           7     situation and have sexual contact with the woman.                  And from

           8     what I heard the government say -- and Mr. Combs would not have

           9     sexual contact with the male             But, you know, this male would

         10      come and have sex with the woman.             All right.

         11                  So MS. Geragos and I have interviewed a half a dozen

         12      of these males        We have been as busy as the government has

         13      over the last six months              And I can represent to your Honor, I

         14      have asked all the questions I could think of, of, Did anything

         15      ever, ever seem remotely nonconsensual'>              Was anybody too drunk?

         16      Was anybody too high?          Did anyone express any hesitation?            Was

         17      there the slightest inkling that possibly, possibly the woman

         18      wasn't consenting?        No     No     No    No     I think my colleagues

         19      spoke to some of the same people, and I expect that they heard

         20      the same thing

         21                  One thing that I didn't see in the government's very

         22      carefully written detention letter, they never say anybody

         23      didn't consent.       They don't say it.           They suggest a lot of

         24      things      They suggest that because Mr. Combs is rich, because

         25      Mr. Combs took care of his girlfriend financially -- they never


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           1     lived together, and that's important for a reason that I will

           2     talk about in a second.          But because Mr. Combs provided for

           3     this woman, because they were in love, he was in love with her

           4     and she with him, that somehow this exerted some sort of

           5     control that overwhelmed her free will            9    And they certainly

           6     suggest that, but they are very good writers, and if someone

           7     didn't consent, they would have written that in a sentence, and

           8     they didn't.       And it's because I think they are speaking to the

           9     same people we are, and no one is talking about lack of

          10     consent •

          11                 Is it, maybe, unusual -- I shouldn't say that.                 That ' S

         12      a judgment word.        Does everybody have experience with being

          13     intimate this way?        No     Is it sex trafficking?         No, not if

         14      everybody wants to be there         9   If everybody wants to be there

          15     the federal government -- we are not all better off if the

         16      federal government comes into our bedrooms                 They don't do

         17      great there, and that's what's happening there                  They are

          18     coming into this man's bedroom, and they are making not just

         19      judgments; they are charging him with statutes that, as they

         20      said, could put him in jail for life                  I don't think these

         21      things are going to pan out             I just don't think they are going

         22      to pan out.

         23                  They talk about other violence in their bail letter,

         24      and they are talking about a kidnapping from 2011, and I know

         25      exactly what they are talking about because we interviewed -- I


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           1     know who the person was who was allegedly kidnapped.

           2     MS. Geragos and I interviewed her in Los Angeles                   We took a

           3     statement from her          She certainly didn't use the word

           4     "kidnapping" with us          I won't get into what she did say, but

           5     let's suffice it to say there is another side to that story,

           6     and one day that other side might be told.

           7                 Okay.    Firearms      Mr. Combs employs a professional

           8     security company that provides his security.                He is at a point

           9     in his life where he has that ability, and he has the ability

         10      to employ a security company to keep him and anybody who might

         11      be in his home safe          Now, why would he do that?          I don't think

         12      you have to necessarily be Sean Combs to need personal safety

         13      anymore      I mean, what we see is that, you know, people

         14      homes especially, you know, in Los Angeles and all the areas of

         15      Los Angeles, including where Mr. Combs keeps his house, and in

         16      Miami, responsible personal security is important, and that's

         17      what we are talking about.           That's what we are talking about.

         18                  These aren't his guns, you know.            He has nothing to do

         19      with how guns are kept in his house               And my suggestion to the

         20      Court is, if the government really thought that these were his

         21      guns, they would have charged him with them, and they didn't.

         22      He is not charged with firearms              There's a part in the Methods

         23      and Means section of the racketeering count where they say

         24      there were firearms in the house              We know there are firearms

         25      in the house        We know there are firearms in the house because


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           1     he has a professional security company that keeps firearms in

           2     the house       How they do it, whether they did it right, whether

           3     they did it wrong, whether they should have an AR-15 with no

           4     serial number, you know what, not for us to say.                   Not his gun.

           5     And if it was his gun and they can prove it was his gun, I

           6     think they would have charged him with a def aced AR-15, and

           7     they didn't because it is not his gun, because he has a

           8     professional security company that does all of this work

           9                 A couple of other observations            9     My colleague

         10      mentioned the R. Kelly case            R. Kelly involved children, flat

         11      out.    Different.      Night and day different.             And the reason it's

         12      night and day different is because children, thank goodness,

         13      cannot consent.       There is no issue          There is no issue of

         14      consent when you are talking about a kid.                    A kid is a kid, and

         15      kids can't consent.        End of story.       Epstein, children.           Keith

         16      Rafi ere, children.       Very, very, very different.              Very

         17      different.      Children to adult, very different.                Children to

         18      ten-year adult relationship, not even in the same ball park.

         19                  So where are we°       Where we are is we have a

         20      substantial, substantial bail package            •        Some members of

         21      Mr. Combs' f amity are here           If you can just -- there you go

         22      They have come here on short notice                  They are here        They love

         23      him.    They support him.        I won't go through it because it's in

         24      our bail letter, your Honor            We are talking about a

         25      $50 million bond secured by a $50 million -- $48 million piece


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           1     of property.

           2                  One thing that I think is very significant is, knowing

           3     this day would come, on August 20, just less than a month ago,

           4     we saw that there was, I t h i n k , $l8 million of mortgage left on

           5     that house in Florida           It'S called Two Star         It was a

           6     terrible business decision for Mr. Combs and his people                   We

           7     paid off the mortgage          Why?    Because we knew this day was

           8     coming, and I wanted him to say one day -- one day I want to be

           9     able to tell the judge in the Southern District of New York

          10     that we have a $50 million bond secured by a $48 million house

          11     with no mortgage         So we paid off the mortgage because that is

          12     what it means to build trust.            And we have done these things to

          13     build trust in a real and substantial sense                 There is nothing

          14     about this as a show.         No one makes bad financial decisions

          15     just for a show.        It was important.       And I told him this is an

          16     important thing to do           You want to show the Court that you are

          17     taking it seriously?         If we weren't taking this investigation

          18     seriously back on August 20, we wouldn't have done it, and we

          19     did do it.      If we didn't take this investigation seriously on

         20      April 1, we wouldn't have taken his passport, and we took his

         21      passport •

         22                   We have been taking this investigation seriously each

         23      and every day since I have been involved in this case in March,

         24      and yet, and yet, he flew here, and yet, he came here                   And SO

         25      we can trust him and we can trust him because he earned his


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           1     trust through actions           This isn't just the words of his

           2     lawyer; this is him under taking action to show your Honor that

           3     he is trustworthy, that he is a man of his word.                 He is not

           4     going to obstruct justice            He is not going to run away.

           5                 One day I expect we are going to have a trial, and my

           6     colleagues from Southern District of New York, I know them

           7     well     They know me well          We will have a f air trial, and this

           8     will be adjudicated in the only way it possibly can; in a

           9     courtroom, with evidence            And I expect -- we have substantial

         10      defenses, substantial defenses to these charges, to every

         11      single one of them, every single one of them, and that is how

         12      Mr. Combs is handling this case             He is handling it head on,

         13      the way he's done everything else in his life

         14                  He'S become a controversial figure              He'S become sort

         15      of a punching bag for these civil suits, but he has also built

         16      these tremendous businesses from scratch, doing things that

         17      it's difficult for anyone to do              I mean, Mr. Combs has

         18      overcome tremendous odds        9   His f other was killed when he was

         19      two years old, grew up in Harlem, and through hard work he has

         20      earned everything that he has gotten.              He earned it.       And one

         21      of the things that I submit wholeheartedly to your Honor is

         22      that one of the things he's earned, and maybe the most

         23      important thing that he has earned in his life -- and that's a

         24      lot -- is he has earned this Court's trust.                He has earned this

         25      Court's trust through his actions, the way he has always earned


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           1     everything       There's no difference          And SO I am asking your

           2     Honor to release him on the very, very stringent and very

           3     demanding bail proposal that we have on our letter on page 2

           4     and page 3

           5                 And I am here for your Honor's questions, but I have

           6     nothing else to say at this point.

           7                 THE COURT       Okay.    Thank you, counsel

           8                 MS. Johnson, do you have any rebuttal?

           9                 MS. JOHNSON       Your Honor, I will be brief.             Just four

         10      brief points        Defense counsel has spoken extensively just now

         11      about his view of the evidence, his thoughts on the defendant's

         12      relationship, and his critique of law enforcement's operations

         13      in this investigation, but I submit to the Court what he has

         14      not done is rebutted the presumption that the defendant should

         15      be detained.

         16                  In terms of the obstruction points that Mr. Agnifilo

         17      raised, there does not need to be an existing investigation,

         18      and the defendant does not need to know about it, but we have

         19      evidence that he does know, or he does suspect.                 Three days

         20      of ter the settlement of that November civil suit, he is

         21      recorded speaking about how he is fearful of talking on the

         22      phone because it might be tapped.             And he is using someone

         23      else's phone in that regard            He -- we know, as of at least

         24      February -- knew about the existence of this very

         25      investigation, and has continued since February to contact


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           1     witnesses       He has contacted MS. Harper last week, as I

           2     mentioned, multiple times            There are at least two other

           3     witnesses who received grand jury subpoenas this summer who

           4     were reached out to multiple times by the defendant.

           5                 THE COURT       I think what he was saying is those

           6     witnesses wouldn't necessarily have any insight into the

           7     behavior that's actually charged in the indictment.

           8                 MS. JOHNSON       The witnesses who received grand jury

           9     subpoenas have firsthand knowledge of the behavior that's

         10      charged in the indictment.           I think that -- I obviously haven't

         11      spoken to MS. Harper, but the allegations in MS. Richard's

         12      complaint certainly are of the same time period and relate to

         13      some of the same violent acts that the government intends to

         14      prove at trial

         15                  And just a brief note on weapons              I don't dispute

         16      that Mr. Combs has used armed security, but it is incredulous

         17      that armed security in a professional security company would

         18      use def aced AR-15s and store them in pieces in the defendant's

         19      personal closet.        That is absurd.

         20                  And finally, defense counsel spent a lot of time

         21      talking about the individual identified as Victim 1 in this

         22      case, and spent some time alleging that the government is not

         23      proceeding on a theory that there was no consent.                  And I want

         24      to clarify y the record that to the extent it was not clear,

         25      based on the f act that Count Two is charged as sex trafficking


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           1     by force, fraud, and coercion, we are most certainly proceeding

           2     on the theory of lack of consent.             We are proceeding on a

           3     theory that Victim 1 was forced, and that she was coerced to

           4     par ticipate in these sex acts

           5                 And the relevant question here today is not that

           6     consent question.        The relevant question here today is the

           7     defendant's danger, and is he dangerous to the community.

           8                 THE COURT       Would he not -- he wouldn't be a danger,

           9     would he, if he only engaged in these kind of behaviors with

         10      consenting adult partners?

         11                  MS. JOHNSON       Well, we do have the video which shows

         12      him assaulting a partner on video              That video speaks for

         13      itself.     And abuse and long-term relationships are not mutually

         14      exclusive       And a single instance, even where a defendant has

         15      no criminal history, a history of domestic violence has been

         16      found sufficient to detain a defendant, and that's the Mercedes

         17      case which is cited in our letter

         18                  And my last point, your Honor, is that despite

         19      Mr. Agnifilo laboring over Victim 1, this is not a case about

         20      one victim; this is a case about multiple victims and dozens of

         21      witnesses who saw Mr. Combs' violence, who saw it during and in

         22      connection with Freak Offs            Multiple victims have been abused

         23      in Freak Offs        There's been violence, drugging, and coercion

         24      through the date of the indictment in 2024

         25                  THE COURT       Thank you, counsel


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           1                 MR. AGNIFILO       Just very briefly.         One of the things

           2     that we have been very transparent about -- and we have been

           3     transparent in our conversations with the prosecutors, and I

           4     think I have even been transparent with your Honor                     Mr. Combs

           5     and this woman -- I am not picking on anybody; it is the

           6     centerpiece of the indictment -- had a mutually difficult

           7     the whole relationship was actually quite good.                 There was a

           8     dark period for both of them, and it was mutual, and it was not

           9     something that Mr. Combs imposed on anybody.                She was a

         10      successful recording artist in her own right.                She was very

         11      much an adult.       She had her own house          Mr. Combs paid for the

         12      house, but they didn't live together               So to the extent that

         13      there's this sort of veneer of control, Mr. Combs is a busy,

         14      busy man, and one of the things he is busy doing, frankly, is

         15      having more than one girlfriend.             So if this person wasn't

         16      controlled, this person was a willing participant in a loving,

         17      though toxic, relationship.           And we will never say anything

         18      different.      But that doesn't -- that's our defense                  That

         19      doesn't make it sex trafficking

         20                  And what we are doing here, we are really, sort of, on

         21      a slippery slope because the government is going to say, Well,

         22      you know, she didn't consent because she was coerced.                    She

         23      didn't say that.        She didn't say that until she stood to get

         24      $30 million from saying that, because that's what she needed to

         25      say to get it in under the statute of limitations                      So where we


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           1     are is, it's a very serious case, and we don't say anything

           2     different than that, which is why we have a very serious bail

           3     package, but it's a case that he is going to defend, and he has

           4     shown that from the very first minute that he realized this was

           5     a case when I told him that in March               This has been a case

           6     We have done things a certain way since then.                Are we going to

           7     continue to interview witnesses?             of course, we are         We take

           8     pains to stay out of the governments way.               We don't know who

           9     the grand jury witnesses are, you know.               And honestly -- I

         10      won't get into the details            If I think they are talking to

         11      someone, I will pull up short              I don't want any problems        You

         12      know, do I want to speak -- we both know pretty much

         13      everything, you know.

         14                  They want to talk to 50 people; we want to talk to the

         15      same 50 people        If I find out they are a grand jury witness, I

         16      make a strategic decision to not interview that person, you

         17      know .   And we have done that consistently for the last six

         18      months, you know.        So this is -- we are trying            We really are

         19      We are trying to walk the fine line of doing a responsible

         20      defense investigation in a very serious case, and not running

         21      afoul of my colleagues with the U.S. Attorney's Office                   And I

         22      think we have done it, for the most part, and we will continue

         23      to do it.

         24                  And the one thing that I hope your Honor can see,

         25      because this is really the heart of our presentation, is


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           1     Mr. Combs has done a lot of things to show that he is

           2     trustworthy.       Lots of lawyers get up and say lots of stuff.

           3     He's done things to show that he is trustworthy.                 All he needs

           4     to know is what he can't do, and he won't do it.                 He will not

           5     do it.      We will do it.      This will be a hard fought case, very

           6     hard fought from both sides            Obviously means a lot to the

           7     prosecutors        It means an awful lot to us            It will be handled

           8     well     It will be handled with lawyers with a lot of experience

           9     who know the difference             And I think you should absolutely

         10      trust Mr. Combs          And I will go one step further            I am going

         11      to ask you to trust me           I am with him.       I mean, I am with him.

         12      I have my eye on him.         I know where he is.         We speak five times

         13      a day, and I will make sure that everything goes the right way.

         14      And so I really want to thank your Honor for all the time you

         15      have given US

         16                   THE COURT      Thank you, counsel         Is there anything

         17      fur then?

         18                  MS. JOHNSON       Nothing from the government.

         19                   THE COURT      Okay.    Thank you both for your argument.

         20      It was very helpful          I am going to take a short recess, and I

         21      am going to invite the representative from pretrial services to

         22      join me in the robing room.

         23                   (Recess)

         24                   THE COURT      I want to thank counsel again for their

         25      helpful argument.


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           1                 In this case, I find that the presumption has not been

           2     rebutted and there are no conditions I can impose that would

           3     reasonably assure the appearance in court and the safety of the

           4     community.      I make this decision based on all the information

           5     presented to me, which includes the arguments and information

           6     provided by counsel, which includes the letters submitted in

           7     the pretrial services report.

           8                 You are charged with a crime of sex trafficking, SO

           9     there is a rebuttable presumption in f aver of detention, and my

         10      concern is that this is a crime that happens behind closed

         11      doors, even where pretrial services is monitoring                      The alleged

         12      victims are people with whom there is a power imbalance, who

         13      are susceptible to coercion, not necessarily threats, but

         14      concern about losing benefits that they have been provided in

         15      the past.

         16                  There are also indications in your history and

         17      characteristics that I think are a reason why the presumption

         18      in f aver of detention has not been rebutted; prior substance

         19      abuse and the fact that the alleged violence seems to occur

         20      hand in hand with times when you are not necessarily in control

         21      of your actions because of that substance abuse                  Your lawyer

         22      asked me to trust you and to trust him, and I don't know that I

         23      think you can trust yourself, and I don't believe that counsel

         24      has the ability to control you, given the very significant

         25      concerns I have, par ticularly because of substance abuse and


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           1     what seem like anger issues

           2                 I think the weight of the evidence is significant,

           3     given that the government has proffered that there are multiple

           4     witnesses who are saying that they have witnessed significant

           5     serious violence, and the danger, I think, is quite serious

           6     There have been weapons around.            There has been significant

           7     violence, and I also think it's significant that there has, I

           8     think, been a proffer of significant evidence of coercion of

           9     witnesses; maybe not brutal coercion, but gentle coercion can

         10      be just as effective

         11                  I have considered alternatives, such as monitoring,

         12      home detention, a significant bond as your counsel proposed,

         13      and I just don't think it's sufficient because SO much of what

         14      would happen, the types of behavior we are talking about,

         15      happens behind closed doors

         16                  I appreciate the willingness of your f amity and

         17      friends to support Mr. Combs, including by a willingness to

         18      cosign a bond.       I thank you for coming to court today, for

         19      offering to be part of the process, but in this case, due to

         20      Mr. Combs' own characteristics and own history, I find even

         21      with a cosigned bond, I can't reasonably assure his return to

         22      court or the safety of the community, or a lack of witness

         23      tampering

         24                  A preliminary hearing isn't necessary, and I know

         25      there is a first conference            I believe that that covers it.


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           1                 Is there anything else for the government?

           2                 MS. JOHNSON       Your Honor, just one thing               I don't

           3     recall the Court asking for the date and time of arrest, so I

           4     just wanted to put that on the record.

           5                 THE COURT:      Yes     Thank you.

           6                 MS. JOHNSON       Mr. Combs was arrested yesterday,

           7     September 16, at 8:25 p.m.

           8                 THE COURT:      Okay.    Counsel?

           9                 MR. AGNIFILO       No, nothing from US          Thank you.

          10                 THE COURT       Okay.    Thank you very much         I will put

          11     out the bail disposition sheet.             And we are adjourned.

          12                 (Adjourned)

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           1     UNITED STATES DTSTRTCT COURT
                 SOUTHERN DTSTRTCT OF NEW YORK
           2                                                      *X


           3     UNITED STATES OF AMERICA,

           4                    v.                                             24 Cr. 542 (ALC)

           5     SEAN COMES,

           6         a/k/a "Puff Daddy,                  II




                     a/k/a "p, Diddy,               II




           7         a/k/a "Diddy,             II




                     a/k/a "PD,      II



           8         a/k/a "Love,         II




           9                              Defendant
                                                                               Bond Appeal
          10                                                      'X

          11                                                                   New York, N.Y.
                                                                               September 18, 2024
          12                                                                   3:30 p.m.

          13     Before

          14                                        HON. ANDREW L. CARTER, JR.

          15                                                                   District Judge

          16                                                  APPEARANCES

          17     DAMIAN WILLIAMS
                      United States Attorney for the
          18          Southern District of New York
                 BY   EMILY JOHNSON
          19          CHRISTINE SLAVIK
                      MADISON SMYSER
         20           MIIZI STEINER
                      MEREDITH FOSTER
          21          Assistant United States Attorneys

         22      AGNIFILO INTRATER LLP
                      Attorneys for Defendant
         23      BY   MARC AGNIFILO
                      TENY R. GERAGOS
         24
                 Also Present             Francesca Tessier, Pretrial Services Officer
         25                               Joshua Rothman, Pretrial Services Officer


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           1                 THE DEPUTY CLERK:                Criminal cause for a bail appeal

           2     hearing in case No. 24 Cr. 542, United States v. Sean Combs

           3                 Counsel, please state your appearances for the

           4     government

           5                 MS. JOHNSON           Good afternoon, your Honor              Emily

           6     Johnson, Madison Smyser, Christy Slavik, Mitzi Steiner, and

           7     Meredith Foster, for the government                  9   Behind us, from Pretrial

           8     Services, are Officers Francesca Tessier and Joshua Rothman.

           9                 THE COURT           And for the defendant

         10                  MR. AGNIFILQ               Yes    Good afternoon, your Honor          Marc:

         11      Agnifilo with Tiny Geragos and Mr. Sean "Love II Combs is with us

         12      today as well        9




         13                  THE COURT:          OK •     All right       Good afternoon.

         14                  I ve seen the submissions
                                 I
                                                                          I reviewed the previous

         15      submissions that the parties made to Magistrate Judge

         16      Tarnofsky           I ve looked at the transcript from the bail hearing
                                      I




         17      yesterday   9       Let me just share with you my initial thoughts to

         18      help counsel perhaps cabin your comments appropriately                      9




         19                  The government primarily seeks detention based on a

         20      risk of flight and the danger of obstruction of justice or

         21      witness tampering          9   Regarding those two bases, first, my lesser

         22      concern here is risk of flight, although that is a concern.

         23      Certainly, Mr. Combs is a risk of flight                    9   Defense counsel has

         24      submitted evidence regarding the efforts that he and his client

         25      have made to try to show the Court and the government that he


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           1     is not a risk of flight         9       The government has again attempted to

           2     prove that he is a risk of flight, and the government has to do

           3     more than just simply prove he's a risk of flight                        They must

           4     prove that he is a risk of flight such that no condition or

           5     combination of conditions will reasonably assure his return to

           6     court

           7                 The package that's been submitted by Mr. Combs, I

           8     think, does not give the Court a reasonable assurance that he

           9     would return to court       9       Regarding the issue of whether or not

         10      the government has proven risk such that no condition or

         11      combination of conditions would reasonably assure his return to

         12      court remains a bit of an open question in my mind, but

         13      cer tainly, the package that's been submitted is not sufficient

         14      to reasonably assure his return to court given his wealth                      9




         15                  My bigger concern deals with the danger of obstruction

         16      of justice and the danger of witness tampering                 9       That is a real

         17      concern that I have here            9   And I ve seen the parties'
                                                                 I




         18      submissions, but I just wanted to give counsel my thoughts as

         19      to what I am primarily concerned about              9




         20                  Having said that, I'll now hear from the par ties,

         21      starting with the government, since the government has the

         22      ultimate burden here

         23                  MS. JOHNSON         Thank you, your Honor              Would it be

         24      acceptable if I spoke from the lectern?

         25                  THE COURT       You can speak from the lectern                 You can


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           1     stand there        You can sit there       9   Wherever you're comfortable

           2     is fine with me

           3                 MS. JOHNSON          Thank you, Judge

           4                 Your Honor, this case is about Sean Combs' physical

           5     and sexual violence against women and others                 9        This physical

           6     and sexual violence has gone on for decades              9           It's also about

           7     the vast efforts he undertook, using his extensive resources,

           8     to cover up his crimes       9       In other words, the very conduct he's

           9     charged with shows his dangerousness, his resources, and his

         10      willingness to lie and obstruct            9




         11                  Yesterday, Judge Tarnofsky recognized this when she

         12      found that there were no conditions or combination of

         13      conditions that could assure the safety of the community or the

         14      defendant's appearance in court, and she detained the

         15      defendant       The government respectfully submits that your Honor

         16      should reach the same conclusion today             9




         17                  As the Court just said, you have, obviously, read our

         18      papers in detail and the transcript from yesterday.                         I want to

         19      be clear that we are seeking detention on, in addition to risk

         20      of flight and risk of obstruction of justice, but also just on

         21      dangerousness generally          9   All of those f actors to be considered

         22      in ordering detention weigh in our f aver here                   9




         23                  As I know the Court knows, in this case detention is

         24      presumed under the Bail Reform Act because the defendant is

         25      charged with sex trafficking, which is an offense under Chapter


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           1     77 of Title 18     9     It's the defendant's burden to rebut that

           2     presumption, and the magistrate court already found that he did

           3     not do so

           4                 So I want to start with dangerousness and obstruction,

           5     and I'd like to talk about the seriousness of the offenses

           6     first, which reflects both the defendant's dangerousness and

           7     the risks of obstruction if released.              Many of the f acts are

           8     set forth in our submission and were on the record yesterday,

           9     so I only want to briefly review a few with your Honor before I

         10      dive in.

         11                   The defendant used force, threats of force, and

         12      coercion to cause female victims to engage in sexual activity

         13      with male commercial sex workers that he referred to as "freak

         14      offs   II
                             These were elaborate sexual performances that he

         15      arranged, directed, masturbated during, and of ten

         16      electronically recorded.          These began in and around 2009, at

         17      least, and lasted until at least this year and of ten took place

         18      over multiple days and frequently with more than one escort             9




         19      These freak offs were arranged with the assistance of members

         20      of his enterprise who set up the rooms, stocked the rooms with

         21      supplies, arranged the travel, delivered the cash to pay the

         22      escorts, among other tasks         9




         23                   The defendant used narcotics so that female victims

         24      could continue to par ticipate in freak offs despite exhaustion

         25      and f fatigue that they began to experience as these were


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           1     sometimes multiday events        9    These narcotics included ketamine,

           2     ecstasy, GHB, and others             And victims themselves, in

           3     communications that the government has seized, described

           4     themselves as being "drugged" during these freak offs

           5                 I mentioned that the defendant electronically recorded

           6     the freak offs, and he did that at least in part so he could

           7     keep the recordings and use them as blackmail against his

           8     victims, so I want to pause on that for a moment                    9   In addition

           9     to witnesses who would testis y to this f act, it's also in black

         10      and white in communications that the government has seized.

         11      For example, in December of 2015, a victim texted the defendant

         12      and makes explicit reference to this type of extortion.                              This

         13      is the quote

         14                  "You know what sick and disgusting shit I was reminded

         15      of the other day?        You forcing me to         II
                                                                         do something else,

         16      which I'm not going to mention on the public record                         II
                                                                                                  or you

         17      were going to leak some FO shit              II
                                                                   FO standing for freak off             9




         18                  The defendant recorded these women engaged in freak

         19      offs     He threatened them with those very videos to get them to

         20      engage in even more      9   And the defendant makes a lot of claims

         21      yesterday and in his papers about the victims' motives in

         22      speaking up now, but that message is from nine years ago                         9    And

         23      I suspect that we'll hear that we should ignore these types of

         24      things because they're old, but this isn't the only time

         25      there's communications that explicitly reference this kind of


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           1     blackmail   9   In f act, the same thing happened much more recently

           2     several years later, after 2015, when a different victim said,

           3     and here's a quote          "He   just threatened me about my sex tapes

           4     that he has of me on two phones          9       He said he would expose me,

           5     mind you these sex tapes where I am heavily drugged and doing

           6     things he asked of me for the past three years                  II




           7                 That's just two examples of the defendant's egregious

           8     conduct in extorting and blackmailing victims that happened

           9     years apart, and SO it's rich when the defense submission filed

          10     today accuses the victim of extorting the defendant                    Let me be

         11      clear      The only person who is engaged in extortion in this

          12     case repeatedly is the defendant             9




          13                 At least a dozen witnesses will confirm that they

          14     personally observed the defendant's violence towards women or

          15     the injuries that were sustained as a result                    And in addition

          16     to that physical violence towards women, there's also evidence

          17     of other violent acts, including physical assaults on other

          18     individuals, including employees and witnesses to violence,

          19     kidnapping, and arson.

         20                  The defendant surrounded himself with and used

          21     firearms, including three def aced AR-15s and a high-capacity

         22      magazine loaded with 59 rounds of ammunition that was seized

         23      from his LA and Miami residences this year 9               Yesterday, defense

         24      counsel argued that these were the same guns used by the

         25      defendant's professional security team, but what we hadn't told


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           1     the Court yet was that we did seize the guns used by his

           2     professional security team.           We took six of them.         They were

           3     licensed guns that were registered to the security team.                     They

           4     were stored in the defendant's homes, and he had access to

           5     them .   But, for obvious reasons, we're much more concerned

           6     about the def aced firearms hidden in his personal closet, and

           7     that was our focus        9   But it's worth noting that the def aced

           8     guns have nothing to do with security and have everything to do

           9     with dangerousness        9   And even beyond that, when we consider the

         10      additional guns that his security team has, he has even greater

         11      access to firearms        9




         12                  One more point on this is that the security team is

         13      now the same team that he suggests be allowed to monitor him

         14      while he's on bail            His head of security was served yesterday

         15      with a search warrant for his devices because of what our

         16      investigation has revealed about his own personal involvement

         17      in the offense conduct and in offenses under investigation by

         18      the government     9




         19                  As the Court knows from the transcript of yesterday's

         20      proceeding, I spoke then about an incident that occurred on

         21      March 5, 2016, at the InterContinental Hotel in Los Angeles,

         22      and yesterday the government attached publicly released

         23      surveillance footage to our submission as an exhibit                   9   And as I

         24      said yesterday, this is a critical incident to assessing both

         25      danger and obstruction.           I'm going to talk about it a little


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           1     bit more today with some additional detail               9




           2                 Contrary to defense counsel's argument yesterday,

           3     which attempted to inaccurately recast this incident as just a

           4     fight in a relationship, the events of March 5, 2016, are

           5     powerful evidence of trafficking, a recorded example of

           6     defendant's use of force in connection with a freak off                        9       So

           7     I'm going to summarize the evidence again with some additional

           8     details that I did not mention yesterday             9




           9                 In short, the evidence shows that the defendant had a

          10     freak off at the InterContinental Hotel in Los Angeles on

         11      March 5, 2016        The defendant contends that this incident only

          12     involves the defendant and the victim, but this is wrong                           9    We

          13     have multiple sources of evidence that demonstrate there was at

          14     least one commercial sex worker who was with the defendant and

          15     the victim in the hotel room prior to the assault that's

         16      recorded on camera and remained in the room while the assault

         17      was being captured.

          18                 Following the freak off, the defendant violently

          19     assaulted a victim who was sneaking out of the room to leave

         20      the hotel   9   You can see in the hallway surveillance video that

         21      she isn't even wearing shoes as she is leaving                   9       She's leaving

         22      as f ast as she can because she's trying to get out of there                            9




         23      She's in danger         In the video, the defendant storms out of the

         24      room in nothing but a towel         9   He comes up to her, he punches

         25      her, he throws her to the ground, he kicks her, he attempts to


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           1     drag her back to the hotel room, and then he throws a vase at

           2     her

           3                 Text messages in the hours and days that follow

           4     confirm the injuries caused by the incident                      9    These are quotes

           5                 II   I   have a black eye and a f at lip         •       You are sick for

           6     thinking it's OK to do what you've done                 II




           7                 II   I   still have crazy bruising     II




           8                 This is clear evidence of the dangerousness of the

           9     defendant, and it's evidence that he has to try to minimize it.

          10     He casts it as a misdemeanor assault arising out of a lover's

          11     quarrel based on the f act that he wanted to get his clothes

          12     back, but that's not what happened here                      The evidence shows

          13     that the victim tried to escape the hotel room where the

          14     defendant and an escort were without even putting on her shoes                           9




          15     The defendant then violently beat her and tried to drag her

          16     back to the hotel room.            It was only when hotel security staff

          17     intervened that the victim was able to leave the hotel                         9




          18                 So this is just one example of violence being used in

          19     connection with a freak off, but this incident is also

         20      important because of everything that happened after the

          21     assaults, because that's when the cover-ups started.

         22                  First, the defendant tried to bribe a hotel security

         23      officer with a handful of cash in exchange for that officer's

         24      silence          The security guard refused to be bought                 9   Then the

         25      defendant's staff got involved, contacting hotel security to


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           1     get the footage of the incident and keep it from being seen by

           2     anyone      And by March 8, three days later, the surveillance

           3     video somehow disappeared from the hotel server                                9




           4                 The defense has argued that there was no criminal

           5     investigation, so there couldn't have possibly been

           6     obstruction, and the defendant was just trying to prevent

           7     something embarrassing from becoming public                       9        But that's not

           8     what the evidence shows         9        In f act, what the defendant himself

           9     was saying immediately after the assault on March 5, here's a

         10      few messages he sent right after that timestamp on the

         11      surveillance video recording               I
                                                            9




         12                  II
                                  Call me     The cops are here          II




         13                  II   I   got six kids   II




         14                  "YO, please call              I'm surrounded.         II




         15                  "You gonna abandon me all alone?                 II




         16                  While we don't have evidence that the police were

         17      actually there, the point is that the defendant knew he had

         18      done something that could elicit a law enforcement response,

         19      and he had to cover it up           9     And critically, his staff knew that

         20      police had responded to the victim's apartment                             9       They have

         21      photographs of the responding officer's Los Angeles Police

         22      Department business card in their text messages, and those

         23      staff members remained in contact with the victim to ensure

         24      that she would not talk to the police               9




         25                  So these communications, the video disappearing, none


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           1     of this is a coincidence        9            It's a result of defendant's

           2     employees trying to cover up his crimes, all at his direction.

           3     And the cover-up continued until last year, after the civil

           4     suit was filed in November that, among other allegations,

           5     detailed this assault at the InterContinental                  9       The defendant

           6     responded, and I quote              II   I   did not do any of the awful things

           7     alleged .   II




           8                      There is no other way to read this but as an

           9     unequivocal denial of his participation in this incident                          9   It's

         10      also yet another way that he continued obstructing and covering

         11      up what he did.          In this year, after CNN released the

         12      surveillance video, the defendant ultimately admitted that he

         13      was actually the person on that video, but only after it was

         14      leaked to the media and only after there was indisputable proof

         15      of his identity on tape and his violence on tape                       9




         16                       But yesterday we got more to the story            9       That

         17      apparently this assault was precipitated by the defendant being

         18      hit in the head, while he was sleeping, by a cell phone and his

         19      clothes being taken in a small overnight bag that you can see

         20      the victim walking down the hall with in addition to her purse                           9




         21      This is apparently why he runs out of the hotel in nothing but

         22      a towel          But our evidence will show that's just not what

         23      happened •         Assuming, for the sake of argument, that it did,

         24      which it didn't, but assuming that, punching, kicking, and

         25      dragging someone in and of itself is a crime, and covering that


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           1     up is an act of obstruction.            And if it's about the clothes and

           2     wanting to get the clothes back, which again it's not, why drag

           3     the victim back down the hall to the room?                   And you can see

           4     that on the tape      9   That's what he does              This explanation is

           5     just another cover-up       9   It's just more lies, and it's just more

           6     obstruction.

           7                 This sequence of events and all the indisputable

           8     evidence        from the videos to the text messages to the

           9     photographs that are in communications                     makes clear that you

         10      cannot take the defendant at his word when he denies his

         11      criminal conduct      9   But make no mistake, March 5, 2016, is f as

         12      from the defendant's lone act of violence and obstruction, so

         13      let's talk a little bit more about that                9




         14                  Freak-off activity is the core of this case, and freak

         15      offs are inherently dangerous                They use force, coercion, and

         16      drugs to coerce the victims into doing the freak offs                  9   The

         17      defendant controlled aspects of their lives, used significant

         18      physical force against them, and all to compel them to engage

         19      in these lengthy sex acts        9




         20                  Yesterday, the defense said they interviewed about

         21      half a dozen escorts who would dispute the government's account

         22      of what happened during the freak offs             9       Our investigation is

         23      ongoing, and so I can't say too much about this, but I will

         24      note that half a dozen escorts is just the tip of the iceberg

         25      of the number of escorts who have participated in freak offs                     9




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           1                 And yesterday, the defense also spent a lot of time

           2     talking about how these freak offs were between consenting

           3     adults and how the government was not claiming sex without

           4     consent      Abuse occurred in the context of at least one

           5     long-term relationship, which we acknowledge, but the

           6     government's theory does involve a lack of consent                   9   This case

           7     is charged, at least in part, in Count Two as sex trafficking

           8     by force, fraud, and coercion.             When a woman is being beaten

           9     and coerced in order to get her to engage in commercial sex

         10      activity, those sex acts are not consensual              9




         11                  And as I said yesterday, it is really important to

         12      note that long-term relationships and abusive relationships are

         13      not mutually exclusive           The government expects to introduce

         14      the testimony of expert witnesses regarding the dynamics that

         15      appear in almost all sex trafficking and sex abuse cases

         16      Similar testimony has been introduced in several cases in this

         17      district       A few examples are United States V. Hidden, United

          18     States V. Ray, United States V. Maxwell, and United

         19      States V. Rivera      9




         20                  We expect that these expert witnesses will explain

         21      issues of apparent consent and how abusers control their

         22      victims, even in the context of long-term relationships in

         23      which the victims express love for their abusers and continue

         24      to go back to them.         We further expect that these expert

         25      witnesses will discuss various forms of coercion, including


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           1     isolation, intimidation, violence, manipulation, surveillance,

           2     narcotics, grooming behaviors, and others, and generally why

           3     victims do not leave their abusers and immediately report their

           4     crimes

           5                 The focus of today's proceeding, however, is not and

           6     should not be on the dynamics of abusive relationships                 9




           7     Today's proceeding is squarely focused on the defendant alone

           8     and whether the defendant presents a danger to the community,

           9     whether the defendant threatens the integrity of these

         10      proceedings, and whether the defendant presents a risk of

         11      flight, all of which he does

         12                  Defense counsel has made much yesterday and today in

         13      his letter about his misinformed view that there was not a sex

         14      crime here, and therefore, the nature of this offense doesn't

         15      weigh in f aver of detention.          He's argued, in essence, that

         16      anyone who was par ticipating in a freak off wanted to be there                      9




         17      That flies in the f ace of the evidence in this case, much of

         18      which we've laid out to the Court, but it also shows a

         19      misunderstanding of the law.

         20                  When participants in commercial sex activity are

         21      threatened with the release of collateral videos, like those

         22      two text messages I read, when they are threatened with the

         23      loss of their livelihood and housing                we'll get to that in a

         24      minute       and when they're beaten both during and outside freak

         25      offs       you saw video of that           they cannot consent             That is


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           1     trafficking          9     This view was especially evident when counsel

           2     spent time minimizing and horrifically understating the

           3     defendant's violence                   The video from March 5, 2016, is f as

           4     more than a misdemeanor assault, as he claims                       9       When force or

           5     coercion is used in connection with commercial sex, as it is

           6     here, again, that's trafficking

           7                 The defendant's decades-long history of violent

           8     conduct makes clear that even the most stringent bail

           9     conditions will not suffice to ensure the safety of the

          10     community                The inquiry in this context is focused on the

         11      danger to any real person, and the evidence shows that there is

          12     a risk of physical danger towards victims, employees, and other

          13     individuals

          14                 The investigation has revealed evidence of numerous

          15     assaults against female victims and other individuals                            9   These

         16      assaults involved choking, hitting, kicking, dragging victims

         17      sometimes by their hair                9   They sometimes occurred in cars where

          18     victims heads were slammed against the car window or on the

          19     floor of a car             9     And again, independent evidence like text

         20      messages confirms this type of violence                 9        Without attributing

         21      any of these messages, I'm going to read four that make my

         22      point

         23                  II   I       turn my head for a second, and you get fucked up,

         24      and you drag me down the hall by my hair                    II




         25                  II   I       have bleeding cuts     II




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           1                 "You hit me in the head two good times                  II




           2                 "When you get fucked up the wrong way, you always want

           3     to show me that you have the power and you knock me around.

           4     I'm not a rag doll          I'm someone's child.      II




           5                 And we don't just have the texts               We also have

           6     witnesses who can confirm, because they witnessed this violence

           7     and they witnessed the injuries          9   And this conduct took place

           8     behind closed doors           in houses, in hotel rooms, in cars, in

           9     settings that are not easily monitored by even the most

         10      stringent conditions of release          9   And I note that Judge

         11      Tarnofsky was par ticularly concerned about this point and also

         12      about the next one: that the defendant's violence was

         13      premeditated and spontaneous         9   And I think the text messages I

         14      just read highlight that        9   And the defendant's violence, the

         15      spontaneity exacerbate the difficulty of crafting conditions of

         16      release to ensure the safety of any person.                How do you craft

         17      bail conditions that can address the defendant's tendency to

         18      become violent at the slightest provocation and to become

         19      violent, as the text messages say, when he "gets fucked up the

         20      wrong way"°

         21                  In f act, Judge Tarnofsky found that she did not

         22      believe defense counsel had the ability to control the

         23      defendant, given his substance abuse and anger issues                    9   There

         24      is a long-standing pattern of abuse here, a pattern that has

         25      been entirely undeterred by threat of public exposure or law


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           1     enforcement intervention, and it's probative of whether the

           2     defendant will continue to engage in that pattern.

           3                   I note we cite this case in our paupers, but the

           4     Mercedes case in the Second Circuit, 254 F.3d 433 (2d Cir                     9




           5     2001), talks about the danger of releasing defendants with a

           6     history of domestic violence, noting that a domestic violence

           7     history is probative of a dangerousness determination because a

           8     willingness to strike a loved one is evidence of a tendency to

           9     be violent and dangerous towards others                And in that case, the

         10      circuit reversed the district court's order of release for a

         11      defendant with a history of domestic violence but no criminal

         12      history

         13                    So let's turn to obstruction now, and I know that your

         14      Honor is par ticularly interested in this point                9




         15                    So the risk of obstruction in this case is heightened

         16      because of the defendant's power              It gives him a unique

         17      ability to influence people and to intimidate witnesses and

         18      victims   9    Witnesses have universally, one for one, expressed to

         19      us their extreme fear of the defendant, extreme                    9   His influence

         20      makes it SO difficult to convince witnesses to share their

         21      experiences and to trust that the government can keep them safe

         22      from him.

         23                    I talked about some of it before with the March 5

         24      incident, but we have evidence that further indicates that the

         25      defendant and his coconspirators will deflect, minimize, and


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           1     lie about his conduct        9   Defense counsel spent time trying to

           2     recast his, what I submit to the Court are obvious, obstructive

           3     efforts as just maintaining contact with people                9   So before we

           4     dive in, I want to be clear about a few principles of

           5     obstruction based on the statutes that have been charged in

           6     this case   9




           7                 There need not be an existing investigation or

           8     official proceeding, and the defendant need not know about it.

           9     What we will also show that the defendant knew about this

         10      investigation at least as of January 2024, and he certainly

         11      suspected the possibility of an investigation after November of

         12      2023 when civil lawsuits were filed alleging, among other

         13      offenses, sex trafficking

         14                  So following that November civil suit, when the

         15      defendant certainly had reason to suspect the possibility of an

         16      investigation, he and his coconspirators continued their

         17      efforts to reach out to potential victims or witnesses                 9   This

         18      outreach has included directly contacting at least one victim

         19      in November of 2023      I   constant contact with witnesses to the

         20      charged conduct, and with contacting of witnesses, including

          21     those who received grand jury subpoenas, prior to dates of

         22      testimony or government meetings           9   And this contact is as

         23      recent as July of 2024, so well after the government has

         24      definitive proof that the defendant knew about this

         25      investigation.


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           1                 So two of those examples are there were communications

           2     between the defendant and a witness who received a grand jury

           3     subpoena       These communications are both prior to and following

           4     the witness' meeting with the government, and the government

           5     has evidence that the defendant knew that this witness had

           6     received a grand jury subpoena          9   And both between           before the

           7     meeting with the government and after the meeting with the

           8     government, there were 14 total contacts between the two of

           9     those people    9




          10                 In another case, a witness was served with a grand

          11     jury

          12                 THE COURT       Hold on just a second.         Go back for a

          13     second.     You said there were 13 contacts between two of those

          14     people      You mean two witnesses or just between the defendant

          15     and the witness?

          16                 MS. JOHNSON       I'm sorry for not being precise, your

          17     Honor      There were 14 total contacts between the defendant and

          18     the witness

          19                 THE COURT       OK •

         20                  MS. JOHNSON       And my second example, a witness was

          21     served with a grand jury subpoena in June of 2024; thereafter

         22      was contacted multiple times by the defendant by phone and text

         23      in June and July of 2024, despite the f act that the two had not

         24      spoken in several years        9   They were suddenly back in contact

         25      leading up to the defendant's               sorry, in the aftermath of the


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           1     witness receiving a grand jury subpoena                  9




           2                 And these efforts by the defendant were also crafted

           3     to avoid detection.                 He used intermediaries to reach out to

           4     people      And in an instance I'll describe in detail, he

           5     recorded conversations with a victim on the device of a

           6     coconspirator         9        These kinds of efforts, these kinds of means,

           7     make obstruction even more difficult to detect when it's being

           8     done through other people and on other devices                        9




           9                 We know from the evidence we've collected that the

         10      purpose of these calls was to spread f else narratives                        9    So

         11      here's an example                  The instance that I mentioned where the

         12      defendant directly contacted a victim in November 2023, he

         13      placed two calls to the victim, both of which are recorded on

         14      the coconspirator's phone                  And as background that will help

         15      explain some of the things that are discussed in the call, the

         16      defendant provides financial support to this person                               So early

         17      on November 19, which is three days after the filing of the

         18      civil lawsuit by another victim, the defendant received a text

         19      from this other person in response                 9   It reads

         20                  II   I   feel like I'm reading my own sexual trauma                      It

         21      makes me sick how three solid pages, word for word, is exactly

         22      my experiences and my anguish                 II




         23                  The defendant then called the victim twice                            Those are

         24      the recordings            9     And in those recordings, he gas lit her and he

         25      attempted to convince her that she had willingly engaged in sex


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           1     acts with him, but she pushed back                 9     She told him she felt

           2     manipulated and clarified that what his description of events

           3     was, was "not how she saw things              II




           4                 Throughout these recorded calls, the defendant

           5     repeatedly talks about how he was not supposed to be speaking

           6     on the phone and not supposed to be using the phone, and he

           7     instructs the victim not to text him.                      These statements clearly

           8     show his state of mind.             They show that he was on notice that

           9     there could be an investigation into the claims raised in the

         10      lawsuit that had been filed three days earlier                       9




         11                  And at the end of that second call, the defendant

         12      ensured the victim that if she continued to support him, she

         13      ain't got anything to worry about, which is a thinly veiled

         14      reference to his continuing his financial support                            9   And

         15      subsequent text messages make explicitly clear that that's what

         16      he was talking about because two days later he texts a

         17      coconspirator in reference to the financial support that he

         18      provides to this victim and said:                      "Make sure that"            and he

         19      uses a name here      9   The name is an individual who is his

         20      financial adviser           "is not doing anything dumb, like not

         21      having that rent paid on time            II
                                                               The defendant made sure that

         22      that financial coercion continued, clearly, to keep the victim

         23      close and in his control        9




         24                  The defendant's long history of obstruction and

         25      violence demonstrates that he simply cannot overcome the


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           1     presumption that no condition or combination of conditions can

           2     ensure the safety of the community or the integrity of this

           3     proceeding         Courts have denied bail in similar situations              9




           4     We've cited some cases in our letter            9   Of particular interest,

           5     I think, is United States V. Lafontaine.               And this is a

           6     slightly different posture because it's a revocation, but the

           7     f acts of that case are that the defendant contacted a potential

           8     witness and attempted to feed that witness a f else narrative

           9     with the hope that the witness would adopt it as that person's

          10     testimony, and that's exactly what's going on here

         11                  In the government's request for detention is

          12     consistent with other cases of this kind in this district and

          13     in this circuit      9   These cases stand for the proposition that

          14     sex trafficking defendants, regardless of the age of their

          15     victims, are routinely detained pretrial, particularly when

         16      they have engaged in repeated obstruction.                   I went over some of

         17      these cases yesterday       9    I'll touch on them lightly again.

          18                 THE COURT       That's not necessary             I'm f familiar with

          19     those cases    9




         20                  MS. JOHNSON         OK •

         21                  THE COURT       Let me ask you this         In the record, the

         22      government had previously indicated that there was another

         23      potential witness that the defendant contacted between

         24      September 10 and September 14 some 58 times              9        Can you give me a

         25      little further elucidation on that?


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           1                    MS. JOHNSON      Oh, sure      So that requires a little

           2     explanation of a recent civil suit            9




           3                    So on September 10, so last week, an individual named

           4     Dawn Richard filed a civil suit against the defendant and other

           5     individuals and entities               Ms. Richard was formerly in a band

           6     with the defendant and a third individual named Kalenna Harper                  9




           7     The allegations in Ms. Richard's lawsuit focus on some of the

           8     time period of the charged conspiracy               They focus on

           9     par ticular events starting in 2009 and for some time period

          10     thereafter      9     Among other things, Ms. Richard alleges witnessing

         11      violence by the defendant towards a victim, including assaults

          12     and the like

          13                    So that lawsuit is filed on September 10            9   On

          14     September 13, the other member of the band, Ms. Harper,

          15     released a statement where she, in sum and substance, sort of

         16      says what Ms. Richard's experience wasn't what I experienced.

         17      But between those two dates, between September 10 and

          18     September 14, the defendant and Ms. Harper had 128 total phone

          19     contacts   9        He called or texted Ms. Harper 58 separate times in

         20      four days            There has been no contact since September 14           9




         21      Granted, that's only been a few days               But I think what's

         22      highlighted about that incident is that it makes clear that the

         23      defendant has an ongoing ability to keep witnesses, even

         24      witnesses to very distant abuse and very distant things, in his

         25      pocket and at his disposal         9




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           1                 One other              your Honor, we had discussed some cases

           2     yesterday       We didn't discuss Lawrence Ray, which I think is

           3     another case that does support our argument here                   9   I don't

           4     think we've touched on that, SO I'll just briefly

           5                 THE COURT          The case dealing with the official

           6     proceeding requirement?

           7                 MS. JOHNSON            No    Lawrence Ray is a racketeering and

           8     sex trafficking case in this district, and Magistrate Judge FOX

           9     ordered detention based on risk of flight and dangerousness                      9




         10      And I think one thing that's similar about the Lawrence Ray

         11      case to this case is that, in the bail argument, there's

         12      allegations by the defense that the sex trafficking case was

         13      weak because there was only one victim, and Magistrate Judge

         14      Fox again detained on the basis that the victims were

         15      corroborated not only by other witnesses but also by

         16      documentary evidence       9




         17                  THE COURT          Anything else from the government?

         18                  MS. JOHNSON            Just a few additional things, your

         19      Honor, briefly

         20                  THE COURT          How many more additional things?            We've

         21      gone about 45 minutes          9      Give me a sense of what else you need

         22      to touch upon.

         23                  MS. JOHNSON             I can finish this in under five minutes I        I




         24      maybe even three      9




         25                  THE COURT          OK •     Go ahead.


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           1                 MS. JOHNSON       OK •    I will just touch briefly on risk

           2     of flight       The circumstances are different than when Mr. Combs

           3     flew here to sit in New York, which defense counsel has made a

           4     lot of hay about      9   And with respect to his offer to surrender,

           5     there are extremely valid law enforcement reasons why the

           6     government did not take him up on this offer, including the

           7     risk of evidence destruction and allowing for fur they

           8     obstruction.       So to the extent that this surrender and travel

           9     argument has any force at all, it really only applies to risk

          10     of flight       It does not, does not, grapple with dangerousness

         11      and obstruction.          Surrender has nothing to do with those two

          12     things      And the defendant really does not grapple with those

          13     two things       He doesn't talk about his ongoing danger and his

          14     ongoing obstruction.         So coming to this jurisdiction and

          15     offering to surrender simply does not vitiate those concerns               9




         16                  The Court expressed concerns with the bail package         9




         17      The government has significant concerns with the bail package                  9




          18     Again, I'm here seeking detention, SO I'm not going to get into

          19     those, but I note for the record that we do think that even the

         20      supplemented bail package does not have enough conditions that

         21      focus on obstruction, and we don't think there are conditions

         22      that can really keep the defendant from doing the types of

         23      things he's been doing, par ticularly because he's been

         24      involving other people in them.

         25                  You'll hear later today about how much evidence we


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           1     have, and it was in the record yesterday                   9   There's a massive

           2     amount of evidence         9   There's a massive amount of witnesses, a

           3     massive amount of electronic evidence                      There's a massive

           4     amount of physical evidence that we seized.                     We have witnesses

           5     saying things, and these witnesses are powerfully corroborated

           6     by communications, by photographs, by videos, by

           7     contemporaneous documentary records, by text messages, and the

           8     like     And this is the evidence that we will use to prove the

           9     charges in the indictment              9    This is the same evidence, some of

          10     which, just a little bit of which I ve highlighted today,
                                                                        I




         11      confirms that the defendant is a danger to the community and

         12      poses a serious risk to the integrity of these proceedings

         13      through his efforts at obstruction.

         14                  So for all the reasons I ve stated here and in our
                                                                    I




         15      letters, the defendant should be detained pending trial

         16                  THE COURT          Thank you

         17                  Defense counsel, again, you can stand there, you can

         18      stand at the lectern, or you can be seated                           whatever you feel

         19      comfortable doing      9




         20                  MR. AGNIFILQ              I'll come to the lectern, Judge           Thank

         21      you

         22                  THE COURT          OK •

         23                  MR. AGNIFILQ              Your Honor, I'm going to address one

         24      thing that my colleague said, and then I hope to address your

         25      Honor's opening remarks directly


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           1                 The situation that my colleague just discussed with

           2     Dawn Richard and Kaleena Harper I can shed some light on.                       At

           3     one point I myself got a phone call from Kaleena Harper and her

           4     lawyer      Without going too much down this rabbit hole, Kaleena

           5     Harper said:         I would like to make a statement on behalf of

           6     your client    9    Her lawyer was on the phone saying             I
                                                                                    9   I'm worried

           7     that my client, Kaleena, is going to embroil herself in this

           8     big mess that has public elements to it and all that                    9    And I'm

           9     prepared to give the lawyer's name to the government and I'm

         10      prepared to give, to the extent they don't have Kaleena

         11      Harper's phone number, to the government, and they can follow

         12      up on this         And what I said to Ms. Harper and the lawyer is

         13      you should do whatever you want           9    You should feel free, if you

         14      want to make a statement, to make a statement; and you should

         15      feel free, if you don't want to make a statement, to not make a

         16      statement          I don't remember offhand what day it was                  It was

         17      between the 10th and the 13th         9       And then at one point I found

         18      out she made a statement        9




         19                  THE COURT:      The acoustics aren't great

         20                  MR. AGNIFILQ        I'm sorry, Judge

         21                  THE COURT:      You don't remember what?

         22                  MR. AGNIFILO        I don't remember the exact                  it was

         23      either the 11th or the 12th of September that I spoke to the

         24      lawyer and Ms. Harper           And at the end of that conversation, it

         25      was not clear whether MS. Harper wanted to make a statement or


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           1     not     Sometime later               and I think it was the next day or it

           2     could have been two days later                        I saw in press reporting that

           3     she had made a statement              9




           4                    So the reason I bring this to your Honor's attention

           5     is there's a lawyer in the mix                    Ms. Harper has a lawyer        I

           6     spoke to the lawyer           9     I will make the lawyer available to the

           7     government if the government wants to speak to the lawyer                    9   So

           8     to the extent that the government raises this because there's

           9     some suggestion that because Mr. Combs contacted Ms. Harper

         10      and I would note that they were in the same band for a period

         11      of time         but these contacts were around the time of the

         12      statement         She seemed to be pained about whether she wanted to

         13      make a statement      9       She told me she wanted to make a statement

         14      because she believed Dawn Richard's statements were not

         15      accurate   9     And she wanted to say something, yet she didn't want

         16      to get overly involved.

         17                     THE COURT:         When she told you that, that was either

         18      September the 11th or the 12th?

         19                     MR. AGNIFILO           I believe that's right

         20                     THE COURT:         Which is after the 10th, after the

         21      defendant first reached out to her?

         22                     MR. AGNIFILO           I don't know about the defendant's

         23      contacts with her         9       I don't know.        I just know when her and her

         24      lawyer called me, it was the 11th                 9




         25                     (Counsel conferred)


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           1                 MR. AGNIFILQ             I'm told by the keeper of the f acts

           2     that it was the 11th       9     So I think it was probably September 11        9




           3                 But let me address                so I wanted to point that out

           4     just because that was the last thing that my colleague said.

           5                 THE COURT:         Let me ask you, why does that matter?

           6                 MR. AGNIFILQ             Because the government brought it up,

           7     and the government brought it up, I think, to suggest that

           8     somehow Mr. Combs coerced or forced or pressured Kaleena Harper

           9     into       let me take a step back, because I don't think                the

         10      entire context might not be clear               9




         11                  I don't know what role Dawn Richards plays in this

         12      case     I don't.     She filed a civil complaint, so this is all

         13      about a civil complaint          9     When the civil complaint hit the

         14      news, Kaleena Harper, who was in the same band as Dawn

         15      Richards, obviously, said to herself                   I was in the same band

         16      as Dawn Richards         I don't think              I didn't see any of those

         17      things

         18                  THE COURT:         Let me just ask you something.

         19                  MR. AGNIFILO             Yeah, sure

         20                  THE COURT:         Hypothetically speaking, if your client

         21      reached out to this person on September 10, hypothetically

         22      speaking

         23                  MR. AGNIFILQ             Right

         24                  THE COURT:               said, I want you to say this      Again,

         25      very hypothetically saying                   let's say he said, I want you to


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           1     lie about what happened.          I want you to tell this story, and

           2     gives that information to her on the 10th                9   And then on the

           3     nth, you get a call from her lawyer saying that she's

           4     interested in maybe making a statement, but he's not clear if

           5     she could make a statement         9




           6                 If that hypothetical situation happened, wouldn't that

           7     still be evidence of an obstructive mind, mindset, of a

           8     willingness to tamper with a potential witness?                        I'm sure that

           9     you're going to say that that person is not necessarily a

         10      witness in this proceeding, and therefore I shouldn't consider

         11      that     But wouldn't that be evidence of a mindset that's

         12      willing to tamper with witnesses or obstruct justice                      9        Because

         13      I'm sure you would agree, you don't have to coerce someone in

         14      order to obstruct justice, correct?

         15                  MR. AGNIFILQ        I agree with you     9       I agree with your

         16      Honor      And I think if your           your hypothetical is a

         17      hypothetical, and I accept your hypothetical as that                      9




         18                  Yes, you might be right        9   I wouldn't necessarily know.

         19      But what I          the reason I wanted to speak to her                       and

         20      Ms. Geragos remind me that we spoke to her on the 10th as well                               9




         21      And she's coming with her computer               We're going to get some

         22      accurate f acts, probably more specific than I'm saying                        9




         23                  MS. GERAGOS       Your Honor, I just want to say we did

         24      speak to her    9    I spoke to her, I'll say, for 30 minutes on the

         25      early morning of the 11th so that she could recount her f acts


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           1     to us as to her          she's mentioned in the lawsuit about 34

           2     times, so she felt that her name was also being besmirched in

           3     terms of she had witnessed violent acts by Mr. Combs against

           4     the Victim-1 of Count Two          9     And so I believe the contact with

           5     this potential witness was also a potential defense witness for

           6     us to speak to because she was mentioning violent acts with

           7     respect to the person who is now Victim-1 of Count Two                 9   So we

           8     did speak to her that night because we thought it was important

           9     in terms of our defense investigation.

         10                  That's all I have to say             I'll let

         11                  THE COURT       I'm sorry

         12                  MS. GERAGOS       I'll let Mr. Agnifilo

         13                  THE COURT:      Go ahead and continue      a    I didn't mean to

         14      cut you off    9




         15                  MS. GERAGOS       No, I'll let Mr. Agnifilo continue              He

         16      wasn't on that call, so I just wanted to make that

         17      representation.

         18                  THE COURT       That was on the 11th?

         19                  MS. GERAGOS       That was, I think, maybe even 2:00 in

         20      the morning on the 11th        9




         21                  THE COURT       OK •       But after speaking to defense counsel

         22      on the 11th, what would be the reason for her and Mr. Combs to

         23      keep in contact?        I saw in the record here defense counsel was

         24      making a statement that Mr. Combs was reaching out to witnesses

         25      just to line witnesses up          9     If this witness has already spoken


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           1     to defense counsel, what would be the purpose of Mr. Combs

           2     continuing to speak to that witness after September 11?

           3                 MS. GERAGOS          After         after

           4                 THE COURT          After your conversation with the witness,

           5     why would he need to reach out to her?

           6                 MS. GERAGOS          Your Honor, I can't speculate only to

           7     say that I think that this witness was really upset by the f act

           8     that she kept getting publicized in many different at ticles

           9     about incidents that she was supposedly present at that she

          10     just was not              that she stated, at least to us, that she was

         11      not present for       9     And that's my speculation.         I don't know

         12      :L f



         13                  MR. AGNIFILO         No, I understand your Honor's question,

         14      and I don't know that all of these things resulted in

         15      conversations     9       I don't have access to the government's

         16      evidence on this point, SO I don't know that all these things

         17      resulted in conversations          a     Obviously, she wanted to speak to

         18      Mr. Combs because her name was in this civil suit, and she

         19      didn't want the name in the civil suit                 And she also wanted to

         20      say I didn't see any of these things happen.

         21                  To the point that Ms. Geraqos raised, in addition to

         22      being named in the civil suit, she also may be an important

         23      defense witness for conduct that may or may not be charged as

         24      part of the indictment because it relates to the person who's

         25      in Count Two          So this is an important defense witness          9   It's


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           1     someone we will speak to           9




           2                   But I want to allay the Court's larger concerns, and

           3     then we can come back to this                9   Because I am hearing the Court

           4     loud and clear, and I have actual proposals that I think will

           5     assist in showing the Court that we are taking the Court's

           6     concerns very seriously        9




           7                   I have brought to court today, in the fourth row, the

           8     handsome man who lost his hair at some point is there                         9   His

           9     name is Herman Weisberg        9       Herman Weisberg owns SAGE

         10      Intelligence        He's a former New York Police Department

         11      detective     9   He worked in the DA squad, and he's had SAGE

         12      Intelligence for, I think, about 15 years                         And here's what we

         13      are proposing, in addition to all of the other conditions that

         14      we have in our bail proposal

         15                    That SAGE, personnel from SAGE Intelligence                         all of

         16      whom will be former law enforcement officials, either federal

         17      law enforcement officials or state law enforcement officials

         18      will be monitoring the residence of Mr. Combs 24 hours a day;

         19      24 hours a day, seven days a week                  9   Here's what this will

         20      involve   9




         21                    They will have at least one, and probably two, SAGE

         22      employees there at all times             9       They will basically have full

         23      control of who enters and who doesn't enter                   9        There will be a

         24      visitor's log that is kept and that we could have it shared

         25      with Pretrial Services every week or every day or whatever we


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           1     would like to do in those regards           9




           2                 Mr. Combs will not have access to a cell phone                     9   Since

           3     there will be a SAGE personnel on-site, if we want to reach

           4     him, we can reach him that way          9   He won't have access to the

           5     Internet       So what I am trying to f fashion is a situation where

           6     any witness intimidation, if that is the Court's concern, and I

           7     see that it is, would be completely nullified.                         It would be

           8     virtually impossible          And SAGE would monitor these things

           9     make sure he doesn't have a cell phone, make sure that anybody

         10      who comes to the house is on the preapproved list of visitors,

         11      would keep track of all the visitors            9       And we can make that

         12      list of visitors and provide it to the government, to pretrial,

         13      and the Court

         14                  SAGE would establish communications with local law

         15      enforcement in Florida, if need be                  If there is some emergent

         16      matter, SAGE would contact local law enforcement                       9   And what we

         17      could do, Judge, and what we're willing to do is put together a

         18      protocol so that the Court is absolutely satisfied and

         19      comfortable that there is quite literally no way that Mr. Combs

         20      would be able to conduct any kind of contact, have any                             do

         21      anything with a witness of any nature               9




         22                  One thing that I want to make clear, in light of the

         23      government's proffer today             and I'm not going to go through

         24      all of the things that I said yesterday                 9   Your Honor read the

         25      transcript, and I don't need to go through them all again                               is


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           1     we believe we have very significant defenses to everything that

           2     the government has said, and we have been conducting, on the

           3     defense side, a very significant investigation for six months                                  9




           4     And I anticipate that is only going to increase as we get

           5     closer and closer to a trial            9




           6                 So we will conduct the investigation, meaning the

           7     lawyers and the investigators               9           Obviously, Mr. Combs will have

           8     no role in that           Mr. Combs will not contact anybody who is not

           9     on the preapproved list           9   We will ensure that that's the case                      9




         10      And if he f ails to do that in any way, shape, or form, we would

         11      explain to Mr. Combs that that would be a violation of his

         12      release conditions, and he should expect to be incarcerated.

         13      And that is an obviously real concern because, getting ready

         14      for this        Mr. Combs would be in the special housing unit if

         15      he was incarcerated in the MDC                  9        That presents tremendous

         16      challenges to us      9       Given the amount of electronic evidence,

         17      it's a very difficult place to be as an inmate, and it's a very

         18      difficult place to get ready for any trial, much less a trial

         19      with a tremendous amount of discovery, as this case has                                9




         20                  So he knows the stakes                  9        I will put something in place

         21      that would give the Court and Pretrial Services and the

         22      government assurance that nobody will be contacted unless that

         23      person is on the preapproved list                        9     That would be monitored by

         24      the people at SAGE        9     And we are at risk of Mr. Combs being

         25      incarcerated if anybody f alls down on the job                          9       If Mr. Combs


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           1     does something he's not supposed to do, if SAGE somehow misses

           2     Mr. Combs doing something he's not supposed to do, if his

           3     lawyers miss Mr. Combs doing something he's not supposed to do,

           4     we know what the consequences would be            9




           5                 So I'm listening to your Honor loud and clear                9   And

           6     I'm going to address risk of flight in a second because the

           7     government's still moving on that theory, but I do want to

           8     assure the Court that we are prepared to put in strenuous and

           9     maybe unusual conditions to meet the Court's concern when it

         10      comes to these important matters

         11                  Now, that is not to say that I agree with the

         12      government's assessment of whether these things are obstruction

         13      or not obstruction.         That's an issue for another day, and I'll

         14      take it up on the other day         9    What I'm here to do today is to

         15      address your Honor's concern.             When your Honor came out on the

         16      bench, your Honor shared your Honor's thoughts with us, and I

         17      listened loud and clear           And I want to address those thoughts,

         18      and I want to address those concerns directly              9       And through

         19      having SAGE Intelligence, their former law enforcement

         20      officers, on-site 24 hours a day               and we'll do whatever needs

         21      to be done       If we need two of them, we'll have two of them.

         22      If we need three of them, we'll have three of them.                    And we'll

         23      put everything in place that we need in terms of visitors

         24      coming in, visitors who aren't on the list and who can't come

         25      in, that will all be done               That will all be monitored, and we


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           1     will all know what's being done in that regard.                    So that is how

           2     I intend to deal with that

           3                 Mr. Combs, like I said, would not have a cell phone

           4     He would not have any ability to use the Internet                  9       And that

           5     would, I think, come a long way to giving the Court greater

           6     comfort in this regard.

           7                 I do want to address another issue, because I don't

           8     believe that the actions that Mr. Combs has taken in regard to

           9     surrendering his passport and coming to New York are only in

         10      regard to risk of flight        9    I disagree with my colleague's

         11      assessment in that regard.           Because I think what it shows is

         12      that he is deeply respectful of the Court's authority                       9   He is

         13      willing to show that he is responsible, that he can follow

         14      these directions, and that he is mindful and has been mindful

         15          and this is important            he is mindful and has been mindful

         16      for a very long time that this is a significant investigation

         17      and that the charges could be significant; not significant

          18     because they're true, but significant just because they're

         19      weighty charges     9   And with the sex trafficking count, at a

         20      minimum, it has a rebuttable presumption of detention, so I

         21      want to put these in somewhat of a different light                     9    And I

         22      won't belabor it because I know your Honor read this already                          9




         23                  When we told the government on April 1, all those

         24      months ago, that we had Mr. Combs' passport, we were giving the

         25      government an assurance             He was not going to travel


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           1     internationally, which he hasn't, and that the government would

           2     know where he is.         Mr. Combs was willing to do that because he

           3     understood that this was a significant investigation.

           4                   Now what I want to point out in this regard is this               I
                                                                                                 9




           5     Back on April 1, when we sent the email to the government and

           6     said that we have Mr. Combs' passport, we specifically went

           7     through the charges that we believed they were looking into,

           8     and we specifically mentioned racketeering conspiracy, we

           9     specifically mentioned sex trafficking, and we specifically

          10     mentioned violation of the Mann Act             9    We mentioned all three

         11      counts that ended up being in the indictment

          12                   So back on April 1, we knew exactly the nature of this

          13     investigation, and it turns out we were right                 9       But the

          14     significance isn't that we're right                   The significance is that

          15     we knew it was substantial, and even in the f ace of a

         16      substantial investigation, Mr. Combs surrendered his passport                       9




         17      Now, but that wasn't all

          18                   THE COURT     Just to be clear, when you're saying "we,                   II




          19     you're including your client, Mr. Combs, in that; that he was

         20      aware of that at least by April 1?

         21                    MR. AGNIFILQ      100 percent          Just to make it clear,

         22      Ms. Geragos and I flew to Florida           9       We sat with Mr. Combs in

         23      his house in Florida, and we said:                  You are being investigated

         24      by the Southern District of New York for a number of serious

         25      charges   9    Let me tell you what they are           9   It's racketeering


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           1     conspiracy    9       It's sex trafficking          It's obstruction of

           2     justice      It's prostitution, Mann Act-type prostitution.                    I

           3     mean, we were right because we knew what they were looking

           4     into      We also knew it because there was a search warrant, and

           5     the search warrant had crimes in it.                 So he knew.       He knew on

           6     April 1 exactly what they were looking into                9




           7                 Now, the government in their letter to your Honor

           8     today somehow makes an argument that this is like defense

           9     lawyer       I think they call it defense lawyer theater, but it's

         10      not theater at all           9     It's actually a person showing tremendous

         11      respect for the process and showing the Court that he can be

         12      trusted because what he also                    what we went also on to do is

         13      we took the passports of five of his f family members                    And

         14      members of his f amity and friends are here today in the second

         15      row     They love him.             They support him.    And many of them gave

         16      us their passports over the last several months                    9




         17                  We also made efforts to sell his airplane, which is in

         18      the process       9    We have a letter of intent to sell the airplane              9




         19      Because I was concerned that, if he had access to an airplane,

         20      that would give your Honor concern; that would give the

         21      government concern.                I credit the government for not raising it

         22      as a concern, and I think it's not a concern because we're

         23      selling it.           But the significant thing is we had the foresight

         24      to try to sell it.               Apparently, selling an airplane is not an

         25      easy thing to do         9       We've had three different buyers who didn't


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           1     work out   9        We're on, I think, the fourth buyer, but, hopefully,

           2     we'll actually sell it this time                 9   In the meantime, we will

           3     make sure that Mr. Combs is not                      so let me just back up for a

           4     second.

           5                    Because he is not using the plane, no plan on using

           6     the plane anytime in the near future, it gets chartered,

           7     because the plane has to keep flying or the plane apparently

           8     starts to f all apart           9     So it gets char tired, and it's being

           9     char tired.             It's being char tired by other people in sort of a

         10      public way

         11                     THE COURT:           Can you just get to the point where you

         12      said that this doesn't relate simply to risk of flight                     9




         13                     MR. AGNIFILO            Yeah

         14                     THE COURT:           Can you tell me what this relates to

         15      otherwise      9




         16                     MR. AGNIFILO            It shows respect for the Court      9     It

         17      shows that he's trustworthy               9   It shows that he is showing that

         18      this is a serious process to him.                    Your Honor must have seen

         19      defendants who thumb their nose at the court and say                   I
                                                                                        9       Come

         20      find me            I'm not going to show the court the due respect that

         21      it deserves         9     I'm not going to do the things to show the Court

         22      that I'm trustworthy                  Some defendants flee outright    9       In some

         23      of the cases that are distinguishable and your Honor's read,

         24      like Maxwell and Epstein

         25                     THE COURT:           How does that relate to dangerousness


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           1     generally or danger of obstruction?             Because it seems to me

           2     that it may         what you've said relates to danger of

           3     obstruction, but not in a good way for you             9        If he's aware of

           4     this April 1, 2024, then, again, why is he contacting witnesses

           5     in June and July of 2024?

           6                 MR. AGNIFILQ        So I have an answer        9        A witness

           7     contacted him.       I think I know what they're talking about                        9       And

           8     a person contacted my client on Signal, so it doesn't show up,

           9     and wanted to talk to him, and he spoke to her                      9       And the

         10      witness        I'll tell you exactly what happened.                         And the

         11      witness told him I'm a grand jury witness                      He told us that,

         12      Ms. Geraqos and I, and we said:            Don't talk to her anymore

         13      And he didn't talk to her anymore, and that was that

         14                  She contacted him, if it's the thing that I'm thinking

         15      about, and I think I'm right             So that is not him reaching out

         16      to a witness    9   He did not reach out to grand jury witnesses                          9     I

         17      dispute that wholeheartedly         9   He didn't do it and he wouldn't

         18      do it.     And he wouldn't do it because he has the sense not to

         19      do it, and he wouldn't do it because we wouldn't let him do it,

         20      you know.      So as much as we

         21                  THE COURT       OK •   Let's get back to, again, this point

         22      that you're making          This all seems to be that this is just

         23      related        this is again cabined to risk of flight                       9   So tell me

         24      again why surrendering of the passports and everything has

         25      something to do with danger         9   You're saying it shows respect


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           1     for the court, respect for the proceedings                    9   That seems

           2     quintessentially like risk of flight                9




           3                 MR. AGNIFILQ        Because I think part of                   defendants

           4     who are dangers, once the court process starts, are people who

           5     have disregard for the court          9       It's contemptuous of the court             9




           6     They are doing things, they're engaging in conduct that they

           7     know is contemptuous of the court               9   And everything that

           8     Mr. Combs has done has shown he is not and has never been

           9     contemptuous of the court        9    In f act, his whole life has been

         10      the exact opposite      9




         11                  And it's important that I bring this up to your Honor

         12      because I think it's a serious consideration.                         It's not on his

         13      rap sheet because he was acquitted, but it's well known that

         14      between 1999 and 2001, he had a very significant criminal case

         15      in Manhattan.       He went to trial, and he was acquitted.                    And

         16      during that over one-year period, he went to court every time

         17      he was supposed to      9   During that over one-year period, there

         18      were no issues with witnesses             9    There were no issues with

         19      danger      And he abided by the process                    He showed respect for

         20      the court   9   He came to court every day              9   He went to trial, and

         21      a jury of 12 New Yorkers found him not guilty                     9




         22                  So this is someone who actually has shown that, when

         23      the chips are down, when the pressure is on, he doesn't do

         24      anything that he's not supposed to do                       He shows up on time      9




         25      He shows up every day       9   He didn't do anything with witnesses


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           1     He didn't do anything dangerous                   And that is a track record.

           2     That happened.       That's not just his lawyer making an argument                      9




           3     That's the truth, and that's in the record.                   That happened.

           4     There is no issues with him for that over one-year period, and

           5     he went to trial and was acquitted.                  And he's going to show the

           6     exact same respect for this Court             9




           7                 So the reason it relates to danger and the reason it

           8     relates to the government's concerns of witness intimidation is

           9     because he hears the Court loud and clear                9   There's a case now,

         10      and he is going to do everything right from this point forward.

         11      And I'm not asking your Honor just to trust him.                          I am asking

         12      your Honor to trust him, I am, but not that alone                     9    I'm saying

         13      that if we put in place the different measures that I have in

         14      the bail package and the letter that we submitted to the Court,

         15      along with SAGE Intelligence                 which we didn't name them, so I

         16      understand why the government thought that we were going to use

         17      the same security service that's been in place all this time,

         18      but that was never the plan            The plan was always to use a

         19      company like SAGE Intelligence, and that's the plan now

         20      that, in addition to the f act that he's shown that he is

         21      trustworthy         and I believe he has because I believe the

         22      incidents that the government's talking about do not amount to

         23      witness intimidation in the slightest                   that we have in place

         24      a foolproof system that will give the Court what it needs                        9   He

         25      is not going to contact anybody          9        He is not going to reach out


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           1     to anyone, and he's going to let his lawyers do the defense

           2     investigation, as we should.

           3                 THE COURT:      But tell me more about this allegedly

           4     foolproof system that you're proposing            9       Under the system,

           5     would Mr. Combs still have employees?

           6                 MR. AGNIFILQ        He will have employees             9       He has

           7     employees   9    He has, you know, people who manage his finances                      9




           8     They're not necessarily in the same house                 9   They're located in

           9     California        But he does have employees          9




         10                  THE COURT:      Would it be necessary for him to speak

         11      with these employees or have someone on his behalf speak with

         12      these employees?

         13                  MR. AGNIFILO        We could work that out                     There's going

         14      to have to be some way of communicating with the employees,

          15     some form or f ashia of doing that           9   I mean

         16                  THE COURT:      And under your proposal, would Mr. Combs

         17      be able to leave the residence?

         18                  MR. AGNIFILQ       No, I don't anticipate that he will

         19                  THE COURT:      Would your proposal be the security

         20      company         you said they'd be there

         21                  MR. AGNIFILQ        Yes

         22                  THE COURT:      What does "there" mean?

         23                  MR. AGNIFILQ        So there is           his home in Florida is

         24      the one that we're looking to secure the bond.                             It is in Miami

         25      He would live there and the security personnel would live there


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           1     as well      I mean, they would probably do it in shifts                9       I don't

           2     exactly know how, but they'll probably do it in eight-hour

           3     shifts and rotate in and out         9   But there will be

           4                 THE COURT       But the proposal is that they would just

           5     be in the house, not sitting there looking at him the whole

           6     time, correct

           7                 MR. AGNIFILQ         I don't know that they would need to

           8     sit there and look at him.           I think what we could do is we

           9     could put cameras      9   We could put cameras at the entrances that

         10      are filming 24 hours a day, and they would be in the house and

         11      aware of the goings-on.           If there were requirements that he

         12      don't have a cell phone, we could find ways of doing

         13      spot-checks to make sure that he's not on a cell phone                      •
                                                                                                 If the

         14      requirement is that he doesn't use the Internet, we can do

         15      spot-checks that he doesn't use the Internet              9       But we can make

         16      it as secure as we need to make it.

         17                  And let me just add, there are already                    and the

         18      government knows this because I think they took a lot of the

         19      footage back on March 25             there are cameras in different

         20      parts of the house, so all we would need to do is kind of keep

         21      those cameras rolling       9    I'm happy to share the footage with

         22      anybody who wants it.           But what we would do is we would monitor

         23      those cameras, in addition to physically monitoring the

         24      situation with the officers on-site           9




         25                  THE COURT       Who would be living in the home with him?


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           1                 MR. AGNIFILQ        One second.

           2                 (Counsel conferred with defendant)

           3                 MR. AGNIFILQ        I think we can arrange things so he's

           4     the only one living there and that SAGE would be working there,

           5     doing security, and he'd be the only one actually residing at

           6     the house   9




           7                 THE COURT:       But there would be visits from f family

           8     members and employees and friends and the like, correct?

           9                 MR. AGNIFILQ        Assuming that those people are              we

         10      will put a list together, we will share it with everybody who

         11      wants to see it, and those would be the people who visit               9        And

         12      nobody else would visit because SAGE won't let them in.

         13                  THE COURT:       Go ahead.      Is there anything else?        You

         14      want to address the violence and danger more generally?

         15                  MR. AGNIFILQ        Sure       Yes, Judge

         16                  THE COURT:       I know you made some statements before

         17      regarding the 2016 video incident            9




         18                  MR. AGNIFILQ        Yes, Judge

         19                  THE COURT:       Again, that video is quite disturbing.

         20      And it was eight years ago, but he's still 46, 47 years old at

         21      the time this is taking place          9




         22                  MR. AGNIFILO        He was

         23                  THE COURT:       And this was after his acquittal on the

         24      state court charges      9




         25                  MR. AGNIFILQ        It was       So let me shed some light      9




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           1     Your Honor asks a good question.                   I think there's an answer to

           2     :L t


           3                 In the weeks and months after the video, Mr. Combs

           4     realized he has a problem with drug addiction and he has a

           5     problem with anger, and he went and                    he went into a rehab

           6     program for a period of time           9     I don't want to get too much

           7     into this, but it's significant                    The person           the woman in

           8     the video also went into rehab around the same time                           9




           9                 The point is this was a ten-year relationship that was

         10      very loving at times           These people loved each other, and I

         11      don't think there's any other view of the relationship than

         12      that because they're just                  the written messages are                   it's

         13      heartbreaking     9    It's sort of a heartbreaking relationship in

         14      many ways because they really did love each other                        9        And I think

         15      what the government is doing                     and I'm not saying this in a

         16      bad way        but I think the dynamic of the case that I object to

         17      most, most respectfully, is this                    The sex and the violence

         18      were totally separate and motivated by totally different

         19      things      The way that this couple chose to be intimate was the

         20      way that is           they would bring a third party into their

         21      intimacy       That was their thing          9     That is how these two adults

         22      chose to be intimate       9   And the written communications, Judge,

         23      are overwhelming, overwhelming, that this is SO                     9        Not only that

         24      it was with consent, it was                 it was a sought-af ter, special

         25      part of their relationship         9       And in some ways


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           1                 THE COURT        What does this have to do with him

           2     punching her, throwing a vase at her, kicking her?                        What's love

           3     got to do with that?

           4                 MR. AGNIFILQ        It's a good question, and the answer is

           5     it has nothing to do with because that's not what motivated

           6     that stuff    9    The intimacy is over here, OK?          All of the

           7     problems are not related to the intimacy             9   The problems are

           8     related to jealousy from infidelity           9   That is where the

           9     problems come      9    You have jealousy from infidelity           9     You have

         10      arguments         You have fights      You have things like you saw on

         11      the video because of jealousy due to infidelity in both

         12      directions, in both            on the part of both par ticipants,

         13      Mr. Combs and this other person.             It's mutual           And the

         14      violence is from that 100 percent, and the written

         15      communications make that clear          9




         16                  THE COURT        Let me just make sure I understand your

         17      point on this

         18                  MR. AGNIFILQ        Yes, your Honor

         19                  THE COURT        What is your point on this?                You're saying

         20      that that's the reason that he              because of jealousy, that's

         21      the reason, because they had an argument, that that's the

         22      reason that he punched her, threw a vase at her, and kicked

         23      her?

         24                  MR. AGNIFILO        I'm saying it's not sex trafficking

         25      The government is linking the two, and in the linkage they find


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           1     sex trafficking     9




           2                 THE COURT:          The government's also talking more

           3     generally about violence against women and violence against

           4     this par ticular woman who the government claims was sex

           5     trafficked.

           6                 And let me ask you this thing             If you're talking

           7     about       to the extent that you claim that this sort of

           8     behavior was            that inviting another person into the

           9     relationship was somehow consensual, if that person is a sex

         10      worker or prostitute and travels across state lines, isn't that

         11      a problem regarding Count Three of the indictment?

         12                  MR. AGNIFILQ          It may or may not be    9       I have spoken to

         13      the people from this agency, and what they uniformly say is we

         14      are not paid to have sex           9   We are paid for our time       9   And if we

         15      meet somebody and it goes in that direction and everybody wants

         16      to do this and there is sexual contact, then that sometimes

         17      happens

         18                  And, listen, at the end of the day, the one-time

         19      governor of New York was investigated by the Southern District

         20      of New York because he was sleeping with $5,000-an-hour

         21      prostitutes while he was the governor, and they didn't

         22      prosecute him.          They are prosecuting Mr. Combs for the exact

         23      same type of conduct        9




         24                  So, yes, let's assume for a second                    let's assume for

         25      a second your Honor's question is right                OK?        That is    it's


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           1     not sex trafficking           9    It's not sex trafficking, that's my

           2     point      The reason we're really here and

           3                 THE COURT             That would be a crime   9     That would be a

           4     federal offense

           5                 MR. AGNIFILO            No, I don't think that's true because I

           6     don't know that, if you read the Mann Act, the consumer of the

           7     intimacy is within the purview of the Mann Act                      9           My read of the

           8     Mann Act is that it's about the business of sex, and there is

           9     no argument that Mr. Combs was involved in the business of sex                                  9




          10     That's not the argument

         11                  THE COURT             Let's get back to that video and the

          12     physical beating        9




          13                 MR. AGNIFILO             Yes

          14                 THE COURT             Why isn't that relevant to a consideration

          15     as to danger to the community more generally and acts of

         16      violence against women and what the government has alleged

         17      here?

          18                 MR. AGNIFILQ            Judge, I think it's relevant                      I think

          19     it is relevant     9        I haven't said it wasn't relevant                      I'm saying

         20      it's not part of the sex trafficking                That's my theory, that

         21      it's not part of the sex trafficking                Is it relevant?                   Your

         22      Honor's going to look at the video the way everybody looked at

         23      the video, the way Mr. Combs looked at the video                            9    Mr. Combs

         24      issued an apology after the video, and I'm not going to undo

         25      his apology    9   It's a hard video to watch                 It's an upsetting


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           1     video to watch     9     It was an upsetting video to watch for

           2     everyone, but that doesn't mean he should be incarcerated.

           3                 It's eight and a half years ago                  He went into rehab

           4     since then.      He has done tremendous things to try to change as

           5     a person since then, and he's not the same person he was then.

           6     He was in a relationship that was a toxic relationship                           9       And

           7     probably the best single thing, both for him and the woman

           8     involved, is that they broke up and they both went their

           9     separate ways seven years ago at this point                            six years ago           9




         10      Six years ago they broke up at this point, and sometimes that

         11      happens in life

         12                  You know, Mr. Combs has the unfortunate reality that

         13      one of the worst things he's ever done was on videotape                              9   I'm

         14      glad that didn't happen to me              None of us should be that

         15      unlucky      But one of the worst things he ever did happens to be

         16      on videotape, and it will one day be played at his federal

         17      trial, and we'll deal with it when it is.                    So I'm not asking

         18      your Honor to ignore it.          I'm not ignoring it.                     But I don't

         19      think it's dispositive, and I don't think, in and of itself, it

         20      means that he should be detained pretrial                9




         21                  We have defenses to the charges          9       That's the point

         22      We have defenses to the charges, real defenses                     9        This is going

         23      to be a trial one day, 100 percent           9   He's not going to plead

         24      guilty to racketeering and sex trafficking and those things                                9




         25      He's not       So this is going to be a trial            9    And I am asking


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           1     you, because it's SO critically important, we have proffered,

           2     your Honor, a very substantial bail package                9       And him coming to

           3     New York, Judge, I think, also is not just important in terms

           4     of risk of flight; I think it's important for every aspect of

           5     what we consider when we think about bail             9




           6                 I mean, this is a man            we had a meeting with the

           7     government       Ms. Geraqos and I met with my colleagues to my

           8     right here, I think it was, September 3                   It was a day after

           9     Labor Day, the Tuesday after Labor Day            9   And Ms. Geraqos and I

         10      left that meeting, and I realized they were going to return an

         11      indictment soon.        I didn't know if soon was a week                  I d;Ldn't

         12      know if soon was a month        9   I didn't know if soon was three

         13      months      I got on the phone with Mr. Combs the next day, and I

         14      said you should consider coming to New York because I think

         15      they're going to charge you soon.

         16                  He got on a plane on September 5 and came to New York,

         17      and he came to New York to turn himself in.                    He came to

         18      New York to surrender       9   And I told my colleagues, he's here

         19      He wants to surrender       9   Just give him a time, and he'll be

         20      there      I understand that they don't have to do it, and they

         21      didn't do it.       They told me they would get back to me, and then

         22      he got arrested.        And that's OK.       That's OK.            But the f act that

         23      he got on an airplane to come to New York when so many

         24      defendants, Judge, get on an airplane or a bus or a train, or

         25      whatever, and run as f as away from the place of danger as


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           1     possible 9     The f act that he did the exact opposite is a weighty

           2     consideration of him in general             9   And so when I say to the

           3     Court that I want the Court to trust him, he has earned the

           4     Court's trust

           5                  And even if the Court doesn't fully trust him, trust

           6     the package as a whole that I'm proposing with a $50 million

           7     bond, which is a tremendous bond, secured by about $50 million

           8     in equity with the cosigners that we've proposed; with the

           9     passport surrendered that we've proposed, including his own

          10     passport; with electronic monitoring; he stays in the house;

          11     SAGE Intelligence supervises the house; we have a list of

          12     permitted visitors; he doesn't have a cell phone; he doesn't

          13     have any Internet access          9    And I believe that will do two very

          14     important things           (1)   It will give the Court comfort that he's

          15     not a flight risk due to the conditions, he's not a danger,

          16     he's not a danger of any witness obstruction with these

          17     conditions, and it allows him to prepare for his trial in a

          18     f air way

          19                  And everything that we have been doing, we have known

         20      this was coming     9    If he was going to run, if he was going to do

          21     something reckless and stupid, he would have done it in March,

         22      and he didn't.          Instead, he gave us his passport, and we told

         23      the government we had it.

         24                   This is someone who has worked hard his whole life            •




         25      We haven't gotten too much into his personal characteristics,


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           1     but I think it's actually somewhat important

           2                 He has       first of all, he has one misdemeanor

           3     conviction from 29 years ago            9   That's it.   He's 53 years old.

           4     One misdemeanor conviction from 29 years ago              9       He was an actual

           5     altar boy growing up       9     He's a very religious man.

           6                 THE COURT          How f as back are you going now?

           7                 MR. AGNIFILQ          The man has      I'm going back and I'm

           8     talking about him as a person because it's all one continuum.

           9                 THE COURT          OK •

         10                  MR. AGNIFILQ          He watches a sermon every day          9    He's

         11      religious   9    He comes from a religious f family       9       His f other,

         12      unfold lunately, was killed when he was two years old.                       He was

          13     raised by his mother, who did a wonderful job with him.                        And he

         14      has worked hard, and he has earned everything that he's ever

         15      gotten in his life

         16                  And the one thing that I'm asking your Honor for is to

         17      see that he has done everything to earn the Court's trust                       9    He

         18      has done a great deal to earn the Court's trust                   9   And I am

         19      submitting that this very, very substantial package, both

         20      what's in the written letter supplemented by what I said today,

         21      and supplemented still further by SAGE Intelligence being

         22      on-site         and we can have any protocol that your Honor sees

         23      fit     We'll certainly suggest one, but if your Honor wants

         24      something more or different, we can do whatever your Honor

         25      thinks is necessary              that that, in combination, that


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           1     substantial package means that he should be released to work on

           2     his case, to meet with his lawyers           9   If we need to speak to him

           3     by flying to Florida, we'll do that               He'll stay in his house

           4     in Florida, and he'll do nothing but prepare for his trial

           5                 So I'm asking you to release him on these very, very

           6     strenuous conditions, Judge              Thank you

           7                 THE COURT        Thank you

           8                 All right        I ve heard from the parties
                                               I                                    I veI




           9     reviewed everything      9    I find that the government has proven

          10     that the defendant is a danger regarding obstruction of justice

         11      and witness tampering by clear and convincing evidence                         9




         12                  I also find that the government has proven that the

         13      defendant is a danger to the safety of others in the community

         14      more generally by clear and convincing evidence                9




         15                  I need not reach the issue of risk of flight                   9       Again,

         16      I find that the government has carried its burden of persuasion

         17      by clear and convincing evidence on dangerousness both for

         18      obstruction and witness tampering, as well as danger more

         19      generally, even if the defense has rebutted the presumption by

         20      coming forward with their burden of production.

         21                  Regarding the bail package that has been proposed by

         22      defense counsel in terms of risk of flight, I think it's

         23      insufficient

         24                  In terms of overcoming what the government has proven,

         25      again, I'll say it this way              Again, the government has proven


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           1     by clear and convincing evidence that there is no condition or

           2     combination of conditions that will reasonably assure the

           3     safety of a person in the community, as well that he will not

           4     obstruct justice or tamper with witnesses             9




           5                 There are issues also with what the defense has

           6     suggested in terms of this SAGE Intelligence              9        Certainly, the

           7     defendant would still have access to employees and other

           8     individuals        And given what the government has proffered, he

           9     could certainly obstruct justice and intimidate witnesses

         10      through those folks, through even coded messages if necessary

         11                  So I am denying bail, and I am granting the

         12      government's motion.

         13                  We are scheduled to have an initial conference on the

         14      24th     Since we're here, I don't know if we need to do that

          15     Perhaps we can just find out how counsel wish to proceed.                        I

         16      know that Mr. Combs was already arraigned on the indictment                      •




         17      So how do counsel wish to proceed?             Let me hear from the

         18      government first      9




         19                  MS. SMYSER:      Thank you, your Honor                Happy to give the

         20      Court an overview of the discovery in the case and also the

         21      government's proposed schedule

         22                  So, first, I think it's important to note that your

         23      Honor probably has seen this from the record so f ar, but there

         24      is going to be a huge amount of discovery in the case                     9   It's

         25      going to consist of dozens of terabytes of data                    9   Then I want


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           1     to cover some of those categories of the Rule 16 discovery that

           2     we'll be disclosing to the defense

           3                 First, it will include grand jury subpoena returns             9




           4     For some context as to the volume of those returns, we have

           5     served over 300 grand jury subpoenas in the case and gotten

           6     returns from over 100 individuals and entities, including phone

           7     companies, tech companies, social media companies, hotels,

           8     airlines, some companies related to Mr. Combs himself                  9




           9                 Second, the Rule 16 discovery will also include search

         10      warrants       We've obtained over 20 search warrants in the case,

         11      including warrants for electronic devices and i Cloud accounts,

         12      including warrants for his historical and prospective cell

         13      phone information and for a variety of persons, as well as for

         14      Mr. Combs' residences

         15                  Third, the discovery will include photographs of

         16      physical evidence, including evidence that was collected from

         17      his residences in March 2024, as well as from his hotel room a

         18      few days ago, which includes freak-off supplies, narcotics,

         19      firearms, and ammunition.

         20                  The discovery will also include a variety of law

         21      enforcement reports and records, including from local law

         22      enforcement

         23                  And finally, there are a large number of electronic

         24      devices in the case      9   Specifically, over the course of the

         25      investigation, including in the past few days, the government


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           1     has been collecting electronic devices and, in total, has

           2     seized over 100 phones, laptops, tablets, and i Cloud accounts,

           3     as well as over 30 other kinds of devices             9   And here, I'm

           4     talking about things like hard drives, flash drives, cameras,

           5     DVRS     These devices are of ten large, sometimes hundreds of

           6     gigabytes, sometimes terabytes, especially in relation to the

           7     iCloud accounts

           8                 Already the government has extracted approximately

           9     half of those phones, laptops, tablets, and iCloud accounts               9




         10      And these devices are in the process of a privilege review,

         11      varying stages of it, and they will then be reviewed for

         12      identified data and           review, and we will produce that

         13      identified data on a rolling basis to defense counsel as it

         14      becomes available      9




         15                  So although this is a large amount of discovery, we

         16      have a plan for producing it to defense counsel                9




         17                  First, before producing any discovery, as your Honor

         18      might anticipate, we will need a signed protective order given

         19      that the discovery will contain sensitive victim and witness

         20      information, and we have, as we've discussed, real concerns

         21      about witness tampering as well as with the sensitivity of the

         22      victim information and statements that have been given to the

         23      media SO f as   9   So we will start engaging in those discussions

         24      with defense counsel today about negotiating the protective

         25      order, and we'll let your Honor know if there are any issues


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           1     with that process      9




           2                 Second, soon after getting the protective order

           3     signed, we plan to produce the affidavits related to the search

           4     warrants that we've obtained in the case             9   As I said, there are

           5     over 20 of them.           Many of them have lengthy affidavits which

           6     lay out large portions of the case and will assist the defense

           7     in assessing whether there are motions that we would like to

           8     make

           9                 Third, within approximately 30 days of having a

         10      protective order, the government would intend to make a large

         11      production of discovery to the defense consisting of a variety

         12      of things, including grand jury subpoena returns                      9   But,

         13      importantly, we are prepared to produce many of Mr. Combs' own

         14      devices and accounts         9   We have approximately 35 full

         15      extractions ready to produce to the defense              9       We anticipate

         16      that the copying of those devices, given their size, will take

         17      some time, but we will engage in that process as soon as we

         18      can •

         19                  And, finally, our plan would be, after this initial

         20      large production, to continue to make productions on a rolling

         21      basis      And I just want to note for the Court that our

         22      investigation in this case is very much ongoing, and we will

         23      continue to produce the information that is in our possession

         24      And as we get more related to the new investigation, we will

         25      also review that in accordance with our discovery obligations


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           1     to produce to the defense              9




           2                    We think it makes sense, in order to give defense

           3     counsel sufficient time to review this discovery, to have a

           4     status conference in approximately 90 days                   9




           5                    THE COURT       OK •        Defense counsel, let me hear from

           6     you

           7                    MR. AGNIFILQ           Yes, your Honor       lam          without

           8     speaking to Mr. Combs in greater detail, in light of the f act

           9     that he's going to be in the SHU of the MDC, I'm not in a place

         10      where I'm prepared to consent to a speedy trial                      9   I'm not

         11      saying that I won't in the future, but this is a serious

         12      conversation we have to have                 9   And the f act that he is going to

         13      be incarcerated is a significant f actor                    So I don't know that

         14      I can consent to a 90-day adjournment for a status conference                       9




         15      I think we want to reserve the right of moving much quicker

         16      than that         The government arrested him, the government wants

         17      him detained, and we're going to have to do everything possible

         18      to move this along         9




         19                     So where I am today is I'd like some time to speak

         20      with him, and more than just a few minutes here                      9   We need to go

         21      through this in real detail                      I also need to see what's going

         22      to be possible in the SHU, and I don't know that I exactly know

         23      that now in terms of what computer f acilities are going to be

         24      possible   9     And so at this point I'm not prepared to waive

         25      speedy trial


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           1                 THE COURT:      So what do you want to do at this point?

           2     Do you want to set a trial date?              Do you want to, because I

           3     would       well, I don't know.

           4                 Do you want time to review the discovery that's going

           5     to be produced, do you want to come back in 45 days, or do you

           6     want me to set a trial date?             I can set a trial date if you

           7     want me to set a trial date

           8                 MR. AGNIFILO          I understand.

           9                 THE COURT:            whenever you want it.        And if I can't

         10      try it, I'll find a colleague who can if you want to set a

         11      trial date

         12                  MR. AGNIFILQ        Can I just talk to the government for a

         13      second?     I just have a question.

         14                  THE COURT:      Yes

         15                  (Counsel conferred)

         16                  MR. AGNIFILO          I have a proposal   9   Would your Honor be

         17      amenable to a status conference in somewhere between 14 and 20

         18      days?     And in the interim, what I think we'll have a better

         19      handle on is how Mr. Combs would be able to look at the

         20      discovery, what discovery will be available when, and what,

         21      from a technical perspective, he'll be able to lock at and with

         22      what level of difficulty          9




         23                  So my ask of the Court is that we have a shorter

         24      turnaround time for a status conference, and whatever's good

         25      for the Court in that general period of time of two to three


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           1     weeks

           2                 THE COURT:      OK •     We can do that

           3                 What's your position on speedy trial time between now

           4     and that two- to three-week period°

           5                 MR. AGNIFILO           Without a much more in-depth

           6     conversation with my client, I'm not prepared to waive it.

           7                 THE COURT:      OK •    What's the government's position on

           8     whether or not I should exclude               well, let's get the date,

           9     first of all    9




         10                  How about October the 9th?           Are counsel available

         11      then?

         12                  MR. AGNIFILQ           One second, Judge

         13                  THE COURT:      Let's say 2 o'clock

         14                  MR. AGNIFILQ           That's fine, Judge      Thank you

         15                  THE COURT:      Does that work for the government?

         16                  MS. SMYSER;      Yes, your Honor

         17                  THE COURT:      OK •    Let's set this down for October 9 at

         18      2 o'clock

         19                  I know the defendant says you don't want to waive

         20      speedy trial time      9   Fine      What is the government's position on

         21      whether or not time should be excluded, and what's defense

         22      counsel's position on that?

         23                  MS. SMYSER:      Your Honor, the government would move to

         24      exclude time under the Speedy Trial Act                 The ends of justice

         25      outweigh the interests of the public and the defendant in a


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           1     speedy trial here given the complexity of the case, given the

           2     need for the government to produce discovery to the defendant,

           3     and for the defendant and his counsel to begin to review that

           4     discovery

           5                 THE COURT:      All right      So, defense counsel, I

           6     understand your position.           You don't want to waive speedy trial

           7     time      I get that   9   But would you be prepared to try this case

           8     on October the 9th?

           9                 MR. AGNIFILQ       No, no, I'm not saying that I am.                 What

         10      I'm saying is I need more information to come to the Court with

         11      an intelligent position on this, and the things that we don't

         12      know is what his ability to look at the stuff will be where he

         13      is     I don't know where he will be in the MDC                    Where they

         14      designate him is significant to that            9   I think the government

         15      is       it might help in the process of trying to make sure that

         16      he gets what he needs, and I think by October 9 we'll have a

         17      better idea of what they can produce and when.

         18                  So, no, I'm not looking to try the case on October 9

         19      That would be irresponsible         9   I'm not asking to do that               But

         20      what I am asking is           the government's going to move with all,

         21      you know, urgency to get me everything, and then October 9, I

         22      think we'll have our arms around the situation a little bit

         23      better

         24                  THE COURT:      OK •   I will exclude time under the Speedy

         25      Trial Act from today's date until October 9 so the defense


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           1     counsel gets an opportunity to consult with his client, gets an

           2     opportunity to start reviewing the discovery, gets an

           3     opportunity to decide how they want to proceed with this case,

           4     and also to be better prepared for trial in this case                  9       I find

           5     that the interests of Mr. Combs and the interests of justice

           6     support exclusion of time under the Speedy Trial Act from

           7     today's date until October 9             I further find that the

           8     interests of Mr. Combs and the interests of justice outweigh

           9     the public's interest in a speedy trial                I will enter an order

         10      to that effect     9




         11                  Let me also just share something with counsel                  9    We

         12      received a couple of calls in chambers today from people who

         13      claimed to have information relevant to the prosecution of this

         14      case     We did not engage with those individuals other than my

         15      staff instructed them to reach out to the U.S. Attorney's

         16      Office      I just wanted to let counsel know that             9




         17                  The other thing is that, in their most recent

         18      submission, the government made an allusion to Local Criminal

         19      Rule 23.1.      Is there anything that anybody wants me to do about

         20      that now, counsel for the qovernment°              Again, that relates to

         21      statements allegedly made by defense counsel on some news

         22      channel recently

         23                  MS. JOHNSON        We're not asking the Court to do

         24      anything right now, your Honor             We just wanted to put a marker

         25      down that we thought some of the comments got a little bit


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           1     close to the line under the local rule, particularly with

           2     respect to issues regarding the victim and potentially

           3     inadmissible evidence       9      So we just wanted to flag that for the

           4     Court   9




           5                 THE COURT       OK •     Anything else from defense counsel on

           6     that?

           7                 MR. AGNIFILQ           I'm not sure that this is something

           8     that the Court

           9                 THE COURT       They're not asking me to do anything               You

         10      don't have to say anything

         11                  MR. AGNIFILO        No, no, it's not about that

         12                  THE COURT       Go ahead.

         13                  MR. AGNIFILO           I believe     and I know that courts

         14      sometimes do this in terms of sentencing             9   I've never actually

         15      asked a court to do it on a pre-sentencing posture                   9   I think

         16      Essex County would be preferable to the MDC, and I know that

         17      they do house certain defendants, even in Southern District and

         18      the Eastern District cases, in Essex County              9




         19                  I don't know what your Honor can do to help in that

         20      regard •    I've never made this request of a court at a pretrial

         21      setting      But I don't            if your Honor would say you don't have

         22      any objection to it, if that was consistent with the protocols

         23      that existed, that might even be helpful, and then I'll take

         24      the weight on myself to try to make that happen if I can                      So

         25      any little thing could help me           9




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           1                 THE COURT:      OK •   Government, what's your view on this°

           2                 MS. JOHNSON       I don't have the cite off the top of my

           3     head, but I know that in the regulations there's                       that the

           4     designation authority is entirely within                  given to the BOP        9




           5     I think this gets a little complicated, and I think                       I don't

           6     know that there's anything that the Court can do to put the

           7     thumb on the scale of where he's placed.               I think that's

           8     ultimately a decision of the Bureau of Prisons                 9




           9                 THE COURT:      My sense is that what defense counsel is

         10      asking is it's akin to, at sentencing, even though the Court

         11      has no authority to dictate where someone is held, basically

         12      akin to the Court making a recommendation that someone be

         13      housed at a par ticular f acility          9   Again, I'm not aware of that

         14      being done pretrial, so perhaps what we should do is have

         15      counsel file a joint status report regarding this issue,

         16      regarding what, if anything, the Court can do in that regard.

         17      Certainly, defense counsel, you can look into this on your own.

         18      Let's get that by Monday, September 23

         19                  Does that work for the defense?

         20                  MR. AGNIFILQ        Yes, your Honor        Thank you

         21                  THE COURT:      Does that work for the government?

         22                  MS. JOHNSON       It does, your Honor

         23                  THE COURT:      That will be a joint submission.

         24                  Is there anything else today from the government?

         25                  MS. JOHNSON       No, your Honor         Thank you


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           1                 THE COURT:      Is there anything else today from the

           2     defense?

           3                 MR. AGNIFILQ        No, thank you

           4                 THE COURT:      Let me just           I will say this       We have a

           5     status conference date for October the 9th, and I'll be around,

           6     and we can certainly do that           9     I know that the        being placed

           7     in the MDC will be difficult, and of ten when prisoners are

           8     taken to court, they're of ten woken up at 3:00 or 4:00 in the

           9     morning and taken to court         9       If counsel have discussed matters

         10      with themselves and come to some agreement as to how we should

         11      move forward, I will not object to counsel submitting a joint

         12      report a couple of days ahead of time, because there's no

         13      reason to have a court appearance just to simply adjourn it for

         14      another day

         15                  Anything from the government on that?

         16                  MS. JOHNSON       Understood, your Honor               We'll speak

         17      with counsel and see if we can reach any resolutions prior to

          18     October 9   9




         19                  THE COURT:      Anything from the defense on that?

         20                  MR. AGNIFILQ        I understand the Court's position.

         21                  THE COURT:      All right         We're adjourned.       Thank you

         22                  (Adjourned)

         23

         24

         25


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